                              EXHIBIT
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·1·   ·   · · · · · · IN THE UNITED STATES DISTRICT COURT
· ·   ·   · · · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
·2·   ·   · · · · · · · · · · · ·AT NASHVILLE
· ·   ·   _____________________________________________________
·3
· ·   · TERRY LYNN KING,
·4
· ·   · · · · · · · Plaintiff,
·5
· ·   · vs.· · · · · · · · · · · · · ·Case No. 3:18-cv-01234
·6
· ·   · TONY PARKER, et al.,
·7
· ·   · · · · · · · Defendants.
·8·   · _____________________________________________________

·9

10

11

12

13· · · · · · · · · ·Videoconference Deposition of:

14· · · · · · · · · ·DR. MICHAELA ALMGREN

15· · · · · · · · · ·Taken on behalf of the Defendants

16· · · · · · · · · ·February 4, 2022

17· · · · · · · · · ·Commencing at 9:02 a.m.

18

19

20

21
· ·   · _____________________________________________________
22
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24·   ·   ·   ·   ·   ·   ·   ·   · · · · P.O. Box 292382
· ·   ·   ·   ·   ·   ·   ·   ·   · · · Nashville, Tennessee
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· · · · · · · · · A P· P· E· A· R· A· N· C· E                S
·2

·3

·4· · For the Plaintiff:

·5·   ·   ·   ·   ·   ·   MR. ALEX KURSMAN
· ·   ·   ·   ·   ·   ·   MS. ANASTASSIA BALDRIDGE
·6·   ·   ·   ·   ·   ·   MS. LYNNE N. LEONARD
· ·   ·   ·   ·   ·   ·   Attorneys at Law
·7·   ·   ·   ·   ·   ·   Federal Community Defender Office, E.D. Pa.
· ·   ·   ·   ·   ·   ·   601 Walnut Street, Suite 545 West
·8·   ·   ·   ·   ·   ·   Philadelphia, Pennsylvania 19106
· ·   ·   ·   ·   ·   ·   (215)928-0520
·9·   ·   ·   ·   ·   ·   Alex_Kursman@fd.org
· ·   ·   ·   ·   ·   ·   Ana_baldridge@fd.org
10·   ·   ·   ·   ·   ·   Lynne_leonard@fd.org

11

12·   ·   ·   ·   ·   ·   MR. JEREMY A. GUNN
· ·   ·   ·   ·   ·   ·   Attorney at Law
13·   ·   ·   ·   ·   ·   Bass, Berry & Sims
· ·   ·   ·   ·   ·   ·   150 Third Avenue South, Suite 2800
14·   ·   ·   ·   ·   ·   Nashville, Tennessee 37201
· ·   ·   ·   ·   ·   ·   (615)742-6200
15·   ·   ·   ·   ·   ·   Jeremy.gunn@bassberry.com

16

17· · For the Defendants:

18·   ·   ·   ·   ·   ·   MR. ROB MITCHELL
· ·   ·   ·   ·   ·   ·   MS. MALLORY K. SCHILLER
19·   ·   ·   ·   ·   ·   MR. DEAN S. ATYIA
· ·   ·   ·   ·   ·   ·   MR. SCOTT C. SUTHERLAND
20·   ·   ·   ·   ·   ·   Assistant Attorneys General
· ·   ·   ·   ·   ·   ·   Law Enforcement and Special Prosecutions
21·   ·   ·   ·   ·   ·   Division
· ·   ·   ·   ·   ·   ·   Office of the Tennessee Attorney General
22·   ·   ·   ·   ·   ·   P.O. Box 20207
· ·   ·   ·   ·   ·   ·   Nashville, Tennessee 37202-0207
23·   ·   ·   ·   ·   ·   (615)741-8132
· ·   ·   ·   ·   ·   ·   Robert.mitchell@ag.tn.gov
24·   ·   ·   ·   ·   ·   Scott.Sutherland@ag.tn.gov
· ·   ·   ·   ·   ·   ·   Mallory.Schiller@ag.tn.gov
25



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18· · · · · · ·instructions

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·1· · · · · · · S· T· I· P· U· L· A· T· I· O· N               S
·2
·3
·4· · · · · · · · The videoconference deposition of
·5· · DR. MICHAELA ALMGREN, was taken by counsel for the
·6· · Defendants, with all participants appearing at their
·7· · respective locations, on February 4, 2022, for all
·8· · purposes under the Federal Rules of Civil Procedure.
·9· · · · · · · · All objections, except as to the form of
10· · the questions, are reserved to the hearing, and that
11· · said deposition may be read and used in evidence in
12· · said cause of action in any trial thereon or any
13· · proceeding herein.
14· · · · · · · · It is agreed that SANDRA ANDRYS, LCR,
15· · RPR, RMR, Notary Public and Court Reporter for the
16· · State of Tennessee, may swear the witness remotely,
17· · and that the reading and signing of the completed
18· · deposition by the witness was not mentioned.
19
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25



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·1· · · · · · · · · · · · · *· *          *

·2· · · · · · · · · · DR. MICHAELA ALMGREN

·3· · was called as a witness, and having first been duly

·4· · sworn, testified as follows:

·5

·6· · · · · · · · · · · · EXAMINATION

·7· · QUESTIONS BY MR. SUTHERLAND:

·8· · Q.· · · Good morning, Dr. Almgren.· I'm Scott

·9· · Sutherland.· Ms. Andrys, I am with the Tennessee

10· · Attorney General's Office.· With me on the call are

11· · Senior Assistant Attorney General Rob Mitchell, and

12· · Assistant Attorneys General Mallory Schiller and Dean

13· · Atyia.· And we represent the defendants in this case,

14· · former commissioner Tony Parker, and the Riverbend

15· · Maximum Security Institution, Warden Tony Mays?

16· · · · · · · · MS. LEONARD:· Good morning.· My name is

17· · Lynne Leonard.· I am with the Federal Community

18· · Defender Office in Philadelphia, Pennsylvania.· My

19· · colleagues from the same office that are also on this

20· · call are Alex Kursman and Ana Baldridge.· And our

21· · colleague at Bass, Berry & Sims, Jeremy Gunn is also

22· · on the call in Nashville, Tennessee.· We represent

23· · the plaintiff, Terry King, in this case.

24· · · · · · · · MR. SUTHERLAND:· All right.· Lynne, how

25· · are we going to -- we are going to do the exhibits



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·1· · like we did the last time.· Rob is going to share

·2· · them, and he'll shoot them to you before we talk

·3· · about them, if you want to forward them on to

·4· · Dr. Almgren.

·5· · · · · · · · And with that, Rob, if you shoot

·6· · Exhibit 1, the Notice of Deposition, to Lynne.

·7· · · · · · · · MS. LEONARD:· We are good with that.

·8· · · · · · · · I just wanted to ask you, do you want

·9· · objections to be subsumed in form objections, or do

10· · you want to discuss those as they come up?

11· · · · · · · · MR. SUTHERLAND:· (Nods head).

12· · · · · · · · MS. LEONARD:· I'll try to keep that brief

13· · then.

14· · · · · · · · MR. SUTHERLAND:· Thank you.

15· · · · · · · · Exhibit 1 will be the notice.· Lynne, you

16· · can let me know once you have that.

17· · · · · · · · (WHEREUPON, a document was marked as

18· · Exhibit Number 1.)

19· · · · · · · · MR. MITCHELL:· For the record, I will

20· · send both Lynne and Alex the exhibit.

21· · · · · · · · MS. LEONARD:· Great.· Thank you.· That

22· · will be helpful.

23· · · · · · · · MR. SUTHERLAND:· Lynne, just stop me if I

24· · go too fast.· Are you good with me asking about it?

25· · · · · · · · MS. LEONARD:· Yeah.· If you want to get



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·1· · started, I think that's fine.· The email hasn't come

·2· · through yet.

·3· · · · · · · · Dr. Almgren, I can forward those to you

·4· · as soon as I get it.

·5· · · · · · · · THE WITNESS:· That's fine.

·6· · · · · · · · MS. LEONARD:· If you need to take a break

·7· · if you are distracted by your email coming in, just

·8· · feel free to say something.

·9· · · · · · · · THE WITNESS:· I don't have my email open.

10· · Do I need to open my email, is that something

11· · relevant that I need to have opened up right away, or

12· · is this something that we will talk about; what's

13· · your --

14· · · · · · · · MS. LEONARD:· Yeah.· If you could open

15· · your email and then just look out for emails from

16· · either me or Alex, if we send you these documents

17· · that are going to be sent to us from the Tennessee

18· · AG's office.

19· · · · · · · · That's, unfortunately, I think the best

20· · way we could do it, given the Zoom format of this

21· · deposition.· Normally we would be able to hand you

22· · the documents across the table and you'd be able to

23· · look at them that way, but this is sort of the

24· · stand-in for that typical procedure.

25· · · · · · · · THE WITNESS:· Okay.



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·1· · BY MR. SUTHERLAND:

·2· · Q.· · · So, Dr. Almgren, good morning.

·3· · A.· · · Good morning.

·4· · Q.· · · My name is Scott Sutherland.· As you heard,

·5· · I'm a deputy attorney general with the Tennessee

·6· · Attorney General's Office, and I represent the

·7· · defendants in this case.

·8· · · · · · · · And on the screen is a Notice of

·9· · Deposition that was provided to plaintiff's counsel

10· · for your deposition here today.· Do you see that

11· · document on the screen?

12· · A.· · · Yes, I see it.

13· · Q.· · · Have you seen it before?

14· · A.· · · I believe so.· It was -- I received the

15· · email, yes.

16· · Q.· · · The date of your deposition in that notice is

17· · today's date.· It was based on a request that counsel

18· · for Mr. King, Ms. Leonard and Mr. Kursman, provide us

19· · with dates for your availability.

20· · · · · · · · Is that your understanding why we are

21· · here today, this particular day?

22· · A.· · · Yes.

23· · Q.· · · We had to reschedule you due to a

24· · supplemental report that you tendered recently and

25· · switched it to today, the 4th.· And so are you here



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·1· · today pursuant to this notice, is that your

·2· · understanding?

·3· · A.· · · Yes.

·4· · Q.· · · In the case of Terry King versus Tony Parker,

·5· · et al.?

·6· · A.· · · Yes.

·7· · Q.· · · Do you understand the deposition is scheduled

·8· · for seven hours, excluding breaks, as provided by the

·9· · Federal Rules of Civil Procedure.· Essentially, we

10· · get to ask you questions for seven hours, it could be

11· · longer than that with breaks.· Do you understand

12· · that?

13· · A.· · · Yes.

14· · Q.· · · Do you understand you have been sworn, you

15· · have sworn an oath to tell the truth during your

16· · testimony here today?

17· · A.· · · Yes.

18· · Q.· · · And are there any circumstances that you are

19· · aware of that would prevent you from being able to be

20· · here for a seven-hour deposition today?

21· · A.· · · No.

22· · Q.· · · Have you taken any medication or are you

23· · under the influence of any medication or substance

24· · whatsoever that could affect your ability to provide

25· · factually correct and truthful responses to my



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·1· · questions?

·2· · A.· · · No.

·3· · Q.· · · Do you have any medical condition that would

·4· · prevent you from being able to provide factually

·5· · correct and truthful information to my questions?

·6· · A.· · · No.

·7· · Q.· · · The case for which you are being deposed here

·8· · is, again, Terry King versus Tony Parker, et al.,

·9· · pending in the Middle District of Tennessee.

10· · · · · · · · Do you understand you are answering

11· · questions here today related to the King case?

12· · A.· · · Yes.

13· · Q.· · · What is your understanding of what the King

14· · case is about?

15· · A.· · · From what I understand as an expert witness,

16· · so I can only speak on the level that I was involved

17· · in, we will be discussing today what I saw were

18· · the -- are some of the issues that came up with the

19· · preparation of the lethal injection chemicals and

20· · their storage.

21· · Q.· · · Okay.· Do you understand what the lawsuit by

22· · Mr. King -- what the allegations are?

23· · · · · · · · Have you been provided -- have you read

24· · anything that's been filed in the case particularly

25· · to inform you as to what the allegations are in the



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·1· · case?

·2· · A.· · · Can you explain that further?· Do you mean --

·3· · Q.· · · So this lawsuit has been filed by Mr. King,

·4· · do you understand that?

·5· · A.· · · Yes.

·6· · Q.· · · Do you understand what the allegations of the

·7· · lawsuit are specifically?

·8· · A.· · · I'm not sure of all of the details.

·9· · Q.· · · Okay.· Have you reviewed the complaint that

10· · was filed or the amended complaint that has been

11· · filed in the case?

12· · A.· · · Not right off the bat.· I did not read all of

13· · the details.

14· · Q.· · · Have you seen the Complaint that's been

15· · filed?

16· · A.· · · I guess -- I'll be honest with you.· This is

17· · not something that I normally do for a living, so I'm

18· · not familiar with all of the legal terminology.· And

19· · so when you talk about allegations and this, I really

20· · don't know what you mean by that.

21· · · · · · · · I read the documentation that was

22· · provided by counsel, and I analyzed the data and, you

23· · know, all of the records that were given to me.· I'm

24· · not really sure, when you refer to allegations, what

25· · documents are we talking about.



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·1· · Q.· · · Okay.· So were you provided a copy of the

·2· · amended complaint that was filed by Mr. King in the

·3· · lawsuit that sets forth the allegations that he is

·4· · making in the lawsuit?

·5· · A.· · · I honestly don't know.

·6· · Q.· · · Okay.· Have you read anything that's been

·7· · filed in the case, any documents that have actually

·8· · been filed in the lawsuit?

·9· · A.· · · Such as?

10· · Q.· · · Any of the filings by Mr. King, any of the

11· · responses that have been filed by the State of

12· · Tennessee?

13· · A.· · · I don't think so.· I read depositions from a

14· · variety of witnesses, records that were provided to

15· · me for review.

16· · Q.· · · Okay.· I'll talk about that in just a minute.

17· · · · · · · · So you are here as an expert witness on

18· · behalf of the plaintiff, Terry King; is that correct?

19· · A.· · · Yes.

20· · · · · · · · MR. SUTHERLAND:· I'm going to go ahead

21· · and admit Exhibit 1, which is the Notice of

22· · Deposition, as the first exhibit to Dr. Almgren's

23· · deposition.

24· · · · · · · · And ask, Rob, if you would put up what's

25· · going to be marked as Exhibit 2, which is -- and



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·1· · Exhibit 3, which is Dr. Almgren's November 17, 2021

·2· · report and her supplemental report.· I'll start with

·3· · the initial report.

·4· · · · · · · · (WHEREUPON, documents were marked as

·5· · Exhibit Numbers 2 and 3.)

·6· · BY MR. SUTHERLAND:

·7· · Q.· · · I'm going to -- Dr. Almgren, do you see the

·8· · document on the screen that's labeled Expert Report

·9· · of Dr. Michaela Almgren?

10· · A.· · · Yes.

11· · Q.· · · And at the bottom of it, it's got your

12· · signature and dated November 17th?

13· · A.· · · That's correct.

14· · · · · · · · MR. SUTHERLAND:· And, then, Rob, if you'd

15· · scroll down, I think it's her CV following that.

16· · BY MR. SUTHERLAND:

17· · Q.· · · Does this appear to be the initial report

18· · that you provided plaintiff's counsel in this case?

19· · A.· · · Yes, it does.

20· · · · · · · · MS. LEONARD:· Can I just interject for

21· · one second?

22· · · · · · · · Dr. Almgren, I did forward you that email

23· · a couple minutes ago that has the full copy,

24· · full-length exhibits from Mr. Mitchell.

25· · · · · · · · THE WITNESS:· Yes.



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·1· · · · · · · · MS. LEONARD:· They are making that an

·2· · exhibit.· If you want to open that and look at the

·3· · full-length exhibits and make sure that that is your

·4· · report, make sure it's your CV and that you are happy

·5· · with it.

·6· · · · · · · · MR. SUTHERLAND:· Perfect, that will be

·7· · good.

·8· · · · · · · · THE WITNESS:· Okay.

·9· · BY MR. SUTHERLAND:

10· · Q.· · · Will you let us know when you have received

11· · it and have reviewed it, Dr. Almgren?

12· · A.· · · I have received it.· I'm going to review it

13· · right now.

14· · · · · · · · MS. LEONARD:· Thank you.

15· · · · · · · · THE WITNESS:· Okay.

16· · BY MR. SUTHERLAND:

17· · Q.· · · Does that appear to be a true and correct

18· · copy of your report, your initial report?

19· · A.· · · Yes.

20· · Q.· · · Okay.· Dr. Almgren, you understand the court

21· · reporter is recording the questions that I'm asking

22· · you and your answers today?

23· · A.· · · (Witness nodded.)

24· · Q.· · · And because of that, and we are on video, you

25· · will need to answer my questions verbally so that she



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·1· · can record your answer.· And, of course, that goes

·2· · for me, too.

·3· · · · · · · · Feel free to use hand gestures or

·4· · whatever, but just make sure, if you shake your head,

·5· · make sure you also shake it and give an affirmative

·6· · or a negative answer so that she can record your

·7· · answer.

·8· · A.· · · Absolutely.

·9· · Q.· · · Okay.· I will ask you to allow me to state my

10· · entire question before you give an answer.· And I

11· · will try to do the same for you so that we are not

12· · talking over each other, so that she gets my question

13· · and your answer and they are not all jumbled up,

14· · fair?

15· · A.· · · Sounds good.

16· · Q.· · · If you need to take a break during the

17· · deposition, all you need to do is ask.· The only

18· · caveat to that is, if we are in the middle of a

19· · question, you will need to answer the question before

20· · we go off the record.

21· · A.· · · Okay.

22· · Q.· · · And is there anyone in the room with you

23· · today where you are?

24· · A.· · · Unless you count the dog, it's only me.

25· · Q.· · · We'll note the dog's presence.



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·1· · · · · · · · Are you at home?

·2· · A.· · · Yes.

·3· · Q.· · · Okay.· And so if anyone enters the room

·4· · during your deposition, I ask that you let me know,

·5· · identify the person and the reason they have entered

·6· · the room, if you know.· Hopefully, you will know.

·7· · · · · · · · Also, if anyone associated with this case

·8· · contacts you by any means during the course of the

·9· · deposition, please notify me so that we can put it on

10· · the record.· Do you understand that?

11· · A.· · · Yes.

12· · Q.· · · You shouldn't be discussing your testimony

13· · with anybody associated with this case while I'm

14· · asking you questions; do you understand that?

15· · A.· · · Yes.

16· · Q.· · · In other words, you can't ask questions and I

17· · can't -- and they can't ask you questions while you

18· · are under oath answering questions for this

19· · deposition; do you understand that?

20· · A.· · · Yes.

21· · Q.· · · Okay.· Other than your computer, do you have

22· · anything else in the room with you, other than your

23· · dog?

24· · A.· · · Well, my bottle of water, my daily planner,

25· · it's my office.



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·1· · Q.· · · Any notes related to this case, papers?

·2· · A.· · · No.

·3· · Q.· · · Notes of any kind?· Okay.

·4· · · · · · · · I will tell you, as a lawyer practicing

·5· · in the case, as in all cases like this, my job here

·6· · is to endeavor to learn about areas in which I don't

·7· · have any formal education, so that I can and we can

·8· · as parties fairly and accurately present that

·9· · information to the court in this case.· Does that

10· · make sense?

11· · · · · · · · Suffice it to say, I'm here to learn

12· · about your knowledge and your opinions on the issues

13· · you have discussed in your report and about which you

14· · plan to testify in this case.

15· · · · · · · · You are the person with the specialized

16· · knowledge here; I am certainly not.· And the purpose

17· · of me asking questions is for me to understand.                 I

18· · mean, at the end of the day, hopefully, I'll

19· · understand where you are coming from in terms of your

20· · opinions and the facts and scientific principles that

21· · you believe support those opinions.

22· · · · · · · · I always hope to leave a deposition

23· · knowing more than when I started, so if I can

24· · accomplish that today, I will have accomplished what

25· · we set out to do here.



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·1· · · · · · · · That being said, if you don't understand

·2· · my question, please ask me to repeat it or restate

·3· · it.· Sometimes lawyers ask questions -- may not ask

·4· · the questions the way you as a, for example,

·5· · pharmacist may.· And so if it's more appropriate to

·6· · phrase something differently or I can rephrase it in

·7· · a way that we both understand, please don't hesitate

·8· · to let me know that.

·9· · A.· · · Okay.

10· · Q.· · · The goal here is to sort of -- I always hate

11· · to use the word "dumb it down," so I won't

12· · necessarily say dumb it down, but I want to be able

13· · to -- for you to be able to give your answers in a

14· · way that a layperson, certainly a lawyer and judge

15· · can understand these particular facts.· Do you

16· · understand that?

17· · A.· · · Yes.

18· · Q.· · · I want to talk to you about deposition

19· · preparation, your preparation for today, ask you some

20· · specific questions about your preparation.· Is that

21· · okay?

22· · A.· · · Sure.

23· · Q.· · · Would you think about and explain to me what

24· · all you have done to prepare for your deposition

25· · testimony today?



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·1· · A.· · · So I have looked over my testimony just to

·2· · kind of remind myself of what all I discussed.· And

·3· · so I looked at the electronic copies that you emailed

·4· · me, as well of those testimonies, and I looked over

·5· · those.

·6· · Q.· · · When you say "testimonies," what do you mean

·7· · by that?

·8· · A.· · · I guess, again, my legal terminology perhaps

·9· · isn't the most appropriate, considering I am not a

10· · lawyer.

11· · Q.· · · No, that's okay.

12· · A.· · · Because I'm the expert, my expert analysis or

13· · expert reports is what I looked at.

14· · Q.· · · All right.· So before today, you reviewed

15· · your report?

16· · A.· · · Yes.· I reviewed both reports prior, and I

17· · looked at the USP guidelines, specifically at the

18· · quality requirements for midazolam, just to

19· · double-check that I have -- not double-check, but

20· · just to remind myself of what were some of the

21· · requirements.

22· · Q.· · · And when you say you looked over the quality

23· · requirements for midazolam, what specifically -- what

24· · specific provisions are you talking about?

25· · A.· · · So those are the actual monographs.· There is



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·1· · a monograph for midazolam and there is a monograph

·2· · for midazolam injection, and so I wanted to look at

·3· · both.

·4· · Q.· · · And where are they located within the USP?

·5· · A.· · · These are part of the USP.· I have electronic

·6· · access, and so I just search "midazolam."· And it's a

·7· · chapter, it's a monograph.

·8· · Q.· · · So it's a specific chapter within USP?

·9· · A.· · · So it's a specific monograph.· When you look

10· · at the USP guidance, you have the book that has

11· · initial all the chapters and you have general

12· · chapters of methodology, and that's followed by

13· · monographs.

14· · Q.· · · I understand.· What's a monograph?

15· · A.· · · It is basically kind of like a summary in

16· · this case specific to, for example, midazolam.                A

17· · monograph will contain all of the quality

18· · requirements for the midazolam, what you need to test

19· · in order to show that is in compliance with USP

20· · requirements.

21· · Q.· · · So is it -- all right.· So let me back up and

22· · ask you.

23· · · · · · · · Can you just define generally what a

24· · monograph is?

25· · A.· · · As in what a monograph --



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·1· · Q.· · · What is a monograph?

·2· · A.· · · It is a set of guidelines, I guess, set of

·3· · information, certain information that is provided.

·4· · Q.· · · Okay.· And is a monograph sort of -- is it

·5· · always the same?· I mean, not -- obviously, for

·6· · different drugs it would be different.

·7· · · · · · · · But does it contain the same information,

·8· · each monograph, related to the specific drug

·9· · involved?

10· · A.· · · So --

11· · Q.· · · I'm trying to get an idea of what generally

12· · is a monograph.

13· · A.· · · So, basically, like I said, in the case of

14· · USP, it provides you with guidance on quality

15· · standards.· What are the requirements for each drug

16· · that the drug needs to meet in order to be USP

17· · compliant.

18· · · · · · · · So if you are going to say that midazolam

19· · is USP compliant, you need to perform all of the

20· · testing that is listed in the USP monograph.

21· · · · · · · · The monograph, as you stated, will vary

22· · between drugs, because different medications will

23· · have different quality requirements.

24· · Q.· · · Okay.· Does it also -- so does this have to

25· · do with compounding midazolam?



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·1· · A.· · · It does, because when you are preparing a

·2· · compounded midazolam, you are basically making a

·3· · midazolam injection.· And so there is a monograph

·4· · that's for midazolam injection that is different from

·5· · midazolam raw material, which is an API or active

·6· · pharmaceutical ingredient.

·7· · Q.· · · Does the -- so the monograph itself simply

·8· · says all of the things that you -- provides all of

·9· · the guidelines for what you need to do in order to

10· · guarantee that the compounded midazolam is USP

11· · compliant?

12· · A.· · · So those would be two separate monographs.

13· · So if you were to look at the API, meaning active

14· · pharmaceutical ingredient, if you purchase dry

15· · powder, you are going to test it according to

16· · midazolam monograph, and that's just for the raw

17· · material itself.

18· · · · · · · · If you are going to compound an

19· · injectable midazolam, you are going to pull up

20· · monograph for midazolam injection.

21· · Q.· · · And that's what you did?

22· · A.· · · I looked at both.· I looked at midazolam API

23· · and midazolam injection.

24· · Q.· · · Do you happen to know specifically where

25· · those monographs are located, like what page numbers?



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·1· · A.· · · These are not in a -- I don't have a printed

·2· · copy.· USP is available -- the compendium is

·3· · available.· Every year they publish it.· But most of

·4· · the places nowadays you will not buy the book because

·5· · it comes with quarterly updates.

·6· · Q.· · · Right.

·7· · A.· · · So what you do is you purchase the

·8· · subscription.· And so they don't really have page

·9· · numbers that I'm aware of, you would just search the

10· · compendium.

11· · Q.· · · You would search the -- search the

12· · compendium.· What did you -- tell me how you put it

13· · in there so that I would know how to --

14· · A.· · · So there's a search bar at the top, it's

15· · basically a screen where you pull up a USP.· You will

16· · see this, you know, main page.· And on there, there

17· · will be -- you know, there's a search bar in the top.

18· · There's some disclaimers at the bottom.

19· · · · · · · · They typically will show you on that main

20· · page what is the upcoming changes.· They will give

21· · you kind of a heads-up, so if you have any changes

22· · you need to make in any of your current standards or

23· · current procedures, you can do that.

24· · · · · · · · And so at the top is a search bar, and

25· · you type in "midazolam" or "midazolam injection,"



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·1· · and --

·2· · Q.· · · Is that what you did?

·3· · A.· · · Yes.

·4· · Q.· · · So what did you type in first?

·5· · A.· · · So first I typed in midazolam.

·6· · Q.· · · Okay.· So if I were to look at the USP

·7· · compendium online and I went to the search bar and I

·8· · type in midazolam, did you put in midazolam monograph

·9· · or will that just -- is that all you put in, was

10· · midazolam?

11· · A.· · · Just midazolam.· It will automatically

12· · recognize that you are searching for a drug.

13· · Q.· · · Okay.· And if I type in midazolam and hit

14· · search, what's going to come up?

15· · A.· · · The page that basically is showing the

16· · midazolam electronic monograph, it's showing all of

17· · the quality requirements.

18· · Q.· · · Is that for the API or the injection?

19· · A.· · · So if you search just midazolam, it will be

20· · API.

21· · Q.· · · And you did that?

22· · A.· · · Yes.

23· · Q.· · · And when did you do that?

24· · A.· · · I did that this morning.

25· · Q.· · · Okay.· So you typed in midazolam and you hit



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·1· · search and it brought up the API monograph?

·2· · A.· · · Yes.

·3· · Q.· · · All right.· And then did you also do a

·4· · different search?

·5· · A.· · · So I looked at that.· And then I said, let me

·6· · look at the midazolam injection to review that, those

·7· · standards as well.

·8· · Q.· · · And so what did you search to get that, or is

·9· · it in the same --

10· · A.· · · No.· I typed in "midazolam injection."

11· · Q.· · · Okay.

12· · · · · · · · (An off-the-record discussion was held.)

13· · · · · · · · MR. SUTHERLAND:· I'll do better and,

14· · Dr. Almgren, we'll just do better together.· You can

15· · just wait until I stop talking, and I'll try to -- or

16· · I will not talk while you are talking.

17· · · · · · · · THE WITNESS:· It might be I have a little

18· · delay with my Internet, it could easily be, because I

19· · feel like I do give you the time, but I wonder if

20· · there is some kind of a -- I don't know.· I think

21· · there's a delay in the Internet.

22· · · · · · · · MR. SUTHERLAND:· I think that's fair.

23· · BY MR. SUTHERLAND:

24· · Q.· · · So we were talking about things you reviewed

25· · to prepare for your deposition, and one of the things



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·1· · you looked at was the USP guidelines for quality

·2· · requirements for midazolam, the midazolam monographs,

·3· · which you looked at this morning, and you have

·4· · indicated, as I understand it, that you went into the

·5· · USP website in the search bar and typed in midazolam

·6· · and reviewed the midazolam API monograph, and then

·7· · you went back to the search and searched midazolam

·8· · injection and reviewed the injectable midazolam

·9· · monograph; is that correct?

10· · A.· · · That's correct.

11· · Q.· · · And if I do the same thing, then I should

12· · be -- then I will be able to see what you reviewed

13· · today, fair?

14· · A.· · · Yes.

15· · Q.· · · Okay.· What else did you review to prepare

16· · for your deposition today?

17· · A.· · · As I stated, I did look over both of my

18· · testimonies briefly, and I believe that's it.                I

19· · don't think I reviewed any additional documents --

20· · no, no, one more thing.

21· · · · · · · · I did review -- I went back to the lethal

22· · injection protocol from the Riverbend facility, the

23· · electronic copy, and I specifically looked at pages

24· · 35 through 40 to review the handling of the drugs,

25· · but just really briefly.



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·1· · · · · · · · I didn't really spend a lot of time, I

·2· · just wanted to really familiarize myself with the

·3· · procedure should the questions come up.

·4· · · · · · · · MR. SUTHERLAND:· Rob, why don't you go

·5· · ahead -- I'm going to -- strike that.

·6· · BY MR. SUTHERLAND:

·7· · Q.· · · Dr. Almgren, when you reviewed the --

·8· · · · · · · · MR. SUTHERLAND:· Rob, did you send 2 and

·9· · 3?

10· · · · · · · · MR. MITCHELL:· I did.

11· · · · · · · · MR. SUTHERLAND:· Okay.

12· · BY MR. SUTHERLAND:

13· · Q.· · · So, Dr. Almgren, when you received the email,

14· · did the email contain both your initial report and

15· · your supplemental report?

16· · A.· · · Yes.

17· · · · · · · · MR. SUTHERLAND:· I'm going to move to

18· · make exhibits -- Dr. Almgren's November 17, 2021

19· · report and the supplemental report Exhibits 2 and 3

20· · to this deposition.

21· · · · · · · · Rob, if you could forward the Exhibit 4,

22· · which is going to be a copy of the protocol, to

23· · Lynne.· And then I'm going to ask you -- Lynne will

24· · forward you the protocol and we can talk about that

25· · for just a minute.



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·1· · · · · · · · THE WITNESS:· Okay.

·2· · · · · · · · MR. SUTHERLAND:· Rob, if you could share

·3· · that when you have a chance.

·4· · · · · · · · (WHEREUPON, a document was marked as

·5· · Exhibit Number 4.)

·6· · · · · · · · MR. SUTHERLAND:· Dr. Almgren, if you

·7· · would let me know when you receive that.

·8· · · · · · · · THE WITNESS:· I see it on the screen, but

·9· · I haven't received it in the email yet.

10· · · · · · · · MS. LEONARD:· I don't have it either, but

11· · as soon as it comes to me, I will forward it on to

12· · Dr. Almgren.

13· · · · · · · · MR. SUTHERLAND:· Do you want me to wait,

14· · Lynne?

15· · · · · · · · MS. LEONARD:· No, I think if you want to

16· · get started, and if we run into a situation where we

17· · need to see it, maybe we could just sort of take a

18· · pause.

19· · · · · · · · MR. SUTHERLAND:· Yeah.

20· · · · · · · · MS. LEONARD:· It just came through, so

21· · I'm going to forward it to you right now,

22· · Dr. Almgren.

23· · · · · · · · THE WITNESS:· Thank you.

24· · BY MR. SUTHERLAND:

25· · Q.· · · Dr. Almgren, I'm going to show you, you can



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·1· · see it on the screen, the Lethal Injection Execution

·2· · Manual, Execution Procedures for Lethal Injection.

·3· · · · · · · · Does that look like the document you were

·4· · just talking about?

·5· · A.· · · Yes.

·6· · Q.· · · That you reviewed this morning?

·7· · A.· · · Yes.

·8· · Q.· · · Okay.· At the bottom left-hand corner of that

·9· · document --

10· · · · · · · · MR. SUTHERLAND:· Rob, if you could scroll

11· · down to the bottom.

12· · BY MR. SUTHERLAND:

13· · Q.· · · It says, revised July 5th, 2018.· Is that the

14· · version that you reviewed, Dr. Almgren?

15· · A.· · · I am not 100 percent sure.· I would have to

16· · go back and look in my electronic copy, because I do

17· · not -- I'm not sure of that particular revision note.

18· · Q.· · · Okay.· You indicated that you read certain

19· · pages in preparation for your deposition, pages 35

20· · through 40.

21· · · · · · · · Have you previously reviewed this entire

22· · document?

23· · A.· · · I have.

24· · Q.· · · From start to finish?

25· · A.· · · It was a long time ago, so I did not do that



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·1· · in preparation for this deposition, but I have done

·2· · this probably whenever I started on this case,

·3· · whenever last --

·4· · Q.· · · Is it fair to say that you have read every

·5· · word of the protocol?

·6· · A.· · · No, I don't know that that's fair to say,

·7· · because I really focused on the pages that are truly

·8· · relevant to me.

·9· · · · · · · · The document is what, 99 pages long.· So,

10· · no, the pages that were not relevant, I probably

11· · skimmed through to get an understanding of what goes

12· · on, but I don't think that I could, you know,

13· · summarize exactly what all is contained in this

14· · document, because like I said, I really -- I was not

15· · hired to analyze the entire protocol.· I was really

16· · focused on the handling of the medications.

17· · · · · · · · MR. SUTHERLAND:· Rob, could you go to

18· · page 35.

19· · BY MR. SUTHERLAND:

20· · Q.· · · All right.· Dr. Almgren, this is page 35.

21· · Does that look like the first page that you reviewed

22· · in preparation for today?

23· · A.· · · I believe so.· Can you scroll above, let me

24· · see what is on page 34?

25· · · · · · · · MS. LEONARD:· Dr. Almgren, if you want to



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·1· · check your email and see if the full document came to

·2· · you, just so you have it handy and can do some

·3· · scrolling.

·4· · · · · · · · THE WITNESS:· Let me check.· Nothing yet.

·5· · I did look at this.· I did see this page.· So I guess

·6· · 35 or 34 was -- I guess I looked at this page as

·7· · well.· But this really is just a summary, so I really

·8· · focused on 35 and so forth.

·9· · · · · · · · MR. SUTHERLAND:· Could you scroll down to

10· · 35 -- could you scroll to 35.

11· · BY MR. SUTHERLAND:

12· · Q.· · · So you reviewed this page today, or in

13· · preparation for the deposition?

14· · A.· · · Yes.

15· · Q.· · · And then 36?

16· · A.· · · Yes.

17· · Q.· · · Did you read that page?

18· · · · · · · · Okay.· 37?

19· · A.· · · Yes.

20· · Q.· · · And that deals with commercially manufactured

21· · drugs; is that correct?

22· · A.· · · Yes.

23· · Q.· · · All right.· And then 38?

24· · A.· · · Yes.

25· · Q.· · · 39?



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·1· · A.· · · Yes.

·2· · Q.· · · 40?

·3· · A.· · · Yes.

·4· · Q.· · · Is that it?

·5· · A.· · · That's it.· I was really focused primarily on

·6· · the handling of the drugs.· For my expert analysis, I

·7· · did review more than just the pages that I just

·8· · mentioned.· This is just -- particularly the five

·9· · pages I looked at were strictly in preparation for

10· · this morning.

11· · Q.· · · I understand.

12· · · · · · · · What other documents did you review in

13· · preparation for your deposition?

14· · A.· · · That was it.· You mean -- I prepared -- I got

15· · up early this morning and then I reviewed, like I

16· · said, my testimonies, the USP monographs, and this.

17· · Q.· · · All right.· Before this morning, have you

18· · reviewed -- I guess your report, Exhibit 2, and your

19· · supplemental report indicate that you reviewed a

20· · number of other documents.

21· · · · · · · · And while you may not have technically

22· · reviewed them in preparation for the deposition, they

23· · are certainly, I guess, part of your knowledge.· And

24· · I want to talk to you a little bit about those, okay?

25· · A.· · · Sure.



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·1· · · · · · · · MR. SUTHERLAND:· Rob, can you pull up

·2· · Exhibit 2, the initial report at page 2.

·3· · BY MR. SUTHERLAND:

·4· · Q.· · · Dr. Almgren, at page 2 of your initial report

·5· · from November 17, 2021 in Section II, Roman Numeral

·6· · II, you say -- you list materials relied upon.· Do

·7· · you see that?

·8· · A.· · · Yes.

·9· · Q.· · · And in numerical paragraph 6 you list a

10· · number of items, and I'd like to ask you some

11· · questions about those.

12· · · · · · · · You were provided -- 6-A is a copy of the

13· · protocol, which is what we just went over, right?

14· · A.· · · Yes.

15· · Q.· · · And then 6-B is depositions of the drug

16· · procurer; the executioner; the pharmacist; Warden

17· · Tony Mays; Associate Warden Ernest Lewis; pharmacy

18· · owner; IV team member 1; IV team member 2; IV team

19· · member 3; Commissioner Tony Parker in both his

20· · individual capacity and as an official designee of

21· · the Tennessee Department of Corrections, which would

22· · be two separate depositions.

23· · · · · · · · Are you familiar with that?

24· · A.· · · There was a lot of documents that I reviewed.

25· · It has been a while since I have reviewed them, but



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·1· · I'm assuming I listed them -- they were in the

·2· · Dropbox.· I probably glanced at them, yes.

·3· · Q.· · · Debbie Inglis, a physician; EMT 1; EMT 2; and

·4· · EMT 3.

·5· · · · · · · · So those documents were provided to you

·6· · in the Dropbox?

·7· · A.· · · Yes.

·8· · Q.· · · Did you review each of those depositions from

·9· · start to finish?

10· · A.· · · So, yes, I reviewed them.· And depending how

11· · relevant I found them, is how much I paid attention.

12· · There are some that were less relevant to what I was

13· · focused on than others.

14· · Q.· · · Did you read each deposition from beginning

15· · to end?

16· · A.· · · Yes.

17· · Q.· · · All of the ones that are listed here?

18· · A.· · · Yes.

19· · Q.· · · Laboratory reports for compounded drugs, 6-C.

20· · · · · · · · 6-D, midazolam storage and preparation

21· · instructions.

22· · · · · · · · 6-E, potassium chloride preparation

23· · instructions.

24· · · · · · · · 6-F, handwritten inventory list.

25· · · · · · · · And 6-G, prescriptions and sample



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·1· · prescription for lethal injection chemicals.

·2· · · · · · · · So are there any documents -- and I guess

·3· · your supplemental report cites to another production

·4· · of information that you reviewed which resulted in

·5· · your supplemental report; do you recall that?

·6· · A.· · · Yes.

·7· · Q.· · · Other than the documents that I've just gone

·8· · over that you have listed here, and the documents

·9· · that you refer to in your supplemental report, are

10· · you relying on anything else in forming your

11· · opinions?

12· · A.· · · So I provided a list of resources that I had

13· · used, USP Chapter 797 being one.· There are a few

14· · other USP chapters that I quote throughout my

15· · testimony that I also have relied upon.

16· · · · · · · · There is a document, it's a guidance from

17· · FDA, that tells you about how comparable -- or,

18· · really, not comparable, on how to make decisions

19· · about whether you can use EP, BP, or other

20· · pharmacopeia monographs to make decisions about

21· · purchasing and using your API, so I used that

22· · guidance as well.

23· · · · · · · · Those are the things that I can think

24· · right off the bat.· But I did supply a list of all of

25· · my references for your review.· I supplied it.                I



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·1· · uploaded it to the Dropbox for the attorneys that I

·2· · work with, and they had supplied this to you.

·3· · Q.· · · That includes the FDA guidance on EP and BP

·4· · purchasing?

·5· · A.· · · Yes.· And that guidance is really just a

·6· · link, so you click on it and you get a document.

·7· · Q.· · · Got it.· Did you review any of the expert

·8· · reports, other expert reports in this case?

·9· · A.· · · I reviewed whatever is listed in the Dropbox.

10· · Q.· · · Do you recall having reviewed the expert

11· · reports of any other experts in the case?

12· · A.· · · I reviewed whatever is in the Dropbox.

13· · Q.· · · Okay.· I understand that.· What I'm asking

14· · you is, do you have a recollection of having reviewed

15· · any report of any other expert in this case that has

16· · provided a report like your report?

17· · · · · · · · Do you have any recollection of having

18· · reviewed any other reports?

19· · A.· · · I am trying to remember.· I do not believe

20· · so.· I work on another case, and so I think that

21· · that's where maybe my confusion comes from, but I

22· · believe that that was all.

23· · · · · · · · I can look back at the Dropbox and see

24· · what else is in there.· I mean, I'm assuming really

25· · the testimonies that you have, those were the main



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·1· · ones.· I think there may have been -- like I said,

·2· · I'd have to double-check my notes.· I do not have

·3· · those.

·4· · Q.· · · I understand.· And as you sit here this

·5· · morning, do you have any independent recollection in

·6· · this case of having reviewed the report of any other

·7· · experts?

·8· · A.· · · I do not remember.· I want to say that there

·9· · were -- no, those were -- those were all testimonies,

10· · what you have listed.

11· · · · · · · · What happened is, I think when we

12· · uploaded the -- when we -- no, that's a different

13· · case.· Yeah, no, I believe that that's all that I

14· · have.

15· · · · · · · · For some reason I want to say -- let me

16· · look at this document, give me one second.· It's the

17· · document that you have emailed.· I want to scroll up,

18· · if there was anything else, but I don't think so,

19· · because these were just all depositions that I've

20· · read that I have formed my opinion upon.

21· · · · · · · · Yeah.· I apologize, there is not a case

22· · that I've been working on.

23· · Q.· · · I understand.

24· · A.· · · When I think about the documentation I have

25· · reviewed in a more recent one, and because of that I



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·1· · sometimes make, like, a distinction of which one it

·2· · is that I'm trying to remember.

·3· · Q.· · · I understand.· Let me repeat my question.

·4· · · · · · · · As you sit here this morning, do you have

·5· · an independent recollection of, in this case, whether

·6· · that you have been provided with any other expert

·7· · reports, persons who have given expert reports in

·8· · this case?

·9· · A.· · · I'm trying to remember.· It would be helpful,

10· · can I look in the Dropbox and see what documents are

11· · in there for me to remind me?· I don't remember.                 I

12· · don't want to say yes or no because I just honestly

13· · don't remember.

14· · Q.· · · Yeah.· I mean, if you have access to it, that

15· · would be fine; fine with me.

16· · · · · · · · Do you have ready access to that,

17· · Dr. Almgren?

18· · A.· · · I do.

19· · Q.· · · Okay.

20· · A.· · · Yeah.· I don't see any expert -- I don't see

21· · anything in here.· I see the depositions.· Let me

22· · just scroll down and make sure there's not any.

23· · · · · · · · These are all -- all I see is I have the

24· · folder with the depositions, and then I have the

25· · background packet which includes the protocol that



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·1· · you have shown.

·2· · Q.· · · Okay.

·3· · A.· · · And I don't see anything relevant there.· And

·4· · then I have another folder that just shows the lab

·5· · reports sample.· It's different files, but that's

·6· · all.· I don't see any expert witness communication

·7· · here in my Dropbox.

·8· · Q.· · · You don't have any memory of reviewing any in

·9· · this case?

10· · A.· · · Like I said, I honestly do not, but it

11· · doesn't mean -- it's that I worked on another case,

12· · and I did have some analysis there.

13· · Q.· · · Okay.· In preparation for your deposition,

14· · did you meet with -- have any meetings with anyone?

15· · A.· · · Yes, I did meet with the attorneys on

16· · Wednesday morning.

17· · Q.· · · Just one meeting?

18· · A.· · · For the preparation, yes.

19· · Q.· · · And how long was that meeting?

20· · A.· · · A couple hours.

21· · Q.· · · And who was present for the meeting?

22· · A.· · · I know Lynne was present and Alex Kursman

23· · were present.· The others, I don't recall the names.

24· · Q.· · · How many people were there?

25· · A.· · · I would say five or six.



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·1· · Q.· · · Maybe five.· Do you know if they were people

·2· · that worked in the same office with Mr. Kursman or

·3· · Ms. Leonard?

·4· · A.· · · I am assuming so.

·5· · Q.· · · Okay.· Was it a video, a Zoom meeting?

·6· · A.· · · Yes.

·7· · Q.· · · Okay.· And you just had that one meeting?

·8· · A.· · · Yes.

·9· · Q.· · · How many times have you met with attorneys

10· · for Mr. King all together in the case?

11· · A.· · · Via phone or in person?

12· · Q.· · · Any meetings.

13· · A.· · · I honestly am not sure, a handful of times.

14· · Q.· · · More than five?

15· · A.· · · No, I don't think so.

16· · Q.· · · Was it more than three?

17· · A.· · · Probably, maybe three or four; five probably

18· · at the most.

19· · Q.· · · Okay.· And you say the one on Wednesday

20· · lasted a couple of hours?

21· · A.· · · Yes.

22· · Q.· · · And do you bill for those meetings?

23· · A.· · · Yes.

24· · Q.· · · Do you bill for your review of the

25· · depositions?



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·1· · A.· · · Yes.

·2· · Q.· · · So do you know how many hours you have billed

·3· · so far for your services in this case?

·4· · A.· · · I would have to look.

·5· · Q.· · · Approximately?

·6· · A.· · · I would say maybe upwards of maybe 30 or so.

·7· · Q.· · · Do you know approximately how many hours you

·8· · have spent reviewing depositions?

·9· · A.· · · The majority of that time was spent on that.

10· · Q.· · · Okay.· So you would say more than 15 hours?

11· · A.· · · More than 15 or 50?

12· · Q.· · · Well, you said -- 15, I'm sorry.· More than

13· · 15?

14· · A.· · · Oh, yeah, you mean for review of depositions?

15· · Q.· · · Yes.

16· · A.· · · Yes.

17· · Q.· · · Okay.· More than 20?

18· · A.· · · Probably, yes; I would say so, yes.

19· · Q.· · · Twenty-five?

20· · A.· · · Very likely, yes; somewhere between 20 and

21· · 25, yes.

22· · Q.· · · Okay.· Other than counsel for Mr. King,

23· · Ms. Leonard, Mr. Kursman, have you discussed any

24· · matters in your report or your testimony about the

25· · case with anyone else?



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·1· · A.· · · Like who?

·2· · Q.· · · Anyone other than those people.

·3· · A.· · · No.

·4· · Q.· · · Other than Ms. Leonard, Mr. Kursman, someone

·5· · on the legal team there, have you discussed your

·6· · report or your testimony with any other human being?

·7· · A.· · · My husband.· I don't discuss the

·8· · technicalities, but I would say, you know, I'm doing

·9· · a deposition this morning.· And so he's aware that,

10· · you know, I do that.

11· · · · · · · · I teach at the university, so I'll say

12· · things like, you know, I work as an expert witness.

13· · We don't discuss specifics of the course -- or the

14· · case or anything, but --

15· · Q.· · · I understand.

16· · A.· · · -- that level where I just mention that

17· · that's something that I sometimes do.

18· · Q.· · · How much time do you think you have spent

19· · total preparing for your deposition today?

20· · A.· · · Maybe a couple hours, probably less than --

21· · do you mean including our meeting with the attorneys,

22· · or do you mean --

23· · Q.· · · Yes, ma'am.

24· · A.· · · -- just my personal?

25· · Q.· · · Yes, ma'am.



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·1· · A.· · · I guess a couple hours with the attorneys,

·2· · and then maybe I would say another hour or maybe an

·3· · hour and a half of separate.

·4· · Q.· · · I'd like to go through your CV, if we could.

·5· · A.· · · Okay.

·6· · · · · · · · MR. SUTHERLAND:· Rob, can you put up

·7· · Exhibit 2 and scroll down to Dr. Almgren's CV.

·8· · · · · · · · MS. LEONARD:· And, Dr. Almgren, do you

·9· · have that, a copy that is available in front of you

10· · from the email?

11· · · · · · · · THE WITNESS:· Yes.· I will open it right

12· · now.

13· · · · · · · · MS. LEONARD:· Okay, great.

14· · · · · · · · MR. SUTHERLAND:· Let me know when you are

15· · there, Dr. Almgren, so you will have the ability to

16· · look at it.

17· · · · · · · · THE WITNESS:· Okay, I'm there.

18· · BY MR. SUTHERLAND:

19· · Q.· · · What's on the screen, does that appear to be

20· · a true and correct copy of your CV that you provided

21· · to Mr. King's lawyers?

22· · A.· · · Yes.

23· · Q.· · · Okay.· I'd like to go through and spend some

24· · time talking about your CV and I want to start with

25· · your education and employment.



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·1· · · · · · · · So as I read your CV, you have a bachelor

·2· · of science degree in both biology and chemistry, '97,

·3· · from Columbia College of South Carolina?

·4· · A.· · · Yes.

·5· · Q.· · · Not to be confused with the University of

·6· · South Carolina?

·7· · A.· · · No, separate.

·8· · Q.· · · So Columbia College is, I guess, a small

·9· · liberal arts school there in Columbia; is that right?

10· · A.· · · Yes, that's correct.

11· · Q.· · · And what did you do after you obtained your

12· · undergrad degree in '97?

13· · A.· · · So I worked for a few years.· I'm originally

14· · from Czechoslovakia.· So I went back home, I got

15· · married.· There were a few things that I did.

16· · · · · · · · Are you asking career wise or are you

17· · asking just the general what --

18· · Q.· · · Yeah, let me back up just a second.

19· · · · · · · · So you got your degree in May of '97; is

20· · that right?

21· · A.· · · Yes.

22· · Q.· · · Your CV shows that you started your first job

23· · in '99.

24· · A.· · · I see.

25· · Q.· · · May of '99?



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·1· · A.· · · Yes.

·2· · Q.· · · So that's two years?

·3· · A.· · · Yes.

·4· · Q.· · · Two years between the time you got your

·5· · degree and the time you started your first job?

·6· · A.· · · Yes.· So I worked actually -- looking at

·7· · this, I guess I must have put my CV -- I guess when I

·8· · was preparing the CV initially, there are a few

·9· · irrelevant jobs that I had in between where, you

10· · know, I worked as an intern places.· And, like I

11· · said, I got married and I went back home.

12· · Q.· · · Let me stop you for just a second.

13· · · · · · · · So you got your degree in May of '97.

14· · And if you could walk me from May of '97 until May of

15· · '99, when you started working for GlaxoSmithKline,

16· · that would be helpful?

17· · A.· · · Okay.· So I worked as a chemist for a

18· · chemical company.· I want to say I actually worked,

19· · maybe, there all the way to '99.· I was a chemist in

20· · a chemical company.

21· · Q.· · · And where was that?

22· · A.· · · That was Columbia, South Carolina.

23· · Q.· · · What was the name of the company?

24· · A.· · · I think it was called Lindau Chemicals.                 I

25· · think that's what the name was.· It was small.



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·1· · Q.· · · How do you spell that?

·2· · A.· · · L-I-N-D-A-U, Lindau.

·3· · Q.· · · And what did you do at Lindau?

·4· · A.· · · I was a chemist.

·5· · Q.· · · And what were your duties there?

·6· · A.· · · I worked in a chemistry lab, analyzing

·7· · samples.

·8· · Q.· · · Samples of?

·9· · A.· · · The chemicals that the company made, raw

10· · materials.

11· · Q.· · · Yeah.· So what was your job, I guess is what

12· · I'm trying to get at?· What were you doing as a

13· · chemist there?· I mean, what did the company do?

14· · What did they make, and what was your position with

15· · them?

16· · · · · · · · Because you have given lots of detail in

17· · your CV about your jobs with GlaxoSmithKline and with

18· · Pfizer.· I'd like to have similar detail about those

19· · other chemistry jobs.

20· · A.· · · Okay.· Well, with Lindau, I really, you know,

21· · did something along the similar lines.· It was

22· · just -- I think one of the reasons it's not listed on

23· · my CV is because it wasn't directly pharmaceutical

24· · related, and so maybe that's why I did not list it;

25· · it was relatively short.



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·1· · · · · · · · But I worked there as a chemist, and what

·2· · I did is I analyzed samples that we made.· If I

·3· · remember correctly, the company was an industrial

·4· · chemical manufacturer.· And I don't remember the

·5· · products, I apologize.· It's been a long time.

·6· · · · · · · · But I do remember we made different

·7· · industrial-grade chemicals.· And as a chemist, when I

·8· · started there, I basically analyzed raw materials

·9· · that came into the factory.· I analyzed finished

10· · product.

11· · · · · · · · There were also some intermediate

12· · chemicals, you know, in the process -- when we worked

13· · in the process in a plant.· And so I would go and get

14· · the samples and analyze and, you know, and then give

15· · instructions to the manufacturing on how to proceed.

16· · · · · · · · So now that you remind me, I think

17· · that's, actually now looking at the amount of

18· · chemistry and things that I do, I do need to add that

19· · to my CV, because I think it is relevant.

20· · · · · · · · Sometimes you think those things, you

21· · really don't -- it didn't really make that much

22· · impact, but it is something, you know.· I mean, I

23· · was, like I said, really helping to manage the

24· · manufacturing process of the company, in the

25· · manufacturing.



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·1· · Q.· · · So if I understand what you are saying is,

·2· · you were a chemist and you were reviewing certain

·3· · products of the company at different stages?

·4· · A.· · · Yes.

·5· · Q.· · · For quality or for --

·6· · A.· · · Yes, the quality.· I also --

·7· · Q.· · · Go ahead.

·8· · A.· · · -- provided the instructions.· So, for

·9· · example, you know, the process would stop and we

10· · would analyze the sample to determine whether we need

11· · to add more of something or if we need to heat it up

12· · more.

13· · · · · · · · We had a whole algorithm that basically I

14· · was doing.· I was kind of like a chemical engineer, I

15· · guess, because really I was helping controlling the

16· · manufacturing process.

17· · Q.· · · Were there other chemists that you worked

18· · with?

19· · A.· · · Yes.

20· · Q.· · · How many?

21· · A.· · · Oh, boy, I'm trying to remember.

22· · Q.· · · Were there --

23· · A.· · · So there were different shifts too, so, you

24· · know --

25· · Q.· · · Which shift did you work?



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·1· · A.· · · I worked on the first shift, but I helped out

·2· · if there was a need for second or third, if they

·3· · needed somebody to cover when somebody went on

·4· · vacation.

·5· · Q.· · · And you say you did that job full time

·6· · between '97 and '99?

·7· · A.· · · Yes.

·8· · Q.· · · So was that your full-time employment during

·9· · that period?

10· · A.· · · I believe so, yes.

11· · Q.· · · Is that company still in business?

12· · A.· · · I honestly am not sure.

13· · Q.· · · So from May of '97, when you got your degree,

14· · until May of '99, you were a chemist at Lindau

15· · Chemical.

16· · · · · · · · Is that the name of the company, Lindau

17· · Chemical?

18· · A.· · · Lindau Chemicals, because they made all

19· · different kinds.

20· · Q.· · · Okay.· Do you remember some of the chemicals

21· · they made?

22· · A.· · · They had the proprietary blends.· It was not

23· · like a chemical like magnesium stearate or something

24· · that you find.· It was something that you make.· Like

25· · I said, that they made their own blends.· You know



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·1· · what I'm saying?· These were --

·2· · Q.· · · And what were they used for?

·3· · A.· · · So I don't know the scope of all of them,

·4· · because there are different kinds.· Some of them were

·5· · something that you make the plastics out of.

·6· · · · · · · · So they were -- one of them was some type

·7· · of a plastic that you cure with heat.· And you can

·8· · make the -- I remember we had -- in the lobby of the

·9· · company, we had like for a bow and arrow, the plastic

10· · handle that you hold.· That plastic part was actually

11· · made from the products that we made.

12· · · · · · · · So that was one of the things, one of the

13· · uses.· And I think there are probably some other, you

14· · know, people that ordered similar products.

15· · Q.· · · So in May of '99 you went to work for

16· · GlaxoSmithKline?

17· · A.· · · Uh-huh.

18· · Q.· · · And you list your position as senior

19· · pharmaceutical chemist; is that correct?

20· · A.· · · I didn't start as a senior, because obviously

21· · when I started, I was just a chemist coming from a

22· · chemical company.

23· · · · · · · · The senior pharmaceutical chemist,

24· · whatever the title is, it really was something that

25· · was the highest level that I had achieved.



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·1· · Q.· · · When you were a senior pharmaceutical chemist

·2· · at GlaxoSmithKline, can you kind of tell me what you

·3· · did day-to-day?

·4· · A.· · · So I performed analysis of the products.                 I

·5· · also helped with development, like, of the

·6· · methodology.· We had a product that we had to

·7· · transfer -- we had a site transfer where a product

·8· · came from one site, and we brought it to our site or

·9· · to a different site.· So you would have to do all of

10· · the paperwork and you have to do all of the method

11· · transfer.

12· · · · · · · · So you have to, basically, take the

13· · methodology that was done at the original site, and

14· · when the product is transferred to your site, you

15· · basically show that you are capable to perform that

16· · same methodology at your site.

17· · Q.· · · What are you actually doing as the chemist?

18· · You know, GlaxoSmithKline, among other things,

19· · manufactures drugs; right?

20· · A.· · · Yes.

21· · Q.· · · So as the chemist -- as the senior

22· · pharmaceutical chemist, what is your role in that?

23· · A.· · · So depending.· So in the sites where you are

24· · located, you basically, you know, analyze chemicals

25· · that come in that are used in manufacturing.



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·1· · · · · · · · Or, you know, as I progressed in, you

·2· · know, the range, like I started as a chemist doing

·3· · analysis, and so, you know, I performed quality

·4· · control testing of products.· And then, you know, you

·5· · get involved in other things, administrative type of

·6· · things.

·7· · · · · · · · So, you know, I supported the internal

·8· · audit team.· I supported, like I said, the transfers

·9· · of the products.· But generally chemistry is one of

10· · the key skills that you need to have.

11· · Q.· · · So were you primarily just analyzing raw

12· · materials that were being used in the manufacture of

13· · drugs?

14· · A.· · · That was one of the things that I did, yes.

15· · Q.· · · Was that the primary thing that you did?

16· · A.· · · I didn't analyze just the raw materials.                 I

17· · also analyzed actual products.

18· · Q.· · · Okay.· And you were analyzing the actual

19· · products for what purpose?

20· · A.· · · Quality control.

21· · Q.· · · Okay.· And you indicate in your CV that you

22· · assisted with development of the internal audit

23· · system and issuance of appropriate protocols to

24· · assure compliance with, I guess, good manufacturing

25· · practices, USP 797; is that correct?



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·1· · A.· · · Yes, that's correct.

·2· · Q.· · · How does USP -- for example, how did USP

·3· · requirements apply to what you were doing as a

·4· · chemist?

·5· · A.· · · So the USP requirements really are applicable

·6· · across the board.· And that's just because the USP is

·7· · a chapter that -- not a chapter.· USP is a compendium

·8· · that basically provides guidance for you, whether you

·9· · work in industry or you work in health care as a

10· · pharmacist.· The USP is just a set of guidelines and

11· · standards that, for example, the industry has adopted

12· · as a part of their quality measures.

13· · Q.· · · Was that your first exposure to USP

14· · requirements, in that production?

15· · A.· · · Yes.· Absolutely, yes.· Back then, actually,

16· · we still had the book.· That tells you how long ago

17· · it was; we still had the book.

18· · · · · · · · Today, I haven't seen a book.· I was

19· · trying to get a book to show my students, because

20· · it's a really huge book.· And I wanted to show my

21· · students in school in the College of Pharmacy how the

22· · book looks, and I could not even find a printed copy

23· · anymore.· I said, I'll take an expired one, I just

24· · want one.

25· · Q.· · · I understand.· And then from December -- so



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·1· · you were there from May of '99 to December of 2004,

·2· · and then you took a position with Pfizer?

·3· · A.· · · Yes.

·4· · Q.· · · As a senior pharmaceutical -- did you start

·5· · off as the senior pharmaceutical formulation

·6· · specialist?

·7· · A.· · · I did.· I was there a relatively short time,

·8· · because I ended up going back to pharmacy school.

·9· · And so I took the job, and basically it was a

10· · promotion.· It was a better job, and so it was a good

11· · step for me.· And Pfizer just was a better package,

12· · better from the perspective of what they offered for

13· · their employees.· And so I --

14· · Q.· · · You said -- I'm sorry.

15· · A.· · · That's all.

16· · Q.· · · Okay.· Was it essentially the same sort of

17· · position that you had with GlaxoSmithKline?

18· · A.· · · Very similar, yes.

19· · Q.· · · You were a chemist with Pfizer?

20· · A.· · · Yes.

21· · Q.· · · Doing different sorts of analysis and that

22· · type of thing?

23· · A.· · · Yes.

24· · Q.· · · So in the fall of '96 you left Pfizer and

25· · started pharmacy school; is that right?



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·1· · A.· · · Yes.

·2· · Q.· · · As I read your CV, it looks like -- while you

·3· · were in pharmacy school, it looks like you had two

·4· · positions, two employment positions that sort of --

·5· · while you were going through pharmacy school; is that

·6· · right?

·7· · A.· · · Yes, that's correct.

·8· · Q.· · · You were a student intern at Rite Aid

·9· · Pharmacy in Columbia, South Carolina, from September

10· · of '06 until May of 2010?

11· · A.· · · Yes.

12· · Q.· · · And then you also were a hospital pharmacy

13· · student intern at Lexington Medical Center, West

14· · Columbia, South Carolina, from June of '08, which I

15· · guess was like your third and fourth year of pharmacy

16· · school?

17· · A.· · · Yes.· What happens, a lot of times -- well,

18· · what happened to me -- it doesn't happen a lot of

19· · times.· But what happened to me is, after -- I worked

20· · at Rite Aid as a student intern, you know, worked in

21· · retail.· And I honestly at the time thought retail

22· · was my calling, and so I enjoyed it.

23· · · · · · · · So then after my second year of school,

24· · you go on another APP.· They call it APP, which is

25· · advanced pharmacy practice experience.· And so the



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·1· · school sends you for a month to do an internship.

·2· · · · · · · · And so I went and had an internship in

·3· · the hospital at Lexington Medical Center, and I

·4· · absolutely loved it.· And then so then I took on that

·5· · job as an intern at a hospital.

·6· · · · · · · · And I still worked at Rite Aid, because I

·7· · still liked the job at Rite Aid as well, and I really

·8· · liked the people I worked with and so I didn't want

·9· · to leave that.· And so from there on I had two jobs.

10· · · · · · · · It seems like it's a lot to manage, but

11· · actually it was very -- it was really well balanced,

12· · because I was able to work during the week in the

13· · shorter spurts in retail, which is common.· You can

14· · just work three or four hours, so I was able to do

15· · that around my school schedule.

16· · · · · · · · And then the hospital requires typically

17· · for me to work -- or required a time for me to work

18· · full shift as in eight hours, and so I worked on the

19· · weekends at the hospital.

20· · Q.· · · When you were working as a student intern at

21· · Rite Aid, are you just like filling prescriptions and

22· · dealing with customers, is that fair?

23· · A.· · · Yeah.· You basically shadow a pharmacist, and

24· · so you learn about, you know, what a practitioner

25· · does.· You help with counseling, filling.· You help



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·1· · with ordering.· You help with -- you support the

·2· · pharmacist's efforts.

·3· · Q.· · · Was there any compounding done at that Rite

·4· · Aid Pharmacy?

·5· · A.· · · There was very little.· It's not sterile, of

·6· · course.· This was a nonsterile compounding per USP

·7· · 795.· And this is where my chemistry skills came in

·8· · really handy, because I was very comfortable with

·9· · weighing and measuring.

10· · Q.· · · Got you.· So you did some of that at Rite

11· · Aid?

12· · A.· · · Uh-huh.

13· · Q.· · · Okay.· And what kind of work did you do at

14· · the hospital?

15· · A.· · · Well, I really was inclined towards the

16· · sterile compounding, because it was very comfortable

17· · and similar to what I have done working in industry

18· · where you work with medications directly, you prepare

19· · them.

20· · · · · · · · And so I worked in a cleanroom,

21· · compounding medications for patients, preparing

22· · things, even complex things like chemotherapy

23· · batching.· So I would make these really large-scale

24· · batches of medications, but I also supported any

25· · other efforts.



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·1· · · · · · · · So if they needed me to do any other work

·2· · as a pharmacy intern, whether it was filling the

·3· · Pyxis machines or whether it was, you know,

·4· · delivering medications, I did whatever was needed.

·5· · · · · · · · But I did have preference for cleanroom,

·6· · and when I had a chance, if there was an opportunity

·7· · for me to work in the cleanroom, I was definitely

·8· · always up for it.

·9· · Q.· · · So you were doing -- were you doing sterile

10· · compounding at the hospital?

11· · A.· · · Yes.

12· · Q.· · · And as a student intern, how does -- how are

13· · you able to do that?

14· · A.· · · You are able to because you are being

15· · overseen by the pharmacist.· So as long as you are,

16· · you know, supervised by a licensed pharmacist, you

17· · are -- as an intern you can compound, the same way as

18· · the pharmacy technicians do.

19· · Q.· · · And you got your PharmD degree in 2010?

20· · A.· · · Uh-huh.

21· · Q.· · · At the University of South Carolina; is that

22· · right?

23· · A.· · · That's correct.

24· · Q.· · · And then you also got a master of science in

25· · pharmacy in 2010 in pharmaceutical chemistry?



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·1· · A.· · · That was a good year.

·2· · Q.· · · It was a good year.

·3· · A.· · · I got two advanced degrees in the same year.

·4· · Q.· · · Yeah.· How did you do -- how did that work?

·5· · A.· · · So the way this actually worked, it's really

·6· · interesting, because I worked -- I had my -- when I

·7· · was at GlaxoSmithKline, I actually started on this

·8· · program with a master's degree in pharmaceutical

·9· · chemistry.· So I started all of this, we are talking

10· · way back when I was at Glaxo.

11· · · · · · · · And at the time I already knew I wanted

12· · to pursue a graduate degree, and so I was kind of

13· · slowly chipping away on some of the courses that I

14· · could do in this program.

15· · · · · · · · And so I took some courses, and then

16· · actually when I went to Pfizer, Pfizer, I believe,

17· · offered to pay for some of the coursework.· And so

18· · when I worked at Pfizer, I continued on it.

19· · · · · · · · So then when I got into pharmacy school,

20· · I was able to transfer some of the courses because

21· · there are overlapping, as in I took pharmacology at a

22· · pharmacy school, and it's the same pharmacology

23· · course that I would need for my master's degree.· So

24· · I was able to transfer probably about four or five

25· · courses towards the program, towards my master's



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·1· · degree.· And then I had to take, I think, two or

·2· · three more classes.

·3· · · · · · · · So I graduated in May from PharmD.· And

·4· · then I worked on my coursework, and basically was

·5· · able to complete my pharmaceutical chemistry degree

·6· · in December.· So it was fantastic.· It was one of the

·7· · best years of my life.· I graduated twice that year.

·8· · Q.· · · Was the work at the University of Florida --

·9· · was that remote learning?

10· · A.· · · The majority, yes, thankfully.· I had to go

11· · there.· There are some things I had to go there for.

12· · Q.· · · Like what?

13· · A.· · · They had a course that I had to attend that

14· · was in person.

15· · Q.· · · And was this while you were in pharmacy

16· · school or while you were --

17· · A.· · · No, that was after.· That was the last

18· · course -- sorry, my dog.

19· · · · · · · · That was the last course I took, and it's

20· · basically as the final exam.· So you take all this

21· · coursework online, but you have to come and take the

22· · last course in person.· And you take this humongous

23· · exam that basically tests, making sure that all of

24· · the other courses that you have done distant, that

25· · you actually did.



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·1· · · · · · · · So you have -- I mean, the exam is -- I

·2· · think it was a four-hour exam and it was very

·3· · difficult.· And it was questions in pharmacology,

·4· · medicinal chemistry, all of these courses that I took

·5· · over a period of years, and so you basically have to

·6· · show proficiency.

·7· · Q.· · · How many hours is that master of science

·8· · program?

·9· · A.· · · Gosh, I do not remember.· I would have to go

10· · and look.

11· · Q.· · · Do you have a rough guess?

12· · A.· · · I am sorry, I do not.

13· · Q.· · · Is it more than 20?

14· · A.· · · How many credit hours, are you asking?

15· · Q.· · · Yes.

16· · A.· · · I am not sure.· I think so.· I mean, it is a

17· · standard.· You can look online.· It is a master's in

18· · pharmaceutical chemistry.· You can look online at the

19· · University of Florida.

20· · Q.· · · You say you had an industrial pharmacy focus;

21· · what does that mean?

22· · A.· · · Yes.· So there are a couple of different

23· · tracks, because you have electives that you take

24· · within that course, within that degree.· So you can

25· · kind of, you know, focus on what are some of the



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·1· · coursework, because, you know, some students in that

·2· · class were focusing more on like management, and some

·3· · of us really focused more on the industry.· And so

·4· · that was my interest, was really focusing on

·5· · industry.

·6· · Q.· · · So what is industrial pharmacy, what does

·7· · that mean?

·8· · A.· · · So you learn more about some of the general

·9· · regulations like quality control, where do those

10· · guidances come from, and how would you create them if

11· · you were opening your own.· Or how can you

12· · effectively manage, maybe, your, like, raw materials,

13· · maybe a new raw material or product development, and

14· · so you need to develop quality procedures to put in

15· · place.

16· · · · · · · · And so this is where you would -- you

17· · know, if you have this education, you know, what are

18· · the correct steps, how would you do that.

19· · Q.· · · And this may sound like a dumb question, but

20· · is that like -- are you talking about the pharmacy

21· · industry, or are you talking about -- when I think of

22· · industrial pharmacy, I think of Big Pharma --

23· · A.· · · Yes.

24· · Q.· · · -- as like Pfizer and Abbott, that kind of

25· · thing.· Is that what that is?



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·1· · A.· · · Yes, that's exactly what it is.· You

·2· · basically are --

·3· · Q.· · · As opposed to how to run a Rite Aid?

·4· · A.· · · Yes, exactly.

·5· · Q.· · · Okay.· Am I right that the PharmD degree, is

·6· · that the current entry level degree for all

·7· · practicing pharmacists?

·8· · A.· · · Yes.

·9· · Q.· · · And has been since about 2004; is that right?

10· · A.· · · I do not know the exact year, but, yes, it

11· · has been a while.

12· · Q.· · · It's a four-year degree?

13· · A.· · · Yes.

14· · Q.· · · And so the pharmacists at Kroger -- if I go

15· · to Kroger and get a prescription, if they graduated

16· · after a certain point in time, they have a PharmD

17· · degree; is that right?

18· · A.· · · Yes.

19· · Q.· · · Let me ask you this.· Would you say that most

20· · people who get a PharmD degree either practice in the

21· · area of clinical pharmacy like prescribing and

22· · filling prescriptions for patients, or the industry

23· · of bringing medications to market?

24· · A.· · · So I would say I believe -- and I'm not

25· · 100 percent sure of the statistics, but somewhere in



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·1· · the 70 percent-something range percentage of

·2· · pharmacists works in retail.

·3· · · · · · · · So those are the pharmacists exactly as

·4· · you mentioned, folks working in Rite Aid, folks

·5· · working in Kroger.· And they have a small, slim

·6· · chance -- proportion of pharmacists who work clinical

·7· · as in hospital, or maybe -- in nursing homes you have

·8· · to have consulting pharmacists, so you will have the

·9· · small percentage of those pharmacists.

10· · · · · · · · So, yes, the majority does work in

11· · retail.· And there is a small proportion that works

12· · in hospitals, and then there's still a small

13· · proportion of pharmacists who are working in

14· · industry.

15· · Q.· · · All right.· So as I read your CV, after you

16· · got your PharmD degree in 2010, you had two jobs.

17· · One was a PRN pharmacist.

18· · · · · · · · And correct me if I'm wrong, does PRN

19· · pharmacist mean basically as needed?

20· · A.· · · Yes.

21· · Q.· · · So you worked sort of as needed from 2010

22· · through August of 2012 --

23· · A.· · · Yes.

24· · Q.· · · -- at Rite Aid?

25· · A.· · · Yes.



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·1· · Q.· · · Is that the same Rite Aid you worked at while

·2· · you were in pharmacy school?

·3· · A.· · · No, you have to float.· When you don't take a

·4· · full-time position, they usually don't need you in

·5· · the same store, so you are going to be a floater.· So

·6· · you just get sent to whichever store needs a

·7· · pharmacist at that time.

·8· · Q.· · · So you were a PRN pharmacist for Rite Aid

·9· · from September of '10 to August of 2012.

10· · A.· · · I was, but that's officially when I kind of

11· · stopped.· I don't think I worked there much, because

12· · it was just -- you know, I had a full-time job.                 I

13· · was already a faculty member at a university.· And

14· · so, honestly, these PRN jobs -- this is before I had

15· · children and I had time on the weekends.

16· · Q.· · · I understand.

17· · A.· · · So at that time I would work extra, because I

18· · had a lot of student loans that I needed to pay off.

19· · Q.· · · And so that's -- so that's what I wanted to

20· · get at.

21· · · · · · · · So between -- really in the fall of '10

22· · to the fall of 2012, you were working PRN pharmacy at

23· · Rite Aid and PRN pharmacy for UnitedHealthCare?

24· · A.· · · Yes.

25· · Q.· · · Right?· And those were part-time jobs?



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·1· · A.· · · Yes.

·2· · Q.· · · And tell me about the PRN pharmacy job for

·3· · UnitedHealthCare.· What were you doing for them?

·4· · A.· · · So I was a consulting pharmacist, so I worked

·5· · in -- it's a small pharmacy, and I'm not even sure if

·6· · they are still around.· I think they got bought out

·7· · by somebody.

·8· · · · · · · · But it was a small pharmacy that

·9· · basically -- what they did is they managed nursing

10· · homes.· And so what we would do, is I worked on the

11· · weekends strictly and we would do the -- you know,

12· · when a patient -- most of the patients that come into

13· · the nursing homes get admitted on the weekdays.· So

14· · weekends we just kind of maintain status quo.· You

15· · don't get that many orders on the weekends.· So we

16· · would verify orders if needed, and then fill

17· · prescriptions for patients who got admitted over the

18· · weekend.

19· · · · · · · · Also sometimes it involved, you know,

20· · communication with a hospital, because we would have

21· · to double-check if the orders are correct, so

22· · consulting pharmacists.· I would oversee operations.

23· · I would be the only pharmacist there --

24· · Q.· · · Okay.

25· · A.· · · -- sometimes.



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·1· · Q.· · · So from the time you graduated in 2010 until

·2· · the fall of 2012, your primary job was an academic

·3· · position?

·4· · A.· · · Yes.

·5· · Q.· · · And that was at South University --

·6· · A.· · · Yes.

·7· · Q.· · · -- was your pharmacy?

·8· · A.· · · Yes.

·9· · Q.· · · That's also not South Carolina University?

10· · A.· · · That's right.· It's confusing, I know.

11· · Q.· · · So South University is another pharmacy

12· · school?

13· · A.· · · Yes.· It's a private small school, yes, for

14· · pharmacists.

15· · Q.· · · Columbia, and they also have a campus in

16· · Savannah; is that right?

17· · A.· · · That's correct.

18· · Q.· · · And so that was your full-time job?

19· · A.· · · Yes.

20· · Q.· · · And you took that -- so you took that job

21· · right after you got your PharmD degree?

22· · A.· · · Yes.

23· · Q.· · · Have you ever been a full-time pharmacist,

24· · practicing pharmacist?

25· · A.· · · Well, I work at the Palmetto Health Richland



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·1· · as a pharmacist; not full time.· So I guess not full

·2· · time.

·3· · Q.· · · Yeah.· But since you graduated with your

·4· · degree, have you ever been a practicing full-time

·5· · pharmacist?

·6· · A.· · · Well, according to South Carolina Pharmacy

·7· · Practice Act, in South Carolina a teaching pharmacy

·8· · is considered practicing pharmacy, so I guess the

·9· · answer would be yes.

10· · Q.· · · Okay.· Other than -- but your primary job is

11· · not -- you are primarily teaching pharmacy students,

12· · that's your main job, right?

13· · A.· · · Yes.

14· · Q.· · · And it has been since you graduated from

15· · pharmacy school?

16· · A.· · · Yes.

17· · Q.· · · And your part-time positions?

18· · A.· · · Right.

19· · Q.· · · Right?· Is that correct?

20· · A.· · · I'm sorry.· You got -- I didn't hear what you

21· · said, the last part.

22· · Q.· · · You have had part-time positions working as

23· · a, I guess, retail or clinical, however you want

24· · to -- different positions, but your primary job since

25· · you got your PharmD degree has been as an academic,



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·1· · right?

·2· · A.· · · That's correct.

·3· · Q.· · · Okay.· And that you worked as an assistant

·4· · clinical professor at South University from May of

·5· · 2010.

·6· · · · · · · · Is that like right after you got your

·7· · degree?

·8· · A.· · · It is.

·9· · Q.· · · So you graduated in May of 2010, and you took

10· · a position as an assistant professor of clinical and

11· · pharmaceutical studies at South University, and you

12· · did that for three years until August of '13?

13· · A.· · · That's correct.

14· · Q.· · · Okay.· And tell me what you -- and your PRN

15· · work, was it strictly weekend work?

16· · A.· · · Yes.

17· · Q.· · · Okay.· So tell me, if you would, day-to-day,

18· · say May of 2010 after you graduated from pharmacy

19· · school to August of '13, day-to-day, what were

20· · your -- what were you doing?

21· · A.· · · You mean teaching at the university at South,

22· · what I did at South?

23· · Q.· · · Yeah.· Kind of give me the day in the life of

24· · Dr. Michaela Almgren for those three years; what were

25· · you doing?



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·1· · A.· · · I was very busy.· I was teaching a variety of

·2· · courses, had to develop a lot of my own teaching

·3· · materials.· When I started there, I taught, you know,

·4· · just a couple courses, because, you know, I really

·5· · didn't have a teaching portfolio at the time.· I kind

·6· · of had to develop my lectures.· And so I started

·7· · just, you know, mostly helping -- coordinating the

·8· · courses.

·9· · · · · · · · And then I started teaching.· I took on a

10· · really large teaching load.· I took over one of the

11· · most consuming courses, the pharmaceutical

12· · calculations.· And so I would go every day to work

13· · and basically work on developing my teaching

14· · materials.

15· · · · · · · · I precepted some students.· I tutored

16· · students.· I helped with teaching labs; really a

17· · variety of things that I do on a day-to-day basis.

18· · Q.· · · So I want to ask what may seem like a silly

19· · question, but how does a -- how does a person who has

20· · never really been a pharmacist start just teaching

21· · pharmacy?

22· · · · · · · · I mean, you went to pharmacy school and

23· · got your pharmacy degree.· How do you just turn

24· · around and start teaching pharmacy when you have

25· · never been a pharmacist?



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·1· · A.· · · Well, keep in mind that about half of faculty

·2· · at universities do not have a PharmD.· We have PhDs

·3· · at our college that are not pharmacists.

·4· · · · · · · · So in my college right now at the

·5· · University of South Carolina, many of my colleagues

·6· · are not practicing pharmacists, because they teach

·7· · subject matters that are not necessarily pharmacy

·8· · practice related.

·9· · · · · · · · So, you know, I did not teach directly,

10· · you know, things that I would not know anything

11· · about.· But, for example, sterile compounding, I have

12· · done that as a student.

13· · · · · · · · And, you know, when you are -- when you

14· · learn as a student to perform sterile compounding,

15· · you know, it is the same on the level -- I mean, I do

16· · the same things that a pharmacist would.· So I

17· · experienced sterile compounding, for example.

18· · · · · · · · Pharmaceutical calculations, do you

19· · really need to be a pharmacist?· I mean, this is a

20· · course that can be taught by a PhD, by somebody that,

21· · you know, has understanding of how to calculate.

22· · · · · · · · So I don't think that you -- it depends,

23· · of course, on your level of expertise on subject

24· · matter, but there are definitely areas that you can

25· · teach and you don't have to be a pharmacist or a



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·1· · practicing pharmacist, you just have to have an

·2· · in-depth knowledge.

·3· · Q.· · · In your CV where you talk about you are

·4· · assistant professor of clinical and pharmaceutical

·5· · studies, you say you taught the majority of

·6· · hospital-related lab class work, including TPN

·7· · compounding, IV and chemical -- I'm sorry, IV and

·8· · chemotherapy preparation and USP 797 training.

·9· · · · · · · · Is your compounding experience, your

10· · sterile compounding experience related to pharmacy,

11· · what you learned in pharmacy school, plus what you

12· · learned in your internships?

13· · A.· · · Absolutely that, and also I took some other

14· · courses.· I took -- there was a course that was

15· · offered through -- I think it's called Critical -- I

16· · think they are called Critical Point.· It's a company

17· · that offers this in-depth sterile compounding

18· · training.· I took that.

19· · · · · · · · I take a number of continuing education

20· · courses every year to further my understanding of

21· · sterile compounding.· You know, truth be told,

22· · sterile compounding, it's a very unique area of

23· · pharmacy.

24· · · · · · · · And I can tell you there are a lot of

25· · pharmacists out there who have never done sterile



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·1· · compounding, so it's something that's unique.

·2· · · · · · · · (WHEREUPON, a document was marked as

·3· · Exhibit Number 5.)

·4· · BY MR. SUTHERLAND:

·5· · Q.· · · I want to go back to 2010, though, when you

·6· · graduated from pharmacy school.

·7· · A.· · · Uh-huh.

·8· · Q.· · · You began teaching about compounding.· And

·9· · what I want to know is, where did you get the sterile

10· · compounding experience that you were starting to

11· · teach in May of 2010; where did that come from?

12· · A.· · · Well, I was a pharmacy intern in the

13· · hospital, and so I performed sterile compounding

14· · there.· You know, you perform it under USP guidelines

15· · under USP Chapter 797 under the guidance of

16· · pharmacists, and you work side-by-side with the

17· · pharmacists.

18· · Q.· · · And those were part-time positions while you

19· · were in pharmacy school?

20· · A.· · · Yes.

21· · Q.· · · Okay.

22· · · · · · · · MR. SUTHERLAND:· Lynne, I think,

23· · Dr. Almgren, we have been going for about an hour and

24· · 40 minutes.· If it's okay, why don't we take about a

25· · 10-minute break.



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·1· · · · · · · · MS. LEONARD:· That sounds fine to me.

·2· · · · · · · · MR. SUTHERLAND:· Then we'll come back and

·3· · get started again.

·4· · · · · · · · MS. LEONARD:· I guess 10:47, I guess,

·5· · something like that for you?

·6· · · · · · · · MR. SUTHERLAND:· Let's just say 10:50,

·7· · 11:50 Eastern.

·8· · · · · · · · MS. LEONARD:· Great.· Thank you.

·9· · · · · · · · (An off-the-record discussion was held.)

10· · BY MR. SUTHERLAND:

11· · Q.· · · Dr. Almgren, you are on mute, so I'm going to

12· · remind you -- thank you.

13· · · · · · · · We were talking about your CV and your

14· · experience.· And when we broke, I had -- we talked

15· · about you graduated from pharmacy school in 2010, and

16· · your full-time job after you graduated was an

17· · academic position with South University College of

18· · Pharmacy.· And then you worked for a couple of years

19· · on the weekends, as you have described it, either for

20· · Rite Aid or for UnitedHealthCare; is that accurate?

21· · A.· · · Yes.

22· · Q.· · · And then in 2013 -- oh, I left something off.

23· · · · · · · · You were also -- you also list adjunct

24· · faculty at University of Florida Distance Program,

25· · University School of Pharmacy, January '11 to May



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·1· · '14.· So that was just you were teaching remotely for

·2· · the University of Florida?

·3· · A.· · · That's correct.

·4· · Q.· · · And then in the fall of 2013 you went back to

·5· · the University of South Carolina; is that right?

·6· · A.· · · That's correct.

·7· · Q.· · · In another academic position as a clinical

·8· · assistant -- I'm sorry, no.

·9· · · · · · · · As a clinical assistant professor at the

10· · University of South Carolina College of Pharmacy,

11· · right?

12· · A.· · · That's correct.

13· · Q.· · · And you have been doing that until the

14· · present?

15· · A.· · · Yes.

16· · Q.· · · You also during that time have had a couple

17· · of other jobs, and I want to talk to you about all of

18· · it.· But your full-time job is teaching, right?

19· · A.· · · Yes.

20· · Q.· · · And has been -- well, it has been since you

21· · graduated from pharmacy school, but since '13 at the

22· · University of South Carolina College of Pharmacy?

23· · A.· · · Correct.

24· · Q.· · · You also list two part-time jobs -- well, I

25· · shouldn't say part-time.· You tell me.



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·1· · · · · · · · From 2013 to 2018, you were a hospital

·2· · pharmacist for Palmetto Health Richland Hospital,

·3· · correct?

·4· · A.· · · Yes, correct.

·5· · Q.· · · And first of all, was that a part-time

·6· · position?

·7· · A.· · · No.· The way that this works is, typically in

·8· · professional type of programs like the College of

·9· · Medicine, College of Pharmacy, a lot of times the

10· · faculty has a dual appointment.

11· · · · · · · · And so this is what hospital pharmacists

12· · and the outsourcing pharmacists -- both of those

13· · positions are basically part of my full-time job.· So

14· · I split my work.· I'm not at the college full time.

15· · · · · · · · I split my work hours between hospital --

16· · initially, it was between hospital, between Palmetto

17· · Health and the university.

18· · · · · · · · And then there was an open opportunity

19· · that I took because I felt it fit better my

20· · qualifications, and now I work as an outsourcing

21· · pharmacist and, again, as a part of my faculty

22· · appointment.

23· · · · · · · · So I'm actually half the time at the

24· · college, and half the time at the -- wherever your

25· · position, your dual appointment is.· So I am a



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·1· · hospital pharmacist and I work for a hospital as, you

·2· · know, a regular part of a hospital team as a regular

·3· · pharmacist, and I was teaching.

·4· · Q.· · · So let's talk about the position of hospital

·5· · pharmacist at Palmetto Health Richland Hospital

·6· · Pharmacy, Columbia, South Carolina, August of '13 to

·7· · September of '18.

·8· · · · · · · · So from the fall of '13 when you took the

·9· · position as a professor at the University of South

10· · Carolina College of Pharmacy, until September of '18,

11· · you are splitting these duties.

12· · · · · · · · And what I'd like to know, if you can

13· · help me, is what does a day-to-day, week-to-week,

14· · month-to-month look -- what does your work look like?

15· · That would be helpful.

16· · A.· · · So as a faculty member, when I got hired in

17· · August of 2013, I was teaching in the health systems

18· · pharmacy labs.· And that course ran Tuesday,

19· · Wednesday and Thursday from 1:30 to 4:30.

20· · · · · · · · And I was actually teaching everything

21· · that's related to hospital pharmacy practice.· So

22· · sterile compounding, you know, compounding, sterile

23· · compounding, anything that relates to that area.

24· · And, of course, hospital practice, how you review

25· · orders, how you fill prescriptions in a hospital



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·1· · setting, what goes on a prescription, what are some

·2· · of the regulations.

·3· · · · · · · · So I did that on Tuesday, Wednesday and

·4· · Thursday.· And then my Mondays and Fridays I was at a

·5· · hospital working as a hospital pharmacist, just like

·6· · all of the other pharmacists in that position.

·7· · · · · · · · So I would work in a cleanroom, depending

·8· · on what your assignment for the day was.· And there

·9· · is a schedule that you would go to and you could see,

10· · okay, you know, I'm working in a cleanroom, or I'm

11· · verifying orders, or I'm verifying orders in a

12· · cleanroom.· You know, whatever the assignment was, is

13· · where I was located for the day, and that would be my

14· · Mondays and Fridays.· So Monday and Friday was

15· · hospital; and then Tuesday, Wednesday, Thursday was

16· · university.

17· · Q.· · · Okay.· And that was the way it was -- that's

18· · the way it started, but was it that way every

19· · semester?

20· · A.· · · Yes, spring and fall.· It was two separate

21· · courses.· So there's an Introduction to Health

22· · Systems Pharmacy, which is a full course for the P2

23· · year.· And so I would teach the introduction in the

24· · fall, and in the spring semester it was Advanced

25· · Health Systems Pharmacy.



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·1· · Q.· · · Did you --

·2· · A.· · · I'm sorry.

·3· · Q.· · · Go ahead.

·4· · A.· · · What I was going to say, that pattern

·5· · continued spring and fall.· And in the summer I would

·6· · just work two days in the hospital, and it didn't

·7· · have to be Monday and Friday.· It could be other days

·8· · at that point because I didn't have class.

·9· · · · · · · · And then the rest of the time I was at

10· · university trying to revamp the course and, you know,

11· · make sure that I have sufficient supplies and kind

12· · of, you know, get things together for the class.

13· · Q.· · · All right.· And was that the way it was from

14· · August of '13 until September of '18?

15· · A.· · · That's when I do the labs.

16· · Q.· · · So I guess my question is, for that five-year

17· · period, or '13 to '14, '14 to '15, '15 to '16, '16 to

18· · '17, '17 to '18, you were Monday and Friday in the

19· · hospital, Tuesday, Wednesday, Thursday at school?

20· · A.· · · I think what happened, about two years in the

21· · contracts stayed the same, but my days shifted

22· · around, because what happened is there was another

23· · course that was being taught at university that

24· · needed the lab on Thursday, and so we had to switch

25· · the lab to move it to be taught Monday, Tuesday,



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·1· · Wednesday, so it changed the schedule, so then I

·2· · would be in the hospital Thursday and Friday.

·3· · · · · · · · Also, my contract changed in the sense

·4· · that I ended up switching.· Instead of having two

·5· · days in the hospital and then three days in the lab,

·6· · what I did instead is I ended up still having the

·7· · same amount of time contract-wise, I believe, you

·8· · know, in the hospital, just change it where I would

·9· · work in a hospital in the summer a little more to

10· · make up for the time that I was out.

11· · · · · · · · You know, I would only work one day a

12· · week in the hospital instead of two, because it was

13· · really difficult to manage the course.· When you

14· · think about it, you have 110 students three days a

15· · week, managing, you know, the supplies, the grading.

16· · I mean, the labs have a lot of paperwork that the

17· · students submit.· It's a very busy course.· There are

18· · quizzes.· There are exams.

19· · · · · · · · And so if you are two days in the

20· · hospital and then three days in university, you

21· · really have no time to regroup.· And you have to set

22· · up the lab, which is practicals, for the next week.

23· · · · · · · · And so I always felt extremely frazzled,

24· · because, you know, you are always on the go.· You are

25· · either in the hospital or you are in the college, and



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·1· · when you are in the college you are teaching, and so

·2· · I really never had time to regroup.

·3· · · · · · · · And so I requested of the college if they

·4· · could change things around so I could have more time

·5· · at the college, and then one extra day to regroup,

·6· · change things around, you know, for the lab to get

·7· · things together, and then move on the next week, you

·8· · know, and then just go from there.

·9· · Q.· · · So that I understand, for the first two years

10· · you were a professor at the University of South

11· · Carolina.· Two days a week you were working at the

12· · hospital.· Three days a week you were at the

13· · university?

14· · A.· · · Yes.

15· · Q.· · · And then in the summer you worked two days a

16· · week in the hospital, and the rest of the time at

17· · school --

18· · A.· · · Yes.

19· · Q.· · · -- doing preparation work?

20· · · · · · · · And then in your third year you cut back

21· · your time in the hospital to account for increased

22· · coursework?

23· · A.· · · Yes.

24· · Q.· · · Course preparation work?

25· · A.· · · Yes.



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·1· · Q.· · · One day in the hospital, and then maybe a

·2· · little more time in the summers?

·3· · A.· · · Yes.

·4· · Q.· · · Okay.

·5· · A.· · · So in the summer I would be in the hospital

·6· · two days as doing the contract, but I would try to

·7· · make up those one days that I missed during semester.

·8· · We would spread them out over summer.

·9· · Q.· · · And so you would go to the hospital, and who

10· · would -- were you working under the direction of

11· · somebody at the hospital?

12· · A.· · · Yes.

13· · Q.· · · And who would that be?

14· · A.· · · So there was a different manager.· When I

15· · started, Jennifer Bayer was my direct supervisor.

16· · And she was more or less a supervisor for the

17· · department the rest of the time too.

18· · · · · · · · There were direct supervisors that would

19· · change, because people came and go, but Jennifer

20· · Bayer was the one that was really supervising the

21· · operations.

22· · Q.· · · I apologize.· I'm not asking for you to tell

23· · me their names.· I don't really need to know their

24· · names.· But the position of the person that was

25· · supervising your work at the hospital was who?· What



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·1· · was the position; the pharmacy director?

·2· · A.· · · No, it was not pharmacy director.· Well, the

·3· · pharmacy director is the one who oversees that whole

·4· · department.· I believe it's called lead pharmacist.

·5· · Lead pharmacist is who does the scheduling and

·6· · managing of the hours.

·7· · Q.· · · All right.· And so you were being directed by

·8· · the lead pharmacist at the hospital?

·9· · A.· · · Yes.

10· · Q.· · · And you'd just do whatever they needed you to

11· · do the days you were there?

12· · A.· · · Yes.

13· · Q.· · · All right.· And did that involve dispensing

14· · medication?

15· · A.· · · Sure.

16· · Q.· · · Filling prescriptions --

17· · A.· · · Yes.

18· · Q.· · · -- for patients at the hospital?

19· · A.· · · Yes.

20· · Q.· · · Counseling patients?

21· · A.· · · Sometimes, yes.

22· · Q.· · · What would you say the majority of the work

23· · at the hospital is or was during that period,

24· · five-year period?· The majority of the day you are

25· · there, what are you doing?



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·1· · A.· · · Probably verifying orders, reviewing orders,

·2· · medications.

·3· · Q.· · · And so that's how that went until September

·4· · of '18; is that right?

·5· · A.· · · Yes.

·6· · Q.· · · Okay.· Then you took this position with

·7· · Nephron Pharmaceuticals Company?

·8· · A.· · · Yes.

·9· · Q.· · · Tell me about Nephron Pharmaceuticals

10· · Company.

11· · A.· · · So at Nephron I am a clinical advisor, so I

12· · work more in the drug development area.· So it kind

13· · of goes back to my roots of coming from the Pharma.

14· · · · · · · · And what I do is I help with whenever we

15· · have -- for example, we are a 503B compounding

16· · company, so it is a compounding pharmacy.

17· · · · · · · · Nephron is a 503B outsourcing facility,

18· · and so we are a compounding pharmacy.· We perform

19· · aseptic compounding.· All of our products that we

20· · make are injectables.

21· · · · · · · · I help with a lot of different tasks.

22· · You know, you have to keep in mind, when I started,

23· · we just started the outsourcing.· Like, it was not in

24· · operation that long, so there was a lot of tweaking

25· · going on in terms of standard operating procedures,



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·1· · in terms of formulation procedures.· And so I helped

·2· · with development of some of those.

·3· · · · · · · · I helped with -- nowadays, we have come a

·4· · long way, and we definitely have a lot of this now

·5· · already figured out in terms of how to do things in

·6· · the best way to follow CGMP.

·7· · Q.· · · Let me stop you for just a second.· So in

·8· · September of '18 to the present -- and I'm going to

·9· · get into some of the details.· But from September '18

10· · to present, you have been part time, or I guess

11· · full-time academic with this part-time component of

12· · outsourcing pharmacists and clinical specialists,

13· · right?

14· · A.· · · Correct.

15· · Q.· · · Like you said before.· So tell me, does it

16· · work similarly?

17· · A.· · · Yes.

18· · Q.· · · How does it work between, you know, your

19· · teaching and what you do -- like, what you do

20· · day-to-day?

21· · A.· · · It's very similar to what I have described

22· · previously.· So I'm in my practice side portion of

23· · the week and I'm at the university a portion of the

24· · week.

25· · Q.· · · Give me a little more detail.· How many days



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·1· · are you teaching?· And then when you are not teaching

·2· · at the university or doing teaching work, where are

·3· · you and what are you doing?

·4· · A.· · · So it really depends.· So some weeks I'll be

·5· · more at Nephron, and then some weeks I'll be more at

·6· · the university.· It really depends on my teaching

·7· · schedule.

·8· · Q.· · · Okay.· Has it been variable since you started

·9· · at Nephron?

10· · A.· · · Yes.

11· · Q.· · · About how much time percentage-wise are you

12· · at school and how much percentage at Nephron; is it

13· · 50/50?

14· · A.· · · It's supposed to be 50/50.· But I'm probably

15· · more at Nephron, because I also precept.· So I do

16· · clinical teaching, meaning I have my pharmacy

17· · students with me, so that's another component of

18· · teaching that I do now on a larger scale.

19· · · · · · · · I precepted before, but I precept on a

20· · much larger scale now.· So what I do is I have

21· · pharmacy students every month, and this is a part of

22· · their required curriculum.

23· · · · · · · · So, as I was mentioning earlier, the

24· · APPE, the Advanced Pharmacy Practice Experience, this

25· · is in order for the pharmacy students to be licensed



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·1· · to be pharmacists.· They have to have a certain

·2· · number of hours that they complete as a part of their

·3· · rotations, the clinical rotations.

·4· · · · · · · · And so part of their training in their

·5· · last year of pharmacy school are these clinical

·6· · rotations.· And so they come with me to Nephron and

·7· · they basically spend an entire calendar month working

·8· · on different projects.· They shadow me and they

·9· · shadow on some of my other co-preceptors as well.

10· · Q.· · · One question I forgot to ask you, when you

11· · were -- for both of these situations.· So when you

12· · are the hospital pharmacist at Palmetto Health

13· · Richland Hospital Pharmacy, were you a hospital

14· · employee?

15· · A.· · · No.· I don't believe -- well, I'm not really

16· · sure in terms of exact employment arrangement there,

17· · but I think it's something along the lines of the

18· · university has a contract with the hospital, because

19· · I did have a badge at the hospital.

20· · · · · · · · I did have -- you know, I am a part of --

21· · you know, I appear to be like a regular employee, so

22· · I have to follow all of the policies and procedures

23· · at the hospital, have to go to all of the training

24· · that a hospital requires.· So I'm assuming, from that

25· · perspective, yes.



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·1· · Q.· · · Do you get paid by the hospital?

·2· · A.· · · The hospital pays directly to the university,

·3· · and I am considered a university employee.

·4· · Q.· · · So is your salary -- do you have a salary for

·5· · your professor position and do you get paid

·6· · separately, are those distinct components, or you

·7· · just have one salary?

·8· · A.· · · It's just one.

·9· · Q.· · · Okay.· So there's no -- is it the same with

10· · Nephron?

11· · A.· · · Yes.

12· · Q.· · · So you are not an employee of Nephron?

13· · A.· · · I don't know technically how that works

14· · because, again, I have a badge.· I have to follow

15· · their requirements in terms of all of the employee

16· · requirements.· I have to go to training.· Whatever

17· · policies they have, I follow all of them.

18· · Q.· · · So do all pharmacy professors do, sort of,

19· · part-time things where they are working for hospitals

20· · and pharmaceutical companies?

21· · · · · · · · MS. LEONARD:· Object to the form.· You

22· · can answer.

23· · BY MR. SUTHERLAND:

24· · Q.· · · Are you aware of other pharmacy professors

25· · who do similar work to what you are doing?



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·1· · A.· · · Absolutely.· The majority of my colleagues

·2· · does, yes.

·3· · Q.· · · Okay.· And so in the case of Palmetto Health

·4· · Richland, you were aware that they were paying the

·5· · university for your work?

·6· · A.· · · Yes.

·7· · Q.· · · And the same with Nephron, they pay the

·8· · University of South Carolina for your work there?

·9· · A.· · · Yes.

10· · Q.· · · Okay.· So you are not compensated in any way

11· · by Nephron Pharmaceuticals Company?

12· · A.· · · No.· If I wanted to work separate -- let's

13· · say if I wanted to get another position, you know,

14· · that would be different.· But as a part of what I

15· · have, my clinical assignment, I am not directly

16· · compensated.

17· · Q.· · · When you go to the company, most of the time

18· · you are going by yourself, right, to work there, when

19· · you go to work at the company?

20· · · · · · · · You mentioned taking students with you,

21· · but most of the time you are going out there and

22· · doing work for them by yourself; is that right?

23· · A.· · · Truth be told, I have my students with me

24· · probably nine out of 12 months.

25· · Q.· · · Every time you go to the company?



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·1· · A.· · · They are there.

·2· · Q.· · · Okay.· And so you said that Nephron is a 503B

·3· · compounding pharmacy.· Tell me, what is a 503B

·4· · compounding pharmacy?

·5· · A.· · · So 503B compounding pharmacy is a type of

·6· · pharmacy where you can compound medications on a

·7· · larger scale.· You have to follow CGMP requirements,

·8· · of course, but you don't have to have a prescription.

·9· · · · · · · · So that is a part of the DQSA of 2013,

10· · the law that was passed due to the NECC, the New

11· · England Compounding Center.

12· · Q.· · · I'm going to stop you because you are using

13· · lots of initials and acronyms here.

14· · · · · · · · So you said that a 503B does large-scale

15· · compounding and has to comply with CGMP.· What's

16· · that?

17· · A.· · · Current Good Manufacturing Practices.

18· · Q.· · · Okay.· And it was -- the CGMP was based

19· · upon -- as part of what?· I think the DQ --

20· · A.· · · -- SA, Drug Quality and Safety Act [sic] of

21· · 2013.

22· · Q.· · · Go ahead.

23· · A.· · · That's all.

24· · Q.· · · So you have to comply with CGMP, it's part of

25· · the Drug Quality Safety Act.· And what else that



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·1· · would encompass a 503B compounding pharmacy?

·2· · A.· · · So before 2013, the New England Compounding

·3· · Center, that was another acronym I used, the NECC,

·4· · New England Compounding Center, was a compounding

·5· · pharmacy in Massachusetts that had produced

·6· · large-scale batches of medications, and they sold

·7· · them to pharmacies.

·8· · · · · · · · These drugs were contaminated because

·9· · they did not use proper aseptic technique, and many

10· · patients were harmed and even died.· And so because

11· · of that, this DQSA Act was passed, because we have

12· · such a severe drug shortages right now in the health

13· · systems in general.

14· · · · · · · · There are just medications that are

15· · unavailable, and the patients need them.· And a lot

16· · of times these medicines don't have another

17· · alternative, they are the only medicine that you can

18· · use.

19· · · · · · · · And so because of that, this DQSA was

20· · passed, which allows pharmacies to do -- pharmacies

21· · to do large-scale compounding.

22· · · · · · · · So up until 2013, you could only compound

23· · per USP 797 according to 503A regulations.· And so

24· · with the passage of the DQSA Act, now we have an

25· · alternative.



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·1· · · · · · · · And so you have pharmacies that can

·2· · practice pharmacy and compound on a large scale as

·3· · per 503B regulations, so those prescriptions -- those

·4· · medications do not require a prescription.

·5· · · · · · · · So if you are going to compound for a

·6· · 503A, you have to have a patient-specific

·7· · prescription.· If you are compounding for 503B, you

·8· · do not have to have a patient prescription.· You

·9· · compound just a general large amount of medication.

10· · You can make big batches, and then sell those.

11· · Q.· · · How big?

12· · A.· · · They can be anywhere -- it really depends on

13· · the size of the pharmacy.· So there is no -- I don't

14· · know that there is any, you know, guidance on the

15· · minimum, but most of the time it can be in the

16· · thousands.

17· · · · · · · · You just have to follow -- you just have

18· · to follow CGMP requirements, so you have to put in

19· · place quality and safety measures to make sure that

20· · the entire batch produced is safe.

21· · Q.· · · So if I understand correctly, so there are

22· · 503A compounding pharmacies, which are like sort of a

23· · retail pharmacy that does small batch compounding

24· · based on a specific prescription from a provider to a

25· · patient, right?



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·1· · A.· · · Correct.

·2· · Q.· · · And the 503B does large-scale compounding

·3· · that provides medications for multiple patients, and

·4· · is that through a retail pharmacy?· Do you-all sell

·5· · to retail pharmacies?

·6· · A.· · · No, you sell directly to the hospital.

·7· · Q.· · · So Nephron's products are sold to hospitals?

·8· · A.· · · Yes.· Now, we also have a manufacturing

·9· · division, because Nephron has a tradition -- they

10· · have been in the business before the 503B was even

11· · around.

12· · · · · · · · And Nephron is a manufacturer of

13· · albuterol, ipratropium, so some of the inhalation,

14· · also sterile preparations.· So they have been around,

15· · and that was the main core business with them for

16· · years.

17· · Q.· · · There's a Nephron compounding -- there's a

18· · compounding component of Nephron, and then there's

19· · another, a manufacturer?

20· · A.· · · Yes.

21· · Q.· · · You said earlier that they only do

22· · injectables, are you talking about the compounding,

23· · Nephron compounding?

24· · A.· · · Yes.· The injectables are the compounding

25· · side, that's our 503B division, and then we have a



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·1· · manufacturing division which is mostly inhalation

·2· · products.

·3· · · · · · · · However, we have filed for a few ANDAs,

·4· · so we are now becoming a generic manufacturer for

·5· · some injectables.

·6· · Q.· · · So when you talk about -- when you said the

·7· · compounding portion of Nephron, is that Nephron

·8· · Sterile Compounding Center?

·9· · A.· · · Are you asking about exact business name?

10· · Q.· · · Well, there's Nephron Pharmaceuticals

11· · Corporation, and then there's Nephron Pharmaceutical

12· · Corporation, doing business as Nephron Sterile

13· · Compounding Center.

14· · · · · · · · Do you work with the sterile compounding

15· · center?

16· · A.· · · I work with both, but primarily the sterile

17· · compounding, yes.

18· · Q.· · · Okay.· Are you familiar with Nephron Sterile

19· · Compounding Center?

20· · A.· · · Yes.

21· · Q.· · · Okay.· And you work directly with them?

22· · A.· · · Yes.

23· · Q.· · · As part of your arrangement with the

24· · university?

25· · A.· · · Yes.



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·1· · Q.· · · Okay.· And what are the differences between

·2· · the requirements for a 503A pharmacy and a 503B

·3· · pharmacy?

·4· · · · · · · · And I know -- I'm sure there are varying

·5· · degrees of complexity, and we don't have all day, but

·6· · if you could just sort of give me a thumbnail sketch

·7· · of the primary differences between a 503A and a 503B,

·8· · that would be good in terms of --

·9· · A.· · · Okay.· So the 503A pharmacy follows USP 797

10· · guidance.· Those are the minimum requirements to

11· · follow.

12· · · · · · · · So the USP 797, that chapter basically

13· · describes for a practitioner how to prepare safe,

14· · sterile compounded products.· So you need to follow

15· · that exactly as stated or better.· If you can have

16· · your procedure better than what the 797 requires,

17· · better yet.

18· · · · · · · · So the 503B compounding requires that you

19· · follow CGMP, and so CGMP is more focused on like a

20· · manufacturing type of a setting.

21· · · · · · · · So there are a lot of additional tests

22· · that are required per CGMP than they have to do in

23· · the manufacturing setting to assure that our products

24· · are safe and effective for the patients.· And so

25· · while --



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·1· · Q.· · · Why is that?· Why is that?

·2· · A.· · · That is because while the USP 797 typically

·3· · requires -- you have a prescription and you are going

·4· · to dispense it to the patient and the medication will

·5· · be used in a relatively short time, it's assumed.

·6· · You have a prescription that's patient specific and

·7· · it's written to be used.

·8· · · · · · · · When we compound our products on the

·9· · large scale in the outsourcing, what happens are

10· · these products are drugs that will be shipped to

11· · hospitals, and so it may be another week or two

12· · before they are used.· And so because of that -- or

13· · maybe even longer.· And so we have to assure that the

14· · packaging withstands the shipping.

15· · · · · · · · So, like I said, there are multiple

16· · quality measures in place to make sure that the drug

17· · itself gets where it needs to get safely, that it

18· · does not degrade, that it has the potency -- when it

19· · gets to the patient, it has the potency that we

20· · promised it would, that we say it does, and that type

21· · of stuff.· So it is a little more intricate.

22· · · · · · · · And, of course, there are multiple

23· · precautions put in place in terms of 503B compounding

24· · to minimize the potential for -- potential, for

25· · example, of microbial contamination.



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·1· · · · · · · · So while in a 503A environment you don't

·2· · gown -- you don't gown much.· Like, you can still

·3· · have certain areas of skin exposed, for example.

·4· · · · · · · · Because 503B, again, the assumption is

·5· · the beyond use date, which will be relatively short,

·6· · and so there is not as much concern with

·7· · contamination, because, hopefully, the drug will be

·8· · dispensed soon.

·9· · · · · · · · When it comes to 503B, we compound and

10· · these medications will be sent and transported, and

11· · so the guidelines on how to manufacture are very

12· · stringent.

13· · Q.· · · And that's because it can affect a lot more

14· · people too, right?

15· · A.· · · Absolutely, yes.· Absolutely, that's

16· · definitely.· You know, I didn't mention that, but,

17· · yes, that's definitely a big concern as well.

18· · Q.· · · So Nephron Compounding Center is under the

19· · 503B requirements that are much stricter because they

20· · are producing large quantities of compounded

21· · medications that are going to be used in hospitals

22· · all over the country, right?

23· · A.· · · Correct.

24· · · · · · · · MS. LEONARD:· Object to the form.

25· · ///



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·1· · BY MR. SUTHERLAND:

·2· · Q.· · · You say in your CV that you oversee

·3· · formulations and filling operations for Nephron; is

·4· · that right?

·5· · A.· · · So I collaborated the departments that do --

·6· · I used to do more of that when I started.· Now the

·7· · scale is so large that I cannot oversee every single

·8· · formulation and every single filling operation, but I

·9· · do assist with that.

10· · Q.· · · Tell me -- so at Nephron, what -- tell me

11· · again how many days a week on average you are working

12· · at the company.

13· · A.· · · Again, it depends.· It depends on -- it's

14· · week to week, depending on what goes on at the

15· · college, how many students I have on rotation with

16· · me.

17· · Q.· · · On average, how many days a month are you at

18· · Nephron?

19· · A.· · · So a month, I can't say.· But a week, I would

20· · say at least three.· Two to three is very common,

21· · sometimes more; three probably would be the least.

22· · Q.· · · All right.· And when you are at Nephron, tell

23· · me what you are doing while you are there during the

24· · day.

25· · A.· · · Again, it really depends.· Nephron is a very



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·1· · unique site.· We do -- I'm involved in a lot of

·2· · different things, anything from product development,

·3· · where I attend meetings where we discuss short-term

·4· · plans, as in what are we making this week; looking at

·5· · shortage lists and determining what are we going to

·6· · be making moving forward.

·7· · · · · · · · I have to look at -- if we decide, let's

·8· · say we are going to do a new product, and I will look

·9· · at the formulation and we will discuss how to best

10· · prepare it, we do some trial batches.

11· · · · · · · · If I go to meetings for the long-term

12· · planning, we are looking at potentially filing some

13· · ANDAs.· So I'm involved in providing feedback on how

14· · we are going to proceed in terms of the new drug --

15· · Abbreviated New Drug Application plan, what is the

16· · next drug that we should focus on.

17· · · · · · · · And we look at our market analysis.                 I

18· · even look at that.· Then I look back at formulation,

19· · how it's used in clinical setting.

20· · · · · · · · A lot of these products may have multiple

21· · strength, multiple different packaging

22· · configurations, so we typically don't want to make

23· · all of them.· You have to focus on what would be --

24· · what would make the most sense in the facility and

25· · the workforce that we have, so I focus on that.



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·1· · · · · · · · Then I'm involved in currently we are

·2· · working on a cleaning validation revamp, so we

·3· · perform cleaning validation -- well, the cleaning

·4· · team performs cleaning validation of the system in

·5· · between the products, but I help with determining the

·6· · cleaning validation limits, and those are based on,

·7· · you know, literature.· So a variety of projects.

·8· · Q.· · · Yeah.· So is there -- there are injectables

·9· · being compounded at the compounding center, right?

10· · A.· · · Yes.

11· · Q.· · · In Columbia?

12· · A.· · · Yes.

13· · Q.· · · And are you ever in the compounding center

14· · where they are compounding these injectables?

15· · A.· · · I mean, the plant where I am is all together,

16· · so I am at the center.

17· · Q.· · · Are you ever in the place where they are

18· · doing the compounding?

19· · A.· · · As a matter of fact, I'm getting gown

20· · certified next week so I can go back in.· Gown

21· · certification has to be every six months.· So I get

22· · gown certified and I take my students back in there,

23· · and sometimes I'll go and look and see how things are

24· · done.

25· · · · · · · · We had some questions, for example, about



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·1· · the way that product was made, and so I would go in

·2· · there and actually observe.· I don't -- if you are

·3· · asking if I compound myself; no.

·4· · Q.· · · Do you observe the compounding being done?

·5· · A.· · · I do sometimes; not daily, but I do.

·6· · Q.· · · You said "not daily"?

·7· · A.· · · Right.

·8· · Q.· · · Yeah.· Do you frequently observe the

·9· · compounding?

10· · A.· · · What's considered frequently?

11· · Q.· · · Well, using your definition.· Do you

12· · regularly observe compounding that's being done there

13· · when you are there?

14· · A.· · · I do, because I take my students, and so we

15· · will go and observe.

16· · Q.· · · And how do you do that?· How do you observe?

17· · Is it like glass and you are, like, looking in where

18· · it's being done?

19· · A.· · · It depends.· For example, once my students

20· · are gown certified, we go in to observe.

21· · Q.· · · Right.

22· · A.· · · Like before they get gown certified -- as in,

23· · I have my students starting very recently.· And so

24· · they will be gown certified on Monday, so we'll all

25· · go and then we'll go in.· So once they are gown



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·1· · certified, they will be able to go in.

·2· · · · · · · · So maybe the first week of the month --

·3· · before they get gown certified, we can't go in.· So I

·4· · might just show them -- like, I show them through the

·5· · glass what happens, but we will go and do an

·6· · in-person once they are able to.

·7· · Q.· · · When was the last time you did any sterile

·8· · compounding?

·9· · A.· · · When was the last time I did sterile

10· · compounding, as in I compounded?

11· · Q.· · · Uh-huh.

12· · A.· · · That would be -- are you asking about now or

13· · any?

14· · Q.· · · Any.

15· · A.· · · I would say when I was teaching and I was

16· · still in the hospital, is when I did it.· So that

17· · would be 20- -- whenever I was a hospital employee,

18· · so I would say sometime in 2017-2018.· I do not

19· · remember exactly when, but it would be back then.

20· · When I was teaching the lab, I prepared a number of

21· · sterile compounds on a daily and weekly basis.

22· · · · · · · · I would work in the hospital and I would

23· · come and demonstrate for students, I would prepare

24· · compounds, a great number of compounds, and even very

25· · complex ones.



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·1· · · · · · · · As in, when I was teaching sterile

·2· · compounding, we would make a TPN, total parenteral

·3· · nutrition product -- I'm sorry, when I was

·4· · compounding with my students and they were preparing

·5· · things like TPN, total parenteral nutrition, those

·6· · are extremely complex preparations, and I would -- I

·7· · would prepare those.

·8· · · · · · · · I prepared hazardous drug compounds using

·9· · closed system transfer devices.· The CSTDs, that's a

10· · relatively complex procedure.· So I would say, while

11· · I was teaching the lab, I was compounding.

12· · · · · · · · Now as an outsourcing pharmacist, I don't

13· · compound directly.· And that's because in the

14· · outsourcing environment, per CGMP, I would have to do

15· · a special certification, and so I don't do that.

16· · · · · · · · Plus, the way that we compound at

17· · Nephron, it's really large scale, so it's really not

18· · so much hands-on manipulation.· You know, we call it

19· · compounding, but really it comes down to really

20· · mixing and preparing the drugs.

21· · · · · · · · And those are done on a large scale as

22· · in, you know, you have bigger bags and you have --

23· · you know, you add -- you weigh out APIs and you add

24· · the powders in, and so it's done on a different scale

25· · now.



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·1· · · · · · · · So I observe these.· I help with

·2· · providing feedback on those, but I don't practice.                  I

·3· · am not compounding with my hands, formulating it.

·4· · Q.· · · I understand.· You help people -- you help

·5· · Nephron and its employees comply with the regulatory

·6· · requirements, USP and CGMP, and others?

·7· · A.· · · Yes.

·8· · Q.· · · And when you said a bunch of stuff about,

·9· · when you were in the lab, about compounding you did.

10· · When you talked about compounding with the students,

11· · are you talking about at the school?

12· · A.· · · Yes.· So you have --

13· · Q.· · · What happens to those compounds?· What are

14· · they used for?

15· · A.· · · So these are not used.· They are prepared

16· · exactly as a normal compound would be, because the

17· · lab that we have at the college, it is perfectly ISO

18· · Class 5, ISO Class 7 compliant.

19· · · · · · · · So our facilities at the college, I

20· · really take pride in that because that's really

21· · something very unique about our College of Pharmacy.

22· · We have sterile compounding facilities that are up to

23· · all of the regulations.· Simply, you could use the

24· · products that we make in patients.· They are

25· · sterile --



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·1· · Q.· · · So what do you do with them?

·2· · A.· · · So we don't use them.· They are really

·3· · strictly just to -- you know, we compound them and

·4· · then we dispose of them.

·5· · Q.· · · And after you compound them, do you do

·6· · anything with them?

·7· · · · · · · · MS. LEONARD:· Object to the form.

·8· · · · · · · · THE WITNESS:· What would we do with them?

·9· · I'm not sure I understand.

10· · BY MR. SUTHERLAND:

11· · Q.· · · Do you send them off for testing or do

12· · you-all test them in the school?

13· · A.· · · Oh, good question.· So, yes, in some -- yes,

14· · depending on what product we make, we do have

15· · exercises where we actually test the accuracy of the

16· · preparation.· So, yes, there are times when we do

17· · test them.

18· · Q.· · · Do you always do potency and sterility tests

19· · on the preparations that you do in the school?

20· · A.· · · Not necessarily, because there is no need for

21· · that.· These are not going to be used.· I mean, if it

22· · was used in a patient, in a person, that would be

23· · different.

24· · Q.· · · Okay.· Let me ask you this.· Do you have any

25· · recognized specialty in your profession?



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·1· · A.· · · I'm not sure I understand what you are

·2· · asking.

·3· · Q.· · · Do you have any recognized specialty as a

·4· · pharmacist?

·5· · A.· · · You mean if I'm board certified?

·6· · Q.· · · Well, doctors have specialties, I'm just

·7· · asking you if you have any particular specialty in

·8· · the practice of pharmacy.

·9· · A.· · · I would say sterile compounding.

10· · Q.· · · Okay.· And who recognizes that as a specialty

11· · that you have?

12· · · · · · · · Is there a certification or from an

13· · organization that would recognize you as having a

14· · specialty in -- I'm sorry, as having a specialty in

15· · compounding?

16· · A.· · · So there is -- recently there was an approval

17· · for the board certification in sterile compounding,

18· · and I'm working on that, but I have not had time yet

19· · to take the exam.

20· · · · · · · · So I will be pursuing that, as well as

21· · I'm pursuing a RAC certification, which is like a

22· · Regulatory Affairs certificate, as well.

23· · Q.· · · Let me ask you this.· Can you identify for me

24· · the sources of your knowledge in the area of

25· · compounding, sterile compounding?



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·1· · · · · · · · Where does your knowledge of sterile

·2· · compounding come from?

·3· · A.· · · So I have practiced -- you know, when I was a

·4· · student intern at Lexington Medical Center, I

·5· · performed a lot of sterile compounding.

·6· · · · · · · · I have performed sterile compounding

·7· · while teaching the courses, the lab courses.                I

·8· · worked in a hospital where I performed sterile

·9· · compounding.

10· · · · · · · · I have done a lot of research on sterile

11· · compounding.· I have taken certification, not --

12· · these are courses, not -- continuing education.

13· · That's what I meant to say.· Continuing education

14· · courses that deal with sterile compounding.

15· · · · · · · · I went to the critical point training in

16· · Colorado that offers like a three-day or five-day,

17· · whatever, boot camp in sterile compounding, so I have

18· · done that.· So that has been my primary focus in my

19· · practice.

20· · Q.· · · In terms of actually doing sterile

21· · compounding, would you say your experience as a

22· · student intern and then your work at the Palmetto

23· · Health Richland Hospital Pharmacy is the primary sort

24· · of actual sterile compounding experience you have

25· · had?



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·1· · A.· · · That as well as teaching.· I mean, I prepare

·2· · sterile compounds with my students in the lab.· And,

·3· · you know, we do those, we use real medications in the

·4· · lab course.· We use all of the -- you know, we follow

·5· · all of the procedures as you would, you know, in the

·6· · real world.

·7· · Q.· · · But you don't use those on patients, though,

·8· · right?

·9· · A.· · · Right, but that doesn't matter.· They are

10· · still prepared that they could be used.· They are

11· · prepared according to all of the regulations.

12· · Q.· · · What would they have to be -- what would have

13· · to be done to them before they could be used on a

14· · patient?

15· · A.· · · Nothing.· I mean, they are --

16· · Q.· · · Somebody have to -- would somebody have to,

17· · like, test them to make sure that they were -- that

18· · they met all of the USP requirements in terms of

19· · potency and sterility and all of that?

20· · A.· · · Well, it depends.· It depends on how are they

21· · going to be dispensed and where are they going to be

22· · dispensed to and all of that.

23· · Q.· · · You listed in your report that you have

24· · worked as an expert in -- in the last four years you

25· · have provided testimony at trial or by deposition in



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·1· · three cases; is that correct?

·2· · A.· · · I'll have to double-check.· That sounds

·3· · right.

·4· · · · · · · · MR. SUTHERLAND:· Rob, can you pull up

·5· · Exhibit 2, the top of page 2?

·6· · · · · · · · THE WITNESS:· Yes, I see them.

·7· · BY MR. SUTHERLAND:

·8· · Q.· · · In the matter of the Federal Bureau of

·9· · Prisons' execution protocol, Swearingen versus Davis

10· · and Pizzuto versus Tewalt, a case in Texas and one in

11· · Idaho, are those the only three cases that you have

12· · provided testimony in in the last four years?

13· · A.· · · I believe so.· So the first one there was

14· · a -- I think there was just one testimony.· Looking

15· · at this, I think I consulted with the attorneys and I

16· · provided them all of the information, and this is

17· · what they summarized.

18· · · · · · · · THE WITNESS:· Is that right, Lynne?

19· · · · · · · · I know I provided a list of the cases.

20· · In that first one, I think there were a couple

21· · different expert opinions, if -- I believe that I

22· · did, but they summarized them as one because it was

23· · the same case.

24· · · · · · · · MS. LEONARD:· Yes.· I'll interject.                 I

25· · think that some of the issue here might be clarifying



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·1· · testimony versus expert report.

·2· · · · · · · · MR. SUTHERLAND:· I understand.

·3· · · · · · · · MS. LEONARD:· Which we all should have

·4· · done, and that's our mistake on the lawyers' end.

·5· · But for purposes of the questioning, I think there

·6· · might be a little confusion there.

·7· · · · · · · · MR. SUTHERLAND:· I got you.

·8· · BY MR. SUTHERLAND:

·9· · Q.· · · Dr. Almgren, have you provided an expert

10· · opinion in the form of expert reports in any other

11· · cases in the last three years?

12· · A.· · · I think this is what -- like I said, I think

13· · the first one.· There may have been a couple, but it

14· · was under the same umbrella, so --

15· · Q.· · · I understand.

16· · A.· · · Yes.· So that's all, I believe.

17· · Q.· · · All right.· And all of those cases involve

18· · the lethal injection protocol litigation; is that

19· · right?

20· · A.· · · Correct.

21· · Q.· · · And your consultation in all of those cases

22· · has been with attorneys for the inmate; is that

23· · right?

24· · A.· · · Yes.

25· · Q.· · · Have you ever consulted with the state in



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·1· · regard to any lethal injection protocol?

·2· · A.· · · No.

·3· · Q.· · · Other than this case, have you ever consulted

·4· · with any state or with any -- I'm sorry, with any

·5· · attorneys involving a protocol other than

·6· · pentobarbital?

·7· · A.· · · No, it has been so far pentobarbital.

·8· · Q.· · · So this is the only case that you have

·9· · consulted with any attorneys involving a protocol

10· · using the three drugs that we are talking about?

11· · A.· · · Correct.

12· · · · · · · · MR. SUTHERLAND:· Okay.· So, Lynne, I'm

13· · about ready to move into the substance of the report.

14· · Do you want to break?· Do a short break for lunch

15· · now -- I know it's 12:45 for you guys -- before I get

16· · into some pretty substantive matters.· I'm glad to do

17· · it either way.· I don't eat lunch.

18· · · · · · · · MS. LEONARD:· I don't care.

19· · · · · · · · Dr. Almgren, is this a good time for you

20· · to take a lunch break?

21· · · · · · · · THE WITNESS:· I guess the question is how

22· · much more time are we going to need?· Are we going to

23· · go for an hour or is it going to be another four

24· · hours?

25· · · · · · · · MR. SUTHERLAND:· It's going to be a



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·1· · while.

·2· · · · · · · · THE WITNESS:· Okay.· So then I guess it's

·3· · probably better if we do take a break so I can

·4· · freshen up.

·5· · · · · · · · MR. SUTHERLAND:· What would be good for

·6· · you?· How long would you like?

·7· · · · · · · · MS. LEONARD:· Let's see here, so it's

·8· · about 12:45.

·9· · · · · · · · MR. SUTHERLAND:· About 1:30?

10· · · · · · · · THE WITNESS:· Yeah, that's perfect.

11· · · · · · · · MR. SUTHERLAND:· Is that okay, Lynne?

12· · · · · · · · MS. LEONARD:· That's fine with me.

13· · · · · · · · MR. SUTHERLAND:· 1:30 Eastern time, 12:30

14· · Central.· Is that okay with everybody else?· Is there

15· · anybody else that needs more time than that that's on

16· · here?

17· · · · · · · · I'm specifically going to ask Rob

18· · Mitchell, because he's always hungry.· Is 45 minutes

19· · long enough for you, Rob?

20· · · · · · · · MR. MITCHELL:· I'm punching the Jimmy

21· · John's app as we speak.

22· · · · · · · · MR. SUTHERLAND:· Let's plan to be back at

23· · 12:30 Central, 1:30 Eastern.

24· · · · · · · · MS. LEONARD:· Okay.

25· · · · · · · · (Lunch break.)



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·1· · BY MR. SUTHERLAND:

·2· · Q.· · · Dr. Almgren, thanks for coming back.· We

·3· · didn't scare you away yet?

·4· · A.· · · No, it's fine.

·5· · Q.· · · When we took the break earlier, did you talk

·6· · to anybody?

·7· · A.· · · No.

·8· · Q.· · · Nobody communicated with you about the case?

·9· · A.· · · No, no.

10· · Q.· · · Okay.· When were you -- can you tell me when

11· · you were retained to provide expert opinion in the

12· · case?

13· · A.· · · When as in what date was I retained?

14· · Q.· · · I'm not asking you for the specific day, but

15· · just generally.· Can you tell me approximately when

16· · it was?· Or if you know the date, you can tell me.

17· · A.· · · I do not know, I would have to look back.                  I

18· · have a very busy schedule and a lot of things

19· · happening in my schedule.· I would have to look back

20· · and see when I signed the contract.

21· · Q.· · · Was it in 2021?

22· · A.· · · Yes, I think so.

23· · Q.· · · Last year?

24· · A.· · · Yes.

25· · Q.· · · Was it in the spring, summer, fall?



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·1· · A.· · · Honestly, I can't even guess, because I don't

·2· · remember.

·3· · Q.· · · Okay.· Was it definitely last year, though?

·4· · A.· · · Oh, boy, I'll have to -- I can look at the

·5· · contract and tell you the exact date.· Honestly, I do

·6· · not recall.

·7· · Q.· · · All right.· And who contacted you about the

·8· · case, about providing expert help in the case?

·9· · A.· · · I also do not remember.· Again, I don't

10· · remember a date.· I'm not sure.· I can look at my

11· · email and determine that.

12· · · · · · · · MR. SUTHERLAND:· Rob, could you pull up

13· · Exhibit 3 -- I'm sorry, Exhibit 2.· That would be

14· · Dr. Almgren's initial report from November.· And if

15· · you could go to page 2, Materials Relied Upon.

16· · BY MR. SUTHERLAND:

17· · Q.· · · Dr. Almgren, under numerical paragraph 5, do

18· · you see that there on page 2?

19· · A.· · · Yes.

20· · Q.· · · You say, "The attorneys who represent

21· · death-sentenced prisoner Terry Lynn King asked me to

22· · submit an expert medical and scientific opinion based

23· · on the documentation provided to me about whether the

24· · use of the three-drug protocol, and in particular

25· · compounded medications, can cause a risk of harm and



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·1· · unnecessary suffering."· Do you see that?

·2· · A.· · · Yes.

·3· · Q.· · · Is that the question you were asked to

·4· · answer?

·5· · A.· · · Yes.

·6· · Q.· · · Whether the three-drug protocol, and in

·7· · particular compounded medications, can cause a risk

·8· · of harm and unnecessary suffering?

·9· · A.· · · That's correct.

10· · Q.· · · And were there any other questions other than

11· · that one question that you were asked to answer?

12· · A.· · · Not that I know of.

13· · Q.· · · Okay.· And when you say the three-drug

14· · protocol, you are talking about Tennessee's

15· · three-drug protocol?

16· · A.· · · Yes.

17· · Q.· · · I want to start and talk to you about your

18· · initial report, to start with.· And starting at

19· · page 3, "Standards governing."· It's actually Roman

20· · Numeral III on page 3.

21· · · · · · · · "Standards governing the preparation of

22· · compounded medications and medication storage and

23· · handling."· Do you see that?

24· · A.· · · Let me see here.· Yes.

25· · Q.· · · Okay.



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·1· · A.· · · I pulled it up on my screen as well.

·2· · Q.· · · Sure.· So just make sure that when you are

·3· · talking about -- when I'm talking about your report,

·4· · I'm talking about what's on my screen; just make sure

·5· · that we are talking about what's on my screen as

·6· · well, okay?

·7· · A.· · · Yes.

·8· · Q.· · · It should be the same, but I just want to

·9· · make sure I'm asking you questions about what's on my

10· · screen, not what's on yours.

11· · A.· · · Okay.

12· · · · · · · · MS. LEONARD:· Just for the record, they

13· · should be the same, right?

14· · · · · · · · MR. SUTHERLAND:· Yeah, they should be the

15· · same.

16· · · · · · · · MS. LEONARD:· Yeah.

17· · · · · · · · MR. SUTHERLAND:· For the testimony -- the

18· · record should be clear that I'm asking questions

19· · about this.· If she sees that there's a difference

20· · than what's on the screen, she can let me know.

21· · · · · · · · I'm representing, Dr. Almgren, that this

22· · is a copy of the report that was provided to me as

23· · your report.· And so when you -- as I understand it,

24· · you looked through it earlier and this report

25· · matches -- is your report.· So I just want to make



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·1· · sure that we are talking about the same one, okay?

·2· · · · · · · · MS. LEONARD:· Yeah.· I think,

·3· · Dr. Almgren, did you pull up the report that was

·4· · emailed to you?

·5· · · · · · · · THE WITNESS:· Yes, I did.

·6· · · · · · · · MS. LEONARD:· When you say that you are

·7· · looking at the report, that's what you are talking

·8· · about, is the one that came out of the email?

·9· · · · · · · · THE WITNESS:· Yes, that's correct.

10· · · · · · · · MS. LEONARD:· Scott, there shouldn't be

11· · any differences between what you are looking at and

12· · looking at the email.

13· · · · · · · · MR. SUTHERLAND:· Yeah.

14· · · · · · · · MS. LEONARD:· Just so we have that all

15· · clear.

16· · BY MR. SUTHERLAND:

17· · Q.· · · So, Dr. Almgren, let me start with this and

18· · ask you.· What is the United States Pharmacopeia?

19· · A.· · · USP itself; so that's kind of a big question,

20· · because it's really a set of guidance or guidelines

21· · that range from anywhere about, you know, talking

22· · about drug quality, to certain procedures, quality

23· · measures.· You know, it has a list of procedures that

24· · you are to follow, you know, when you perform quality

25· · analyses.



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·1· · · · · · · · It has a list of monographs that

·2· · basically, you know, delineate the quality standards

·3· · for different drugs.· So, you know, it's a really big

·4· · question.· When you say:· What is USP, that's kind of

·5· · like me asking you what is U.S. law.

·6· · · · · · · · You know, it's a collection of many

·7· · different things, and that's what USP is.

·8· · Q.· · · Tell me if you'd agree with this:               A

·9· · compendium of quality requirements, quality

10· · specifications, practices and guidelines to achieve

11· · the highest pharmaceutical quality for pharmacy

12· · practice as well as the pharmaceutical industry.· Is

13· · that a fair definition?

14· · A.· · · A fair definition, yes.

15· · Q.· · · Okay.· I'd next like to ask you, what is

16· · USP 797?

17· · A.· · · So that is a chapter from the compendium.· So

18· · the compendium has a number of chapters.· And the

19· · chapters zero to 1,000 are required, you must follow

20· · those.· The ones above 1,000 are guidelines.

21· · · · · · · · And a lot of times they are really more

22· · of explanations, like a follow-up, more of an

23· · explanation for what the chapters stand for.

24· · · · · · · · So the Chapter 797 is a requirement, you

25· · have to follow that one because it's below 1000.· And



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·1· · that chapter basically describes what are the

·2· · appropriate practices for sterile compounding.

·3· · · · · · · · MR. SUTHERLAND:· Rob, can you put up

·4· · Exhibit 5?· We'll go ahead and send that to

·5· · Ms. Leonard and Dr. Almgren.

·6· · BY MR. SUTHERLAND:

·7· · Q.· · · I think, Dr. Almgren -- well, we'll wait

·8· · until he pulls it up here.· It should be a PDF of

·9· · USP 797.

10· · · · · · · · So Mr. Mitchell has got up there what

11· · purports to be the most recent version of the

12· · USP 797.· And we are sending it to you, and if you

13· · could look at it and tell me if you agree with that.

14· · · · · · · · MS. LEONARD:· It just came through to me,

15· · so I just forwarded it to Dr. Almgren.

16· · BY MR. SUTHERLAND:

17· · Q.· · · Are you familiar with USP 797, Dr. Almgren?

18· · A.· · · I am.

19· · Q.· · · Have you seen this particular version of it?

20· · A.· · · I apologize, the dog.

21· · · · · · · · Yes, I have seen -- I have seen this

22· · version.· This is the most recent one.

23· · Q.· · · Okay.· Did you send a version like this to

24· · your counsel to provide to us?

25· · A.· · · Yes.



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·1· · Q.· · · Okay.· If I told you that this was the

·2· · version, I believe, that they provided to us, do you

·3· · have any reason to disagree with that?

·4· · A.· · · No.

·5· · Q.· · · Okay.· Let me ask you this.· From a

·6· · regulatory standpoint, who is regulated by USP 797?

·7· · A.· · · So this is a good interesting question that

·8· · my students often ask.· So the USP 797, the

·9· · compendium itself is written by experts in a field.

10· · And so those are folks that work in and are very

11· · familiar with that particular -- whatever expertise

12· · is addressed in a specific chapter.

13· · · · · · · · So the USP itself is nongovernmental type

14· · of organization, but the USP itself is -- the

15· · guidelines themselves are enforced by FDA.

16· · Q.· · · All right.· And so they are enforced by FDA.

17· · But who is regulated by the -- I want to know who the

18· · regulated parties that FDA would enforce USP 797

19· · against would be.

20· · · · · · · · Who would those people be?

21· · A.· · · I see.· So, for example, drug industry, you

22· · know, the manufacturers of the drugs, they follow the

23· · USP -- not 797; USP in general.

24· · · · · · · · We are talking about USP, right, not 797?

25· · Are we talking about 797 specifically?



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·1· · Q.· · · I'm talking about 797.

·2· · A.· · · Okay, specifically.· So USP 797, obviously,

·3· · the FDA enforces, requires.· And so these are the

·4· · best practices for the compounding.

·5· · · · · · · · So depending on how -- the different

·6· · boards of pharmacy set up different Pharmacy Practice

·7· · Acts, a lot of the states in the United States have

·8· · accepted USP Chapter 797 as their quality standard.

·9· · Q.· · · Right.

10· · A.· · · So if that happens, then that guideline is

11· · acceptable and it's seen forceable by the Board of

12· · Pharmacy of the state that had accepted this guidance

13· · as their sterile compounding guidance.

14· · Q.· · · Who is --

15· · A.· · · Also a lot --

16· · Q.· · · Let me finish my question.

17· · · · · · · · Who is it enforceable against?

18· · A.· · · The pharmacies that compound according to

19· · 503A.

20· · Q.· · · Okay.· Who else?

21· · A.· · · I mean, that's whoever prepares sterile

22· · preparations.

23· · Q.· · · So USP 797 is enforceable against the

24· · pharmacy that prepares it?

25· · A.· · · Right.



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·1· · Q.· · · Is there anybody else that it's enforceable

·2· · against?

·3· · A.· · · I'm not sure I understand the question.· As

·4· · in public?· I don't know who you are asking.

·5· · Q.· · · I'm asking you if this applies -- USP 797

·6· · practices are enforceable by the FDA.· Who does the

·7· · FDA enforce it against?· And you just said

·8· · pharmacies, compounding pharmacies.

·9· · · · · · · · Is there anyone else?

10· · A.· · · So, as I said, if the Board of Pharmacy in a

11· · state accepts USP Chapter 797 as a part of their

12· · Pharmacy Practice Act.

13· · Q.· · · Yes.

14· · A.· · · And the Board of Pharmacy will enforce, but,

15· · again, it's the pharmacies, and it can be a

16· · compounding pharmacy.· It can be a hospital pharmacy.

17· · All of these pharmacies will have to follow the USP

18· · Chapter 797.

19· · · · · · · · As a matter of fact, even in the states

20· · where 797 is not accepted as a standard, which there

21· · are just a very few states at this point left that

22· · have not accepted 797 in its entirety, what happens

23· · in those states, typically the pharmacies will accept

24· · the 797 as standards, because the Center for Medicare

25· · and Medicaid Services requires that accreditation



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·1· · bodies audit pharmacies.· And the pharmacies must

·2· · follow 797 in order to get the accreditation in order

·3· · to get reimbursement from CMS.

·4· · Q.· · · I understand.· Once it leaves the compounding

·5· · pharmacy, does 797 apply to anyone else?

·6· · A.· · · Well, yes, because you need to make sure

·7· · that, when the drug is handled, that whether it is a

·8· · nurse that, maybe, applies the medication, or maybe a

·9· · doctor, whoever handles the medicine, the medication

10· · should be continued to be handled according to 797.

11· · Q.· · · I understand it should be handled.

12· · · · · · · · My question is, is it -- does the FDA

13· · regulate 797 against anyone once it leaves the

14· · compounding pharmacist?

15· · A.· · · I'm not sure I quite follow your line of

16· · question.

17· · Q.· · · Okay.· So --

18· · A.· · · How would FDA -- just, yeah, explain that a

19· · little more.· I'm sorry.

20· · Q.· · · Okay.· Well, if a compounded medication is

21· · given to a nurse to administer, is the FDA going to

22· · regulate how the nurse administers 797, or how the

23· · nurse administers the compounded medication?

24· · A.· · · So, technically, yes.· If you look and you

25· · would like to reference the chapter, we can look at



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·1· · the chapter itself and I can reference, the chapter

·2· · covers all of the -- not just the preparation, but

·3· · also handling.

·4· · · · · · · · And so technically -- to give you an

·5· · example, to really explain in the real world what

·6· · happens, so let's say in a hospital, if we have an

·7· · audit and we need to show that we follow 797, if I

·8· · prepare sterile compounded medication and I send it

·9· · to the floor, the folks who are performing the audit

10· · will actually follow the records and follow -- if

11· · it's happening in the real time where I just

12· · compounded, it would actually follow the medication

13· · to see that it is applied according -- or they have

14· · an option to -- I'm not saying that they necessarily

15· · would -- but an option to go to the floor and see how

16· · it is applied to complete the audit.

17· · Q.· · · So does the FDA cite -- are you aware of the

18· · FDA citing healthcare professionals who actually

19· · administer sterile compounds for not following 797?

20· · A.· · · I am not aware.· But the audits -- so

21· · whenever there's an audit, the auditors in the past

22· · have cited healthcare facilities for improper

23· · handling of sterile compounds, not the FDA itself.

24· · · · · · · · If that's your question, then not the

25· · FDA, but the other regulatory bodies that would make



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·1· · sure that the USP Chapter 797 is followed in a

·2· · facility.

·3· · Q.· · · Who else -- who else would -- you say

·4· · auditors.· You are not talking -- you said that

·5· · wouldn't be the FDA?

·6· · A.· · · So, no, that doesn't necessarily have to be

·7· · the FDA.· It can be an accreditation body that comes

·8· · to accredit on behalf of CMS.

·9· · Q.· · · Okay.· What about common carriers, can they

10· · be regulated?· Are they regulated by the FDA for 797

11· · requirements?

12· · A.· · · So there are, I know -- I'm trying to

13· · remember what the exact guidance is.· And, honestly,

14· · I can't answer this with 100 percent certainty, so I

15· · do not know.

16· · Q.· · · What about patients, do compounding

17· · pharmacies once a -- let's say in a 503A pharmacy, a

18· · patient has a prescription and picks up their

19· · prescription and it's, say, a high-risk sterile

20· · compound.· Does the FDA regulate the patient's use of

21· · the compound?

22· · A.· · · So this is a little bit ambiguous, because I

23· · don't have enough details to really answer,

24· · because -- technically, no.

25· · · · · · · · I mean, you don't -- the FDA is not going



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·1· · to come knocking on your door to see what you are

·2· · doing with your compound.

·3· · · · · · · · But then why would you have aseptically

·4· · prepared medication given to the patient, like, what,

·5· · are they administering it themselves at home?

·6· · Q.· · · Sure.

·7· · A.· · · I guess I can't quite --

·8· · Q.· · · Yes.

·9· · A.· · · I'm trying to understand the question.

10· · Q.· · · Do compounding pharmacists dispense high-risk

11· · sterile compounds to patients that store, for

12· · example, refrigerated products for

13· · self-administration?

14· · A.· · · I mean, that can happen, yes.· You can

15· · definitely, you know, have patients who have

16· · medication at home that they give themselves,

17· · sterile, yes.

18· · Q.· · · How does -- how does the compounding pharmacy

19· · know or the FDA know whether or not the requirements

20· · of the USP 797 are followed once it leaves the

21· · pharmacy?

22· · A.· · · So you provide the storage conditions for the

23· · patient.· So if I work in, let's say, a home-infusion

24· · pharmacy and I prepare all total parenteral nutrition

25· · product that I dispense to a patient, I will provide



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·1· · under the Storage Conditions:· You must refrigerate

·2· · this, keep it in a temperature span between this and

·3· · this.

·4· · · · · · · · If it gets outside of the temperature,

·5· · please do not use the product, because we cannot

·6· · guarantee that the product will be pharmaceutically

·7· · active, that it will be, you know, working as it's

·8· · supposed to.

·9· · Q.· · · So back to my question about who is

10· · regulated.· Is USP 797 -- can the FDA cite anyone

11· · that's a non-healthcare professional for not

12· · following USP 797?

13· · A.· · · Would that include like -- like patients?

14· · Q.· · · Any non-healthcare outside the healthcare

15· · setting, outside of a hospital, outside of --

16· · A.· · · No.· I don't think FDA -- if you are asking

17· · me if FDA would cite them, I don't think FDA would.

18· · Q.· · · It doesn't apply; does it?

19· · A.· · · Right.

20· · Q.· · · In other words, people outside the

21· · healthcare setting in which compounded preparations

22· · are being administered aren't covered by USP 797?

23· · A.· · · Well, the medications are covered by 797.

24· · Q.· · · Sure.

25· · A.· · · You know, you need to follow the guidance in



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·1· · order to maintain integrity of the product.

·2· · Q.· · · I understand.

·3· · A.· · · So, yes, they need to handle it according to

·4· · 797.· But a person that, you know, handles the

·5· · medication, you are not going to have the FDA come

·6· · knock on your door to enforce the chapter, if that's

·7· · what you are asking.

·8· · Q.· · · Right.· And the reason for that is that 797

·9· · applies to -- the objective of 797 is to prevent --

10· · excuse me -- harm to patients in a clinical setting;

11· · isn't that right?

12· · A.· · · So the chapter in general applies, I believe,

13· · to anybody who handles the medication, you know, to

14· · give it to the patient.

15· · Q.· · · At the top where it says Introduction, it

16· · says, "The objective of this chapter is to describe

17· · conditions and practices to prevent harm, including

18· · death, to patients that could result from" the

19· · following.

20· · · · · · · · It applies to the healthcare setting to

21· · prevent harm to patients; does it not?

22· · A.· · · Right.

23· · Q.· · · Okay.· Does it apply in the lethal injection

24· · setting?

25· · A.· · · Absolutely.



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·1· · Q.· · · Are non-healthcare people in corrections

·2· · covered by USP 797?

·3· · A.· · · They are handling a sterile preparation.

·4· · Q.· · · I'm asking you if USP 797 covers that.

·5· · A.· · · I think that's a trick question, because they

·6· · should be healthcare professionals that handle

·7· · medication.

·8· · · · · · · · You would not have your pool guy give you

·9· · an IV, so a person who handles the medications should

10· · be a healthcare professional.

11· · Q.· · · No.· My question is, the purpose -- the

12· · objective of USP 797 -- you correct me if I'm

13· · wrong -- is to protect patients in a clinical

14· · setting; would you agree with that?

15· · A.· · · I would say it's to protect patients.· I'm

16· · not -- the clinical setting, it's a wide definition,

17· · because you can be at home receiving an infusion,

18· · which by some definition may not be considered a

19· · clinical setting because you can say it's my living

20· · room, but if I'm receiving an IV at home, something

21· · like a total parenteral nutrition product, you know,

22· · it's still a procedure, medical procedure.

23· · Q.· · · Yeah.· Actually, let me read the words at the

24· · top, the first sentence.· "The objective of this

25· · chapter is to describe conditions and practices to



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·1· · prevent harm, including death, to patients."

·2· · A.· · · Uh-huh.

·3· · Q.· · · So it's designed to protect patients from

·4· · harm and death, right?

·5· · · · · · · · MS. LEONARD:· Objection, asked and

·6· · answered.

·7· · BY MR. SUTHERLAND:

·8· · Q.· · · You can answer the question.

·9· · A.· · · I mean, yes.· That's what it states.

10· · Q.· · · Okay.· Let me ask you this.· How does

11· · enforcement of USP 797 work?

12· · · · · · · · MS. LEONARD:· Objection.

13· · BY MR. SUTHERLAND:

14· · Q.· · · In your experience, how does the FDA enforce

15· · USP 797, or state pharmacy officials?

16· · A.· · · Typically, they perform audits.· That's how

17· · it's enforced.

18· · Q.· · · Who do they audit?

19· · A.· · · They audit, typically, the pharmacy or

20· · healthcare setting where the medications are used,

21· · compounded.

22· · Q.· · · And if they don't -- if the pharmacy or the

23· · healthcare setting in which they are used doesn't

24· · follow them, what happens, or if they are inspected

25· · and there's an inspection and they find issues, what



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·1· · happens?

·2· · A.· · · So it really depends on the severity of the

·3· · issues, because if it's something minor, you know,

·4· · then you would just get cited and you need to make

·5· · corrections.· You may have to pay fines if it's

·6· · something more serious.

·7· · · · · · · · And if it's something extremely serious,

·8· · then they can shut you down.· They can close the

·9· · pharmacy.

10· · Q.· · · How does a regulated party get cited?

11· · A.· · · So basically they will write you a citation

12· · as in:· This is -- we audited your facility.· And

13· · these are the discrepancies that we found, and you

14· · get a citation.· You know, it will list what are the

15· · issues that they had come across.

16· · · · · · · · And, as I said, depending on severity, it

17· · might be a fine, may be more serious.

18· · Q.· · · Is that also called a Form 483?

19· · A.· · · So 483 is really for the manufacturer and for

20· · 503B pharmacies; that's where you really see it the

21· · most.· But, yes, 483 is a type of a report.

22· · Q.· · · All right.· Is there a certain citation that

23· · is used for 503A?

24· · A.· · · So a lot of times the Board of Pharmacy will

25· · have their own forms that they use.· Again, it



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·1· · depends on the severity.· It depends on, you know,

·2· · what type of violation is going on.· But, typically,

·3· · they will have their own forms that they complete.

·4· · Q.· · · I want to refer you to --

·5· · · · · · · · MR. SUTHERLAND:· Rob, I want to go back

·6· · to Exhibit 2, page 4, numerical paragraph 11.

·7· · BY MR. SUTHERLAND:

·8· · Q.· · · Dr. Almgren, you say that:· Compounding

·9· · pharmacists should be familiar with USP 797

10· · guidelines in order to prepare safe and effective

11· · sterile compounded products.· If USP 797 guidance is

12· · not followed, it can lead to medication

13· · contamination, which will cause patient harm and

14· · unpredictable effects.· Is that right?

15· · A.· · · Yes.

16· · Q.· · · And I guess my question to you is, don't

17· · you -- you say a compounding pharmacist should be

18· · familiar, but how would you become a compounding

19· · pharmacist without being familiar with USP 797?

20· · A.· · · It depends on your training.· You know,

21· · USP 797 has not been around forever.· There are

22· · pharmacists that I work with that have not read USP

23· · Chapter 797 because, at the time when they graduated,

24· · USP was not around.· And so, you know, the chapter

25· · was not a requirement of their education.



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·1· · · · · · · · Also, the schools of pharmacy in general,

·2· · you know, have different levels of emphasis on

·3· · sterile compounding.· There are some programs that

·4· · emphasize sterile compounding.· There are others who

·5· · really don't, and you just get kind of a

·6· · surface-level look.· So it really depends.

·7· · · · · · · · You know, there are pharmacists who, for

·8· · example, in retail, who maybe compound very

·9· · occasionally sterile preparations.· They mostly

10· · dispense.

11· · · · · · · · So it really depends on your level of

12· · training and expertise and when you graduated, how

13· · much of the continuing education you have done in

14· · this realm.· So there are a lot of factors.· Not

15· · everybody is expert or even familiar with 797,

16· · really.

17· · Q.· · · So if you are applying for a license to

18· · compound, say, in the state of Tennessee in the last

19· · five years, which in Tennessee requires USP -- has

20· · adopted USP requirements, wouldn't you have to

21· · demonstrate some degree of competency in order to get

22· · licensed to compound?

23· · A.· · · You don't necessarily have to.· I know I

24· · practiced in South Carolina, and in South Carolina

25· · there are really no specific requirements.



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·1· · · · · · · · You apply for, you know, a permit for a

·2· · compounding pharmacy, and you show -- the key here is

·3· · to show you have the equipment that's needed.· But in

·4· · terms of specific training, a lot of states do not

·5· · have the specific requirements.

·6· · · · · · · · The state of Massachusetts does after the

·7· · New England Compounding Center issues.· But there are

·8· · still a lot of states that do not have specific

·9· · requirements that, you know, require pharmacists who

10· · are compounding to have any special training.

11· · Q.· · · In your experience, the pharmacists that you

12· · have dealt with at Rite Aid or in the Richland

13· · Hospital, are those pharmacists -- were those

14· · pharmacists familiar with USP 797?

15· · A.· · · The experience varied greatly.· So there are

16· · some who have experience, and there are some who have

17· · not.

18· · · · · · · · As a matter of fact, I teach continuing

19· · education courses, so I actually teach sterile

20· · compounding to other pharmacists.· And typically the

21· · pharmacists that come to take the continuing

22· · education courses have very little, if any, exposure

23· · to 797.

24· · Q.· · · You say it will cause patient harm.· If USP

25· · Chapter 797 guidance is not followed, it can lead to



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·1· · medication contamination that will cause patient

·2· · harm.· It's actually "may cause harm"; is it not?

·3· · · · · · · · Not every failure to follow USP 797

·4· · results in harm to a patient; does it?· Or a person,

·5· · I should say.

·6· · A.· · · Yeah.· I guess if you want to discuss whether

·7· · will or could or can are important, then I guess you

·8· · could say that maybe there could be a different verb

·9· · used.

10· · · · · · · · But, in general, it would be very

11· · concerning to have medication that's not compounded

12· · according to 797 to be applied.· I wouldn't want that

13· · personally.

14· · Q.· · · My question to you is, just everything that

15· · doesn't -- every technical deficiency in following

16· · USP 797 does not result in harm to people?

17· · · · · · · · Are you saying that every time you don't

18· · follow everything in USP 797, it results in harm to a

19· · person?

20· · A.· · · No.· No.

21· · Q.· · · Okay.

22· · A.· · · What I was saying -- I think you are

23· · misunderstanding the sentence, because the sentence

24· · says:· If USP Chapter 797 guidance is not followed,

25· · it can lead to medication contamination, which will



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·1· · cause patient harm and unpredictable drug effects.

·2· · · · · · · · So I think you are taking this out of

·3· · context, because I'm not saying that every

·4· · contamination will cause, but it can lead to

·5· · contamination and the contamination will cause.

·6· · · · · · · · I mean, if you have a contaminated drug,

·7· · there's a very good chance that there will be some

·8· · type of an issue.

·9· · Q.· · · So let's go back.· Does every technical

10· · deficiency in following USP 797 result in harm to

11· · persons?

12· · A.· · · It may.

13· · · · · · · · MS. LEONARD:· Asked and answered.

14· · · · · · · · THE WITNESS:· I don't have statistical

15· · data to state clearly.· My assumption is I don't

16· · know.

17· · BY MR. SUTHERLAND:

18· · Q.· · · Well, are you saying that every technical --

19· · every technical requirement of USP that is not

20· · followed in 797 may result in harm to a person?

21· · A.· · · So what I'm saying is it really depends on

22· · the technical deficiency.

23· · Q.· · · That's what I'm asking you, all of them.

24· · · · · · · · If you don't follow everything in USP 797

25· · to the law -- to the letter, will that always result



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·1· · in patients or persons being harmed?

·2· · · · · · · · MS. LEONARD:· Same objection.

·3· · BY MR. SUTHERLAND:

·4· · Q.· · · You can answer.

·5· · A.· · · There is a good potential, but I can't -- I

·6· · don't know.

·7· · Q.· · · It would depend on the issue and the

·8· · circumstances, wouldn't it?

·9· · A.· · · Exactly.

10· · Q.· · · For example, in the lethal injection context,

11· · the object of administering compounded drugs in this

12· · case is death.

13· · · · · · · · So depending on the specific issues

14· · involved, it could result in no issue at all?

15· · · · · · · · MS. LEONARD:· Is that a question?

16· · · · · · · · MR. SUTHERLAND:· It is a question.

17· · · · · · · · THE WITNESS:· What's the question?

18· · BY MR. SUTHERLAND:

19· · Q.· · · I'll give it more -- I'll give it more

20· · specific context here.

21· · · · · · · · How long would it take for a contaminated

22· · drug to cause harm to a patient?· How long would you

23· · need?

24· · A.· · · I don't understand the question.· It depends

25· · on the drug.· It depends on contamination.



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·1· · Q.· · · Let's say potassium chloride.· Are you

·2· · familiar with potassium chloride?

·3· · A.· · · Yes.

·4· · Q.· · · Okay.· If potassium chloride was

·5· · contaminated, say, with an endotoxin of some type,

·6· · how long would it take for a person who is

·7· · administered potassium chloride to be harmed by the

·8· · contamination?

·9· · A.· · · I don't know.

10· · Q.· · · You don't know?· Would it be minutes?

11· · A.· · · I don't know.· I think it depends, because we

12· · are talking about endotoxin contamination.

13· · · · · · · · Are there particulates in there?· Is it

14· · just microbiological-type?· You know --

15· · Q.· · · Do you not know -- do you not know the answer

16· · to the question, or are you --

17· · A.· · · I don't think there's enough information.

18· · But if you are asking about minutes, I don't know

19· · that answer.· I have not -- I can research this, but

20· · I do not know.

21· · Q.· · · Yeah.· Do you think that a person that was

22· · administered potassium chloride that was contaminated

23· · with -- you name the endotoxin, would be harmed

24· · within minutes?

25· · A.· · · I don't know the answer to that question,



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·1· · because I don't know what type of endotoxin.· I don't

·2· · know what --

·3· · Q.· · · I'm asking you about any endotoxin.

·4· · A.· · · -- quantity.

·5· · Q.· · · Any endotoxin.

·6· · · · · · · · MS. LEONARD:· I'm sorry.· Just because

·7· · this has happened a few times, could you please let

·8· · Dr. Almgren finish her answer before you ask another

·9· · question?

10· · · · · · · · MR. SUTHERLAND:· Sure.

11· · · · · · · · THE WITNESS:· Like, what quantity?· You

12· · know, at what rate was it given?· I mean, there are a

13· · lot of questions that would --

14· · BY MR. SUTHERLAND:

15· · Q.· · · Sure.

16· · A.· · · -- have to be answered.

17· · Q.· · · Yeah.· We'll come back to a specific example

18· · in a minute.

19· · · · · · · · MR. SUTHERLAND:· Let's look at, if we

20· · could, Rob, Section 4, which starts on page 5.

21· · BY MR. SUTHERLAND:

22· · Q.· · · Just Section 4 that starts with numerical

23· · paragraph 12, Dr. Almgren, says:· Unqualified

24· · personnel perform tasks in the protocol that should

25· · be done by professionals with much more extensive



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·1· · training and education in pharmacy related issues.

·2· · Do you see that?

·3· · A.· · · Yes.

·4· · Q.· · · And as I read through Section 4, the only

·5· · people you mention are the drug procurer and the

·6· · executioner; is that right?

·7· · A.· · · Okay.

·8· · Q.· · · Is that correct?

·9· · A.· · · It does appear that way.

10· · Q.· · · Okay.· You don't mention any others.· So I'm

11· · asking, are these the two people you are talking

12· · about in this section?

13· · A.· · · So these are the two I read the depositions

14· · for, and I felt strongly that they were the most

15· · issues associated with their practices.

16· · Q.· · · Are there any other people that you do not

17· · note in this report?

18· · A.· · · No.· These are the two that I selected were

19· · good examples of why I felt very unqualified

20· · personnel were performing tasks that they were not

21· · qualified to do.

22· · Q.· · · If you had other examples that you thought

23· · were significant, would you have put them in here?

24· · A.· · · Potentially, yes.

25· · Q.· · · But you haven't put any others in here?



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·1· · A.· · · Right.

·2· · Q.· · · Numerical paragraph 12 says:· The selection

·3· · process for the extremely crucial positions of drug

·4· · procurer and executioner is not adequate, authorizing

·5· · team members who have insufficient medical training

·6· · to handle lethal injection chemicals without really

·7· · understanding the procedures.· Do you see that?

·8· · A.· · · Yes.

·9· · Q.· · · And your concerns about this particular issue

10· · are in this section of your report, correct?

11· · A.· · · Correct.

12· · Q.· · · Are there any concerns that are not in this

13· · report?

14· · A.· · · No, these are valid concerns.

15· · Q.· · · Paragraph 13:· The drug procurer lacks the

16· · training and professional qualifications necessary to

17· · understand how to properly store and handle LICs.

18· · · · · · · · If you go to the last -- I won't talk

19· · about the middle of that paragraph, but the last

20· · sentence says:· This is a highly specialized position

21· · that should be held by a person with in-depth

22· · training in the listed areas, such as a pharmacist.

23· · A.· · · Are you asking a question?

24· · Q.· · · I'm going to ask you a question.

25· · · · · · · · Are you saying that the drug procurer



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·1· · should be a pharmacist?

·2· · A.· · · It should be somebody who is qualified to

·3· · handle the medications correctly.

·4· · Q.· · · Such as a pharmacist?

·5· · A.· · · Yes.

·6· · Q.· · · Isn't that what you said?

·7· · A.· · · Yes.

·8· · Q.· · · Could a pharmacist administer lethal

·9· · injection chemicals professionally?

10· · A.· · · No.· We are not allowed to -- or, we are

11· · not -- it depends on your Pharmacy Practice Act, I

12· · guess, on the training.· But, typically, no,

13· · pharmacists are only allowed to inject things like

14· · vaccines or IM injections.

15· · · · · · · · Here I'm really referring to somebody who

16· · is storing and handling the medications, drug

17· · procurer, not somebody who is administering the

18· · medications.

19· · Q.· · · Could a layperson be educated and trained to

20· · handle compounded sterile products?

21· · A.· · · Potentially, yes, but they need to be trained

22· · and they need to, you know, have a set of standard

23· · operating procedures, some type of a manual that will

24· · be spelling out all of the responsibilities and all

25· · of the procedures that they should follow.



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·1· · Q.· · · So the answer is, yes, a layperson can be

·2· · trained and educated to do this?

·3· · A.· · · Potentially, yes.· The pharmacist would be

·4· · preferred, because as a pharmacist, we have a

·5· · training to evaluate things.

·6· · · · · · · · You would almost need to have a

·7· · consulting pharmacist who maybe would oversee the

·8· · operations of this person so you could address

·9· · things.

10· · · · · · · · Let's say you have issues with the

11· · storage conditions.· How would a layperson be able to

12· · determine that that was okay or not okay?

13· · · · · · · · Is it okay to use the medication or not?

14· · How would a layperson know?· A pharmacist would.

15· · Q.· · · You'd have to ask -- you'd have to ask --

16· · what if you asked a pharmacist?

17· · · · · · · · What if you were -- if you were a

18· · layperson trained and you consulted with the

19· · pharmacist, would that be good?

20· · A.· · · It depends, because as we discussed earlier,

21· · not all pharmacists are really thoroughly trained in

22· · this realm, and so they may not have the right

23· · answer.

24· · Q.· · · What if a pharmacist is trained and familiar

25· · with USP 797, can a person be trained to perform



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·1· · these tasks in consultation with a pharmacist?

·2· · A.· · · Sure, you could have a consulting pharmacist

·3· · there who would oversee this, yeah.

·4· · Q.· · · And in paragraph 13 you say, in the second

·5· · sentence:· Additionally, the drug procurer does not

·6· · understand the difference between reagent chemical

·7· · and USP grade APIs, regulations surrounding the drug

·8· · procurement of controlled substances, drug

·9· · substitution process, and how to determine the

10· · amounts of drugs needed, or the importance of careful

11· · documentation and drug beyond use dating assignment.

12· · Do you see that?

13· · A.· · · Yes.

14· · Q.· · · And what are you basing that sentence on?

15· · A.· · · I base it on the deposition of the drug

16· · procurer.· Throughout the deposition there are

17· · multiple times where he mentioned he was looking at

18· · other drugs, and it was apparent from the

19· · deposition -- and I would have to go back.· And if

20· · needed, I'll be happy to.· We can pull up the

21· · deposition and read through, and I can point out what

22· · areas concerned me in the sense that he -- I felt

23· · that he did not have the qualifications for this

24· · position.

25· · Q.· · · But you didn't cite to the deposition



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·1· · anywhere?

·2· · · · · · · · I mean, you cite to the deposition at a

·3· · number of places, but you haven't cited to the

·4· · deposition in particular anywhere in regard to these

·5· · statements, have you?

·6· · A.· · · There were so many instances, they would

·7· · probably -- I guess, like I said, we can go back and

·8· · I'll be happy to do that.

·9· · Q.· · · Did you cite the specific instances where

10· · these issues were -- that you raise?

11· · · · · · · · MS. LEONARD:· Objection, asked and

12· · answered.

13· · BY MR. SUTHERLAND:

14· · Q.· · · You can answer the question.

15· · · · · · · · You have four or five different comments

16· · here, but you haven't cited to a single place in the

17· · deposition; is that true?

18· · A.· · · Right.· Well, yes, not in this statement.

19· · Right.

20· · Q.· · · In paragraph 14 you say:· The drug procurer

21· · lacks attention to detail.· For example, the drug

22· · procurer testified that he believed an entry

23· · regarding the size of the midazolam vial he made in

24· · the drug inventory log was not accurate; is that

25· · correct?



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·1· · A.· · · Right.· Yes.

·2· · Q.· · · Okay.· Have you cited to any other examples

·3· · where the drug procurer lacks attention to detail?

·4· · A.· · · Are you asking me if I cited other --

·5· · Q.· · · I'm asking you specific instances that you

·6· · can tell me -- you say he lacks attention to detail.

·7· · You cited one.

·8· · · · · · · · Do you have other specific items, and

·9· · where are they?

10· · A.· · · I will be happy to go -- can we open the

11· · deposition, and I will point them out.

12· · Q.· · · Well, if we had much longer, we would do it.

13· · Unfortunately, we don't have enough time for you to

14· · go back and read the deposition.

15· · · · · · · · Do you consider this to be a significant

16· · lack of attention to detail in the first sentence --

17· · or second sentence of paragraph 14?

18· · A.· · · Yes.· I mean, it appears that -- you know,

19· · these are important.· This is one of the most crucial

20· · information about a drug, is the size of the

21· · medication, the beyond use date.

22· · · · · · · · Those are -- I mean, if you don't keep a

23· · proper record of that, those are -- that's important.

24· · The handling of the medication, that is his job, is

25· · to procure and maintain the medication.



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·1· · · · · · · · I mean, I'm not sure what other

·2· · responsibilities this person has, but if this person

·3· · is a drug procurer and his responsibility is to

·4· · maintain the records, the number one responsibility

·5· · should be his number one concern, maintain accurate

·6· · and correct records.

·7· · Q.· · · My question for you is:· Do you consider this

·8· · lack of attention to detail to be a significant lack

·9· · of attention to detail; yes or no?

10· · A.· · · Yes, this and there are many other examples

11· · throughout his testimony.

12· · Q.· · · Okay.· You cited to this one and you don't

13· · cite to any others; is that correct?

14· · A.· · · Correct.

15· · Q.· · · If you thought they were significant, why

16· · didn't you cite to them and put them in the report?

17· · A.· · · Just it would be a lot of notes.· I just kind

18· · of summarized it and pulled an example.

19· · Q.· · · Are there anymore significant lack of

20· · attention to detail that you think should be in here?

21· · A.· · · No, that's a good example.

22· · Q.· · · I'm asking you if there are -- if there are

23· · numerous examples of the drug procurer lacking

24· · attention to detail that you think material, don't

25· · you think they should be in here?



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·1· · A.· · · No.· I just demonstrated as one example.                 I

·2· · mean, it's just a general statement.· Yes, we can go

·3· · back and look at the testimony and I'll point out a

·4· · handful of others.

·5· · · · · · · · I just felt that, you know, I'll show an

·6· · example of how -- what are some of my concerns.· And

·7· · I felt that this one was -- you are asking if this

·8· · one is a significant one, that is significant.

·9· · · · · · · · As I stated earlier, if you are a drug

10· · procurer maintaining the records, this is what your

11· · responsibility is, so shouldn't you maintain the

12· · records accurately?

13· · Q.· · · Paragraph 15 you start talking about the

14· · executioner, so that's all, as I read your report,

15· · that you have noted on the drug procurer; is that

16· · fair?

17· · · · · · · · You don't think there are any others

18· · other than those two paragraphs, 13 and 14?

19· · · · · · · · MS. LEONARD:· Objection, form.

20· · BY MR. SUTHERLAND:

21· · Q.· · · Are there any other paragraphs or information

22· · where you are discussing the drug procurer, to your

23· · knowledge?

24· · A.· · · I will have to look.· I do not know off the

25· · bat.· Let me take a look at the document.



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·1· · Q.· · · Paragraph 22.

·2· · A.· · · We discussed this further in Section 6.

·3· · Q.· · · I'm talking about Section 4.

·4· · A.· · · So you are looking only for the answer in

·5· · Section 4; I got you.

·6· · Q.· · · This is where you say:· Unqualified personnel

·7· · perform tasks.· And you talk about the drug procurer

·8· · in two paragraphs.

·9· · · · · · · · And I'm asking you, are there are any

10· · other paragraphs in this section where you talk about

11· · the drug procurer?

12· · A.· · · No.· I believe the rest are focused on the

13· · executioner.

14· · Q.· · · In paragraph 15 you say:· The executioner

15· · should be assigned to a person with medical or

16· · pharmacy training.

17· · · · · · · · What type of person are you talking

18· · about?

19· · · · · · · · MS. LEONARD:· Objection to the form.

20· · · · · · · · THE WITNESS:· So it would -- you know, a

21· · pharmacy technician or pharmacist would be more

22· · appropriate to prepare the medication, and to

23· · administer, probably a nurse or somebody on that

24· · level of training would be more appropriate.

25· · ///



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·1· · BY MR. SUTHERLAND:

·2· · Q.· · · Could a nurse ethically administer lethal

·3· · injection chemicals?

·4· · A.· · · I don't know.· Is that a question as in --

·5· · Q.· · · Yeah, I'm asking you.

·6· · · · · · · · Could a nurse -- could you ethically

·7· · administer lethal injection chemicals?

·8· · A.· · · Me as a pharmacist?

·9· · Q.· · · Yes.

10· · A.· · · No, I'm not qualified.· I could prepare them,

11· · but I cannot administer.· The fact is I am only

12· · allowed IM injections.

13· · Q.· · · So I guess my question is, doctors take a

14· · Hippocratic oath not to -- to do no harm, right?· Do

15· · you take a similar oath?

16· · A.· · · Yes.· We take a pharmacist's oath, oath of a

17· · pharmacist, yes.

18· · Q.· · · So could a pharmacist administer lethal

19· · injection chemicals that would result in the death of

20· · a person?

21· · A.· · · Well, it would depend if the pharmacist is

22· · retired, not practicing anymore.· I mean, I'm

23· · assuming there are.

24· · Q.· · · Okay.· You are saying somebody who is not

25· · practicing?



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·1· · A.· · · Sure.

·2· · Q.· · · Okay.· It would have to be a nonpracticing

·3· · medical professional, is that what you are talking

·4· · about?

·5· · A.· · · That would be a good example.

·6· · Q.· · · Okay.· Can a layperson be trained and given

·7· · instructions on preparing and administering lethal

·8· · injection chemicals under the protocol?

·9· · A.· · · They can be, but it has to be a lot more

10· · detail than what the people that were involved here

11· · have.· You need to have more extensive training,

12· · significantly more extensive training.

13· · Q.· · · Tell me what more extensive training you

14· · think needs to be provided.

15· · A.· · · For the executioner?

16· · Q.· · · Yeah.

17· · A.· · · Or the procurer?

18· · Q.· · · The executioner.

19· · A.· · · So my recommendation would be to have a

20· · pharmacy technician prepare the medication, somebody

21· · who is familiar with how the medication should be

22· · handled aseptically.

23· · · · · · · · If you care to have a pharmacy technician

24· · prepare the medications, then a layperson that goes

25· · through a thorough training, perhaps a pharmacy



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·1· · technician course in aseptic technique, not just a

·2· · random pharmacy technician course, but maybe an

·3· · aseptic technique course, could potentially be

·4· · trained.

·5· · Q.· · · So let's back up.· Let me back up a second.

·6· · · · · · · · We are talking about what training a

·7· · layperson needs to administer, prepare and administer

·8· · the lethal injection chemical, so I want you to tell

·9· · me what training they need to have.

10· · A.· · · Right.· So my recommendation would be a

11· · pharmacy technician training to compound, to put

12· · medications together to prepare the doses.

13· · · · · · · · And then for administration, some type of

14· · a nurse or something that will in detail prepare you

15· · how to prepare the medications, how to administer the

16· · medications.

17· · Q.· · · And what would that -- what would that

18· · administration training involve?

19· · A.· · · The basics of how to handle the medication,

20· · administer.· I'm not a nurse, so I really cannot

21· · recommend a specific -- I can make recommendations on

22· · the pharmacy side.

23· · · · · · · · I cannot make specific recommendations

24· · for a level of training on the nursing side, but it

25· · should be somebody who has some type of training that



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·1· · qualifies them to handle and administer medications

·2· · appropriately.

·3· · Q.· · · So tell me what would be involved in the

·4· · pharmacy tech training in terms of preparing that you

·5· · think they need to be aware of.

·6· · A.· · · Number one, aseptic technique; how not to

·7· · touch critical sites; how to accurately handle

·8· · medications.· There are certain procedures, and I

·9· · teach -- I teach these courses.

10· · · · · · · · So, I mean, it's a really long list, but

11· · it includes things like how you reconstitute

12· · medications; how do you know if you have a correct

13· · volume; how do you equilibrate pressure within the

14· · vial and, you know, the solution when you are, you

15· · know, pulling up a certain amount or reconstituting.

16· · You know, these kind of really basic skills that you

17· · need, you know.

18· · · · · · · · How do you assure that the medication

19· · will not be contaminated?· How do you handle the

20· · syringe and needle, you know?· How do you hold it?

21· · · · · · · · I mean, they seem like simple things, but

22· · they are not.· You know, what our instincts naturally

23· · tell you how we handle things is very different when

24· · we handle sterile preparations.

25· · · · · · · · You know, the way you even attach the



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·1· · needle to the hub, there is a technique for that.

·2· · The way that you inject.· What can you hold when you

·3· · are pushing the needle into an IV bag.· What can you

·4· · touch when you are handling the vial?

·5· · · · · · · · I mean, those are very -- like I said, it

·6· · sounds simple to a lay person because it seems like a

·7· · no-brainer, but it is not.

·8· · Q.· · · What in terms of preparation did you -- what

·9· · issues did you see with the way that the executioner

10· · described how he handled and prepared the

11· · medications?

12· · A.· · · Right.· Well, there was a number of things

13· · from his description that were incorrect.

14· · Q.· · · Are you -- have you put them in there in the

15· · report?

16· · A.· · · Yes.· Yes, so --

17· · Q.· · · Let's go -- hold on a second, I want to go

18· · through some of them.

19· · · · · · · · In paragraph 16 you talk about, as I

20· · understand it -- and correct me if I'm wrong.· This

21· · has to do with preparing the vecuronium bromide or

22· · drawing the vecuronium bromide and potassium chloride

23· · into syringes two hours before execution; is that

24· · fair?

25· · A.· · · Yes.



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·1· · Q.· · · You understand the midazolam in lethal

·2· · injection executions has been drawn into syringes

·3· · right before its use?· Have you ever seen that?

·4· · A.· · · Yes.· I'm not sure why was there a difference

·5· · in the person administering the midazolam versus the

·6· · other medications.

·7· · Q.· · · Let's talk about this.· So the reason for

·8· · that is, you are saying under USP 797 -- well, let's

·9· · talk about this.

10· · · · · · · · The vecuronium bromide is not a

11· · compounded preparation?

12· · A.· · · Correct.

13· · Q.· · · All right.· But you are saying drawing it

14· · into the syringe makes it immediate use?

15· · A.· · · Correct, because it is not prepared inside of

16· · an ISO Class 5 environment.

17· · Q.· · · Right.

18· · A.· · · So if you had a sterile hood, you could

19· · extend it beyond use date.· But if it's prepared

20· · what's considered bedside, you will need to use it

21· · immediately.

22· · Q.· · · And "immediately" is what?

23· · A.· · · Within one hour.

24· · Q.· · · Within one hour.· So we are talking about

25· · vecuronium bromide and potassium chloride, right?



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·1· · A.· · · Right.

·2· · Q.· · · What is your specific concern about waiting

·3· · two hours to administer 100 milligrams of vecuronium

·4· · bromide?· What's the specific concern?

·5· · A.· · · We don't know the storage conditions of the

·6· · preparation.· Is it laying in the room?· What's the

·7· · temperature of the environment?· Has it been exposed

·8· · to any temperature?

·9· · · · · · · · I mean, you start having degradation the

10· · moment you are constituting the vial.

11· · Q.· · · So if it was -- if syringes -- if 100

12· · milligrams of vecuronium bromide was in a syringe at

13· · room temperature for an extra hour, what would be

14· · your specific concern that could happen?

15· · A.· · · There might be microbial contamination.

16· · Q.· · · What kind of microbial contamination?

17· · A.· · · Stemming from improper -- I guess not even

18· · improper; just compounding in a non-ISO Class 5

19· · environment.

20· · Q.· · · Drawing it into the syringe?

21· · A.· · · Right.

22· · Q.· · · Okay.· What type of contamination are you

23· · talking about?

24· · A.· · · So when you are compounding outside of the

25· · ISO Class 5 environment, you basically are talking



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·1· · about compounding in the open with no protection from

·2· · any kind of a contamination.

·3· · · · · · · · So when you -- as opposed to if you

·4· · compound in a cleanroom in a hood, you have a HEPA

·5· · filter in front of you and you have laminar airflow

·6· · that's coming at you of the sterile HEPA-filtered

·7· · air, right?

·8· · · · · · · · So when you are compounding in a hood,

·9· · you have this ultra-clean air that's basically

10· · washing all over your sterile sites, over your

11· · critical sites, so there should be no presence of any

12· · bacteria or any chemicals or any kind of particles,

13· · because it is a particle-free HEPA-filtered air.

14· · · · · · · · When you are compounding at bedside, you

15· · know, you are in the air.· Just because I don't see

16· · dust, it doesn't mean that it is dust free.· There is

17· · dust.· There are microbial type of contaminants;

18· · maybe a tiny hair.

19· · · · · · · · I mean, there's a lot more going on in a

20· · nonclassified or unclassified space when we are

21· · talking about compounding.· And so --

22· · Q.· · · When you are talking --

23· · · · · · · · MS. LEONARD:· I'm sorry.· Scott, can you

24· · let her finish, please.

25· · ///



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·1· · BY MR. SUTHERLAND:

·2· · Q.· · · Yeah.· When you are talking about compounding

·3· · in this context, you are talking about drawing it

·4· · into the syringe?· Is that what you are saying?

·5· · · · · · · · You are using the word "compounding."

·6· · Are you talking about when you draw it into the

·7· · syringe?

·8· · A.· · · Yeah, reconstituting.

·9· · Q.· · · So I heard what you just said.· My question

10· · to you is:· What would be your -- okay.· You say a

11· · hair or something like that.

12· · · · · · · · My question is:· What would you expect to

13· · be the specific -- a specific problem that would

14· · occur by leaving it in there an extra hour?

15· · A.· · · Potential for contamination.

16· · Q.· · · Okay.· And what kind of contamination would

17· · you be afraid that might happen?

18· · A.· · · Any kind; chemical.· Could be a particular.

19· · Could be microbial.

20· · Q.· · · Okay.· And that vecuronium bromide that

21· · gets -- 100 milligrams that gets injected into the

22· · inmate, what would be your concern about that,

23· · assuming that that individual was going to be

24· · administered a lethal dose of potassium chloride

25· · within a very short period of time after that?



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·1· · A.· · · I don't know, because I don't know what type

·2· · of contamination could happen because the environment

·3· · is not controlled.

·4· · Q.· · · So your testimony is you think that there's

·5· · contamination that could occur?

·6· · · · · · · · And it's the same with the potassium

·7· · chloride, you are saying that you think that there

·8· · could be contamination of the potassium chloride and

·9· · the vecuronium bromide that would have an effect on

10· · the inmate, even though they were going to be dead

11· · within five to eight minutes?

12· · A.· · · Well, it's the unpredictability that's the

13· · concern.· You don't know what could happen, because

14· · you don't know what type of a contamination could

15· · happen.

16· · · · · · · · You don't know what type of, you know --

17· · what could be in the vial, so how could you with

18· · certainty say that it's going to work?· You don't

19· · know.

20· · Q.· · · We are talking about sterility?· That's what

21· · we are talking about, right?

22· · A.· · · I did mention you could have a physical or

23· · chemical contamination as well when you are working

24· · in an unclassified space.

25· · Q.· · · Would you expect the vecuronium bromide and



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·1· · the potassium chloride, would you expect there to be

·2· · a potency or sterility problem by being in the

·3· · syringe an extra hour?

·4· · A.· · · There could be.

·5· · Q.· · · I'm asking you, would you expect there to be?

·6· · A.· · · That's a very confusing question, because it

·7· · would really depend on the conditions of how the drug

·8· · was prepared and stored and who prepared it and how

·9· · it was laying for an hour.

10· · · · · · · · I would be very concerned if the room was

11· · warm; if the person touched critical sites.· If

12· · the -- you know, if there's a potential for

13· · contamination as in, you know, in the room, if the

14· · room was maybe dirty.

15· · · · · · · · So there are a lot of -- I can't answer

16· · with certainty because I'm not given enough

17· · information to make that statement.

18· · Q.· · · Well, let me ask you this.· In just an

19· · average room like at a prison with room temperature,

20· · would you expect an extra hour of the vecuronium and

21· · the potassium chloride -- would you expect, in your

22· · professional opinion, there to be a problem with the

23· · potency or sterility of those medications?

24· · A.· · · Well, it depends on who prepared it.· Was it

25· · a drug preparer who was touching the critical sites



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·1· · as he was preparing it?

·2· · Q.· · · I think what I'm wanting to know is, would

·3· · you expect that those drugs aren't going to do what

·4· · they are supposed to do, which is paralyze and stop

·5· · the heart?

·6· · · · · · · · For sitting in there for an extra hour,

·7· · would you expect they are not going to perform what

·8· · they are supposed to do?

·9· · A.· · · Again, I think the question really is, when

10· · they were reconstituted, how were they handled.· Are

11· · we talking about -- okay, you said they will be in a

12· · proper room temperature, but who handled them and how

13· · were they prepared?

14· · · · · · · · If you had a drug procurer handling them

15· · where he's touching the needle in the critical sites

16· · and there's a really strong potential that the

17· · medications will be contaminated, then I would be

18· · concerned.

19· · Q.· · · My question to you is, based on what's

20· · paragraph 16 in your report, which the paragraph 16

21· · says that there is a problem because these drugs

22· · weren't administered within an hour.

23· · · · · · · · And I'm asking you, if they are

24· · administered within two hours, would you expect they

25· · are not going to have the effects that you would



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·1· · normally expect from vecuronium and potassium

·2· · chloride?

·3· · A.· · · So from the pharmacy practice perspective, I

·4· · would not use them.· We do not use expired

·5· · medications on patients.

·6· · Q.· · · That's not my question.· My question is:

·7· · Based on the time alone, would you expect that these

·8· · drugs will not do what they are supposed to do?

·9· · A.· · · I would not know that.· It would have to be

10· · tested to see what happened.· And that's why I would

11· · not use them.

12· · · · · · · · You see, those guidances in USP are there

13· · for a reason.· The reason that the USP cites and says

14· · they should not be used after an hour, there

15· · obviously must have been examples when the one hour

16· · was sufficient amount of time to degrade the

17· · medication, and so that's what I go by.

18· · · · · · · · The chapter says that you cannot use them

19· · after an hour.· It's a simple guidance that you

20· · followed.

21· · Q.· · · My question to you is:· Do you expect, based

22· · on your experience and your knowledge of these drugs,

23· · would they do what they were supposed to do, sitting

24· · in a syringe for an extra hour?

25· · · · · · · · MS. LEONARD:· Objection, asked and



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·1· · answered.

·2· · BY MR. SUTHERLAND:

·3· · Q.· · · Do you have an opinion?

·4· · A.· · · I don't, because truth be told, there is not

·5· · enough information for me to make that decision.

·6· · Q.· · · You said that -- your paragraph 16 says

·7· · there's a problem with them being expired.· I get

·8· · that.

·9· · · · · · · · My question is, okay, generally speaking,

10· · would you say, in the absence of anything else, would

11· · the presence in the syringe just for an extra hour

12· · make them not do what they are supposed to do?

13· · A.· · · You know, you say an extra hour as if it

14· · didn't matter.· But, you know, one hour extra is

15· · double the time of what the expiration was.· The

16· · expiration was set to one hour, and now we are

17· · talking about two hours.

18· · · · · · · · So if the USP said not to use it after an

19· · hour, I certainly wouldn't use it after it's sitting

20· · in a syringe for two hours.

21· · · · · · · · Keep in mind also, let me just bring this

22· · up as well because this is also concerning, is that

23· · the syringes that these medications are compounded

24· · in -- not compounded, reconstituted and pulled up in,

25· · those syringes are meant for delivery.



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·1· · · · · · · · They are not meant to store the

·2· · medications.· So they are not airtight.· They are

·3· · not, you know, completely enclosed like a container

·4· · would be, like a glass vial.· You know, a glass vial

·5· · is sealed.· The syringes are not airtight.

·6· · Q.· · · Is the fact that -- isn't the fact -- are you

·7· · aware of how many lethal injection executions

·8· · Tennessee has done since 2018, Dr. Almgren?

·9· · A.· · · No, I'm not aware of how many.

10· · Q.· · · Are you aware that there have been lethal

11· · injection executions since 2018?

12· · A.· · · I have not looked, so I cannot say that I do.

13· · Q.· · · Are you aware that this protocol has been

14· · used since 2018?

15· · A.· · · Yeah.· I mean, of course, yes.· If you are

16· · asking whether I know that there have been

17· · executions.· I guess I missed -- maybe I didn't come

18· · across clear.

19· · Q.· · · Okay.

20· · A.· · · I'm aware that the protocol has been used

21· · and, yes, I'm aware that the lethal injection has

22· · been used.· Yes, that's true.· I have not looked

23· · specifically at how many.· I think that's what

24· · stopped me a little bit.

25· · Q.· · · In paragraph 17 you say:· The executioner



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·1· · does not have any special advanced aseptic technique

·2· · training.

·3· · · · · · · · And I guess what I would want to know is,

·4· · again, in the context of a lethal injection execution

·5· · where death is going to occur within 15 minutes, what

·6· · is your specific concern about aseptic training?

·7· · A.· · · Well, my concern is that you may end up

·8· · contaminating the products and they will not act as

·9· · they are expected to.

10· · · · · · · · If that happens, okay, maybe the final

11· · effect will be what it is.· However, it's the time

12· · before that happens, mainly through suffering, pain,

13· · because of potentially the medication is taking

14· · longer than they should to act, maybe causing severe

15· · irritation because they are contaminated.

16· · · · · · · · Those are all factors that play into the

17· · fact that you have a person who is preparing a

18· · medication who is not qualified, and so they really

19· · are not taking all of the precautions and all of the

20· · proper steps.

21· · Q.· · · Let's use the specific example that you talk

22· · about in paragraph 19, the executioner describes how

23· · he cleans the needle.

24· · A.· · · Yes.

25· · Q.· · · This is completely an inappropriate and



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·1· · incorrect aseptic technique, in violation of

·2· · USP 797.· The needle is sterile when taken out and

·3· · should not be touched.

·4· · · · · · · · So if the needle was touched with -- if

·5· · it was touched with a saline alcohol swab, what would

·6· · you expect the result or the effect of that to be on

·7· · the medication?

·8· · A.· · · No, it's a terrible practice.· This is

·9· · totally unacceptable.· And if I saw any of my

10· · students or pharmacy technicians do that, they would

11· · fail the course or be fired.· It's step one of

12· · learning proper aseptic technique.· You do not touch

13· · sites.

14· · · · · · · · They are critical sites, and you are

15· · really increasing potential for contamination in that

16· · point, because -- for example, so you say he's,

17· · perhaps, using alcohol wipe to wipe the needle.· But

18· · is it a sterile alcohol wipe?

19· · · · · · · · You know, they sell the alcohol wipes

20· · that are nonsterile.· So you want to make sure they

21· · are sterile alcohol wipes, because the nonsterile

22· · alcohol wipes actually sometimes contain spores.

23· · · · · · · · The second concern itself is, so you are

24· · wiping the needle with alcohol.· So now the needle

25· · has alcohol on it, so when you are injecting and



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·1· · pushing the needle into the vial, now you are

·2· · introducing remnants of the alcohol into the

·3· · solution, so you are contaminating it further with

·4· · the alcohol, potentially.

·5· · · · · · · · Another concern is now the needle is wet

·6· · because it is wet from the alcohol wipe.· So now it's

·7· · sort of sticky, and so even better chance for, I

·8· · don't know, dust particles, maybe, I don't know, any

·9· · kind of a little particle that's floating around in

10· · the air sticking to the needle and being introduced

11· · into the solution.

12· · Q.· · · What would you --

13· · A.· · · Also -- I'm sorry.· Also, the alcohol wipe

14· · itself has fibers because it is woven, and so the

15· · fibers themselves may attach themselves to the

16· · needle, and they can also introduce into the

17· · solution.

18· · Q.· · · What would you expect the type of

19· · contamination to be that could result?· Give me some

20· · examples.

21· · A.· · · Alcohol, dust particles, fiber from the

22· · cloth.

23· · Q.· · · My question is:· What would you expect the

24· · results of that contamination to be on the

25· · medication?



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·1· · A.· · · So alcohol -- I do not know, because I have

·2· · not looked into this part.· But I wonder if the

·3· · alcohol itself, if it is isopropyl alcohol, if that

·4· · would potentially react with the chemicals in the

·5· · injection and maybe partially degrading some of them.

·6· · I don't know.· I can't say.· Dust.

·7· · Q.· · · What else?

·8· · A.· · · Dust particles could be introduced, and they

·9· · can cause occlusion of the blood vessel.· Fiber, the

10· · same thing.

11· · · · · · · · Chemicals, let's say something was

12· · floating in the air and it had some type of -- you

13· · know, maybe they cleaned right before and there are,

14· · you know, particles of cleaner still floating in the

15· · air, that can be introduced.· So you could have

16· · chemical contamination from just picking up things in

17· · the air, dust particles, fiber.

18· · · · · · · · I mean, there are a lot of different

19· · potential.· Again, you are working in an unclassified

20· · space.· And I'm not sure how clean the prison is, but

21· · my assumption is it's probably not extremely clean.

22· · · · · · · · So my assumption is that there's a very

23· · good potential for dust and dirt and microbial

24· · contamination being in the air just from the nature,

25· · probably fungus.· I mean, it's all probably floating



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·1· · in the air.

·2· · · · · · · · Have there been any studies done on the

·3· · air quality?· Potentially not.

·4· · Q.· · · Yeah.· Have you been presented any

·5· · information about air quality of the prison?

·6· · A.· · · No.· And that would be something that would

·7· · be useful.

·8· · Q.· · · In paragraph 22 you talk about visual

·9· · inspection.

10· · A.· · · Yes.

11· · Q.· · · Is this the type of visual inspection you

12· · always perform?

13· · A.· · · Yes.· So when you prepare a sterile compound,

14· · you need to perform visual inspection.· So there's a

15· · specific procedure that you need to follow.

16· · · · · · · · So you look at the product.· You look --

17· · you are supposed to look against the light background

18· · and against the black background so you can detect

19· · any particles in contrasting colors.

20· · · · · · · · So then you are supposed to flip over the

21· · syringe or vial, whatever you are compounding, or

22· · bag.· Not too violently, because you may create air

23· · bubbles forming.· So you want to flip it over in kind

24· · of a slower motion and just watch for any kind of a

25· · particle.



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·1· · · · · · · · So it is a procedure that, again, we

·2· · teach in a sterile compounding course to make sure

·3· · that those who prepare sterile compounds know how to

·4· · prepare them.

·5· · Q.· · · Are you talking about the compounding

·6· · process?

·7· · A.· · · Oh, every constitution when you get ready --

·8· · during compounding or during reconstitution when you

·9· · are getting ready to -- you know, whenever you have a

10· · finished product.

11· · Q.· · · Is it your opinion that in hospitals,

12· · whenever healthcare professionals are administering

13· · compounded injectables, that they do this -- that

14· · they hold it up against white and black all of the

15· · time?

16· · A.· · · So keep in mind that this is a different

17· · scenario.· So it's one thing when in the hospital I

18· · compounded it in our downstairs pharmacy, and then I

19· · send it to the floor.· So the nurse is getting the

20· · product within a few minutes, maybe.

21· · · · · · · · You know, so I have done the examination.

22· · It has not been stored.· It has not been sitting

23· · around.· Or even if it has, it's a relatively short

24· · amount of time.

25· · · · · · · · And the nurses still do look.· They don't



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·1· · do the black and white background, but if you had a

·2· · procedure during which you have reconstituted or

·3· · compounded the product, you definitely need to

·4· · perform a visual inspection, because you are not sure

·5· · that all of the drug -- like let's say if it's a

·6· · reconstitution, has all of it gone to solution?· You

·7· · need to perform visual inspection.

·8· · Q.· · · You specifically mentioned in paragraph 22

·9· · that you are aware that the executioner does perform

10· · a visual inspection of these chemicals, aren't you,

11· · from his testimony?

12· · A.· · · I thought he said that the color of the drug

13· · is not a large focus of mine.· I have that stated in

14· · a statement.

15· · · · · · · · So it appears that if he does it, he

16· · really doesn't look for the attributes that he's

17· · supposed to.· I don't know that he really knows what

18· · goes into doing a visual inspection.

19· · Q.· · · And you say:· The absence of this procedure

20· · using the black and white background during the

21· · executioner's sterile preparation is very concerning,

22· · as there have been issues with the potassium chloride

23· · prepared for TDOC falling out of solution?

24· · A.· · · Correct.

25· · Q.· · · What specific issues are you referring to?



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·1· · A.· · · So there were in the reports statements where

·2· · they had issues with preparing the potassium

·3· · chloride, and the potassium chloride had fallen out

·4· · of solution.

·5· · Q.· · · At the pharmacy?

·6· · A.· · · Yes.· That can happen because it's a very

·7· · concentrated solution of potassium chloride.· So

·8· · those types of -- you know, it's not a good thing,

·9· · but it can happen.

10· · · · · · · · There are other drugs that fall out of

11· · solution sometimes, and so this is where it's very

12· · important that you examine the solutions prior to

13· · injecting.

14· · Q.· · · You are not aware of any situation where the

15· · potassium chloride has fallen out of solution at the

16· · Department of Corrections after it's been received,

17· · are you?

18· · A.· · · Well, the executioner is not performing a

19· · visual inspection.· So, obviously, I only can use the

20· · records that I have.· So if he is not performing a

21· · visual inspection, how would I know?

22· · Q.· · · Are you aware of any compounded potassium

23· · chloride that's gone to the Department of Corrections

24· · that has fallen out of solution?

25· · A.· · · Again, how would I know when it's not being



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·1· · examined?· I'm not at the Department of Corrections,

·2· · so I do not see the products.

·3· · · · · · · · So if the drug procurer and the

·4· · executioners do not perform the visual inspection,

·5· · then they don't -- then there is no record of it.· It

·6· · doesn't mean it didn't happen, it's just that they

·7· · have not looked.

·8· · Q.· · · Now, the records show that there were samples

·9· · that were prepared, or batches that were prepared

10· · that may have fallen out of solution, but you don't

11· · have any information that any potassium chloride that

12· · have fallen out of solution was ever sent to the

13· · department, do you?

14· · · · · · · · You are not saying that the pharmacist

15· · sent the TDOC potassium chloride that had fallen out

16· · of solution, are you?

17· · A.· · · I would have to go back and look and see what

18· · exactly this statement from the procurer said,

19· · because I do see in my statement that there have been

20· · issues with potassium chloride prepared falling out

21· · of solution.

22· · · · · · · · And I do remember a procurer stating that

23· · that was the case.· And, of course, the pharmacist

24· · did as well.· So I would need to go back to that

25· · statement and see what exactly was said.



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·1· · Q.· · · Do you think that the Department of

·2· · Corrections has been sent potassium chloride that has

·3· · fallen out of solution at the pharmacy?

·4· · A.· · · How would I know?· I don't know.

·5· · Q.· · · I'm asking you, based on what you reviewed,

·6· · do you think that they have sent --

·7· · A.· · · Well --

·8· · Q.· · · -- potassium chloride that's fallen out of

·9· · solution?

10· · A.· · · So let me just point out another thing that

11· · can happen.· What can happen sometimes --

12· · Q.· · · Answer my question first.· Do you think that

13· · the pharmacist has sent potassium chloride to the

14· · department that has fallen out of solution based on

15· · what you reviewed?

16· · A.· · · So they can send the solution that maybe does

17· · not have a precipitant.· But by the time it gets to

18· · the Department of Corrections --

19· · Q.· · · You are not answering --

20· · A.· · · -- the solution.

21· · Q.· · · Stop.· Stop.· You are not answering my

22· · question.

23· · A.· · · Why can't I finish my statement?

24· · Q.· · · Well, because you are not answering my

25· · question.



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·1· · · · · · · · I'm asking you first:· Do you have any

·2· · information that the pharmacist in this case sent the

·3· · Department of Corrections any potassium chloride that

·4· · had fallen out of solution?

·5· · A.· · · So this is a tricky question, because I do

·6· · not know which batches were sent to the Department of

·7· · Corrections --

·8· · Q.· · · I'm asking you if you know if they have.

·9· · · · · · · · MS. LEONARD:· Please let her finish her

10· · answer.

11· · · · · · · · MR. SUTHERLAND:· She is not answering my

12· · question.· I'm asking her to answer my question.

13· · · · · · · · MS. LEONARD:· I think she is trying to

14· · answer the question.· If you could let her finish,

15· · then we could see.

16· · · · · · · · This has happened now two or three in a

17· · row.· Could you please let her try to finish?

18· · · · · · · · THE WITNESS:· So what I was saying is I

19· · do not know which batches were exactly sent to the

20· · Department of Corrections, because I see the quality

21· · records from the pharmacy, I saw the pharmacist's

22· · statement that they had issues, but as to which

23· · specific batches were sent and received, those

24· · records are marked out, and I really cannot see which

25· · lot number corresponds to which product and if there



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·1· · were any quality issues.

·2· · · · · · · · So long story short, I do not know the

·3· · answer to your question.· And to elaborate further,

·4· · sometimes you can send a product that maybe in a

·5· · pharmacy appears fine, but during the transport, if

·6· · it's maybe exposed to inappropriate temperatures,

·7· · maybe too high or too low, it may precipitate by the

·8· · time it comes to the customer.

·9· · BY MR. SUTHERLAND:

10· · Q.· · · So I'm going to ask you to answer my

11· · question, which is:· Do you have any information that

12· · the pharmacist that compounds potassium chloride for

13· · the Tennessee Department of Corrections has sent

14· · potassium chloride that has fallen out of solution to

15· · the department?

16· · A.· · · No, because I don't have enough -- any

17· · records to review specific to that.

18· · Q.· · · When a medication falls out of solution, what

19· · do you do with it?

20· · A.· · · So it depends on the type of medication.

21· · Some medications, when they fall out of solution, you

22· · can't really reconstitute.

23· · · · · · · · As in the precipitant stage, it degrades

24· · the medication, and that's -- typically most of the

25· · time we do not use it.



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·1· · · · · · · · There are some medications where

·2· · precipitation is common, and so the dose we might be

·3· · able to reconstitute or whatever and it can be

·4· · corrected.· But a lot of medications, once you have

·5· · the precipitant, you would not use it.

·6· · Q.· · · You don't know what they did with it here?

·7· · A.· · · No.

·8· · Q.· · · Okay.· If we could look at Section 5 of

·9· · Number 4, it says:· Instructions for lethal injection

10· · chemicals preparation are not detailed and specific

11· · enough, and may result in the administration of the

12· · wrong dose.

13· · · · · · · · In paragraphs 23 and 24, are you talking

14· · about the instructions for preparation of midazolam

15· · and potassium chloride?

16· · A.· · · Right.· So from the depositions it appeared

17· · that obviously in the protocol you have some standard

18· · directions on how to prepare, but there were also --

19· · what was mentioned in the depositions was that the

20· · pharmacy would actually send a document on how to

21· · properly reconstitute or prepare the medication, so

22· · they had a separate document that was dealing with

23· · specific medications.

24· · Q.· · · So I'm going to ask you the question again.

25· · Are you talking about the midazolam and potassium



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·1· · chloride instructions --

·2· · A.· · · Let me look.

·3· · Q.· · · -- in paragraphs 23 and 24?

·4· · A.· · · I believe it's both.

·5· · Q.· · · Okay.· Did you review those instructions?

·6· · A.· · · Yes.

·7· · Q.· · · The written instructions?

·8· · A.· · · Yes.

·9· · Q.· · · Well, can you tell me what the specific

10· · concerns you had about each specific instruction?

11· · A.· · · So I don't have concerns as in the

12· · instructions alone.· My concern is that when you have

13· · instructions coming with the medications, what if

14· · the -- what if a mix-up happens and you don't have

15· · the correct instructions and using instructions from

16· · the older drugs, because it appears that they had

17· · vials from different batches.

18· · · · · · · · And so you would want to make sure that

19· · you are using the proper instructions in the product

20· · that it came with.

21· · Q.· · · Do you have any problems with the

22· · instructions you reviewed?

23· · A.· · · No, they were specific to the product.

24· · Q.· · · Okay.· So of the instructions you reviewed of

25· · midazolam and potassium chloride, you had no problem



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·1· · with the instructions?

·2· · A.· · · Well, I do have a problem in the sense that

·3· · they are written more for a professional.· They

·4· · really should be broken down in much smaller and more

·5· · pointed steps, because I feel like the executioner

·6· · who prepares the medications may not be really

·7· · familiar with all that goes into drug preparation,

·8· · could probably benefit from having more detailed

·9· · instructions.

10· · Q.· · · What detail would you want to be in there

11· · that's not in there?

12· · A.· · · Can you open the instructions, and I'll tell

13· · you?

14· · Q.· · · I don't have them.· I'm wondering -- I'm

15· · looking at your report and I'm trying to figure out

16· · what specific problems you have with the

17· · instructions.

18· · A.· · · I mean, I think they are summarized from --

19· · yeah, I think they were just summarized by the

20· · executioner.

21· · Q.· · · There were written instructions provided --

22· · A.· · · In the protocol, yes.

23· · Q.· · · No.· There are separate written instructions.

24· · A.· · · Yes.· Right.

25· · Q.· · · Have you seen those?



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·1· · A.· · · I'm trying to remember.· I thought I did.                  I

·2· · thought I saw something, but I'm not a hundred

·3· · percent sure.

·4· · · · · · · · MS. LEONARD:· I think maybe it would be

·5· · helpful if we pulled up the document that you are

·6· · talking about so we can make sure we are all talking

·7· · about the same thing here, please.

·8· · · · · · · · MR. SUTHERLAND:· I don't have -- I don't

·9· · have it.· Do you have it, Lynne?

10· · · · · · · · MS. LEONARD:· I do, yeah.· Would you like

11· · me to send that over to you?

12· · · · · · · · MR. SUTHERLAND:· Sure.· Actually, just

13· · send it to Rob.· Send both of them, if you can.

14· · · · · · · · MS. LEONARD:· It might take me a second

15· · to find them here, but I'm looking.· I know I do have

16· · them.

17· · · · · · · · MR. SUTHERLAND:· I think they were in

18· · like the first 15 exhibits of you-all's deposition

19· · exhibits.

20· · · · · · · · MS. LEONARD:· Yeah.· Midazolam and the

21· · potassium chloride, that's what you need?

22· · · · · · · · MR. SUTHERLAND:· Yeah.

23· · · · · · · · MS. LEONARD:· I should send them just to

24· · Rob right now?

25· · · · · · · · MR. SUTHERLAND:· Yeah.· You can send it



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·1· · to both of us.

·2· · · · · · · · MS. LEONARD:· I'll copy Alex.· Do you

·3· · want me also to send them to Dr. Almgren and send

·4· · them back --

·5· · · · · · · · MR. SUTHERLAND:· No, you can send them to

·6· · her so she can see them.

·7· · · · · · · · MS. LEONARD:· Great.· I just wanted to

·8· · make sure that we are talking about the same

·9· · documents here.

10· · · · · · · · MR. MITCHELL:· I received them.· Thank

11· · you, Lynne.

12· · · · · · · · MS. LEONARD:· Sure thing.· And I also

13· · just sent them to you, Dr. Almgren.· It may take a

14· · minute with the delay, but hopefully everyone can

15· · pull them up soon.

16· · · · · · · · MR. MITCHELL:· Do you want me to pull up

17· · potassium chloride, midazolam?

18· · · · · · · · MR. SUTHERLAND:· Midazolam to start.

19· · That will be Exhibit 6.

20· · · · · · · · Let me know when you have them,

21· · Dr. Almgren.

22· · · · · · · · THE WITNESS:· I see them on your screen,

23· · I have not seen them yet.

24· · · · · · · · Do you mind if I take a five-minute

25· · break?



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·1· · · · · · · · MR. SUTHERLAND:· That would be perfectly

·2· · fine.· Let's say 2:15.

·3· · · · · · · · (An off-the-record discussion was held.)

·4· · · · · · · · (WHEREUPON, a document was marked as

·5· · Exhibit Number 6.)

·6· · · · · · · · MR. SUTHERLAND:· Rob, if you could put up

·7· · what's going to be Exhibit 6, which is the midazolam

·8· · instructions.· Rob, can you put up the midazolam

·9· · instructions, which will be Exhibit 6?· Thank you.

10· · BY MR. SUTHERLAND:

11· · Q.· · · Dr. Almgren, were you able to look through

12· · these?

13· · A.· · · I'm looking at them right now.· Yes, I got

14· · them right as I sat down.

15· · Q.· · · Have you seen these before?

16· · A.· · · I have.· I do believe I've seen them.

17· · Q.· · · Okay.· And are these the instructions that

18· · you are talking about in paragraph 23?

19· · A.· · · Yes.

20· · Q.· · · And the concern that you identified in

21· · paragraph 23, as I understand it, is because you

22· · understand the instructions that come with a new

23· · batch of drugs might differ, that they might be

24· · confused with the previous instructions?

25· · A.· · · Sure.



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·1· · Q.· · · In paragraph 23 you don't identify any

·2· · specific problems with these instructions, do you?

·3· · A.· · · I mean, I did not address anything in terms

·4· · of specifics.

·5· · Q.· · · Okay.· And in paragraph 24, you say --

·6· · · · · · · · MR. SUTHERLAND:· Rob, you can put up the

·7· · potassium chloride instructions, that will be

·8· · Exhibit 7.

·9· · · · · · · · (WHEREUPON, a document was marked as

10· · Exhibit Number 7.)

11· · · · · · · · MR. SUTHERLAND:· Just to confirm,

12· · Dr. Almgren, have you --

13· · · · · · · · THE WITNESS:· Now, I do have concerns --

14· · are you asking me -- I'm sorry.

15· · · · · · · · Are you asking me --

16· · BY MR. SUTHERLAND:

17· · Q.· · · I'm asking you what's -- ma'am, what I'm

18· · asking you is, in your report you identify issues

19· · with the instructions in paragraph 23, right?

20· · A.· · · Yes.

21· · Q.· · · Okay.

22· · A.· · · What I'm reading right now.

23· · Q.· · · Section 5 of your report deals with the

24· · instructions?

25· · A.· · · Yes.



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·1· · Q.· · · Okay.· And in paragraphs 23, 24 and 25 you

·2· · address the instructions.

·3· · · · · · · · And I asked you if the instructions that

·4· · you are talking about in 23 are the midazolam and

·5· · potassium chloride instructions.· And I

·6· · understand the answer is yes; is that correct?

·7· · A.· · · That's correct.

·8· · Q.· · · Okay.· And the concern that you raise about

·9· · these instructions, midazolam and potassium chloride

10· · in your report, is that they might change and that

11· · the executioner might not be able to determine which

12· · ones should be used.

13· · · · · · · · Is that what you say in paragraph 23?

14· · A.· · · Yes.

15· · Q.· · · I'm sorry?

16· · A.· · · Yes.

17· · Q.· · · Okay.· In paragraph 24 you say, "The protocol

18· · also provides some general instructions for the

19· · preparation of two sets of syringes."

20· · A.· · · Now, that is referring to the protocol, the

21· · lethal injection protocol.

22· · Q.· · · Correct, yes.· "Depending on the LIC supply,

23· · the procedure may be completely different."

24· · · · · · · · And you are talking about the distinction

25· · between compounded and commercially available, right?



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·1· · A.· · · Yes.

·2· · Q.· · · And you are talking about getting that

·3· · confused, is that what you are referring to?

·4· · A.· · · Yes.· There could be potential for medication

·5· · error.· How would your executioner know, let's say,

·6· · if vecuronium came all a sudden compounded, but the

·7· · instructions in the protocol say to, you know,

·8· · reconstitute.

·9· · · · · · · · You know, it's not -- the instructions --

10· · it's a little confusing, I think, for a layperson to

11· · keep up with what needs to be prepared according to

12· · what instructions, especially if something were to

13· · change.

14· · · · · · · · MR. SUTHERLAND:· We'll make the midazolam

15· · and potassium chloride instructions Exhibits 6 and 7.

16· · BY MR. SUTHERLAND:

17· · Q.· · · In Section 8 -- I'm sorry.

18· · · · · · · · In Section 6 of your report you talk

19· · about:· The procedures described in the protocol are

20· · not being followed as written, which can lead to many

21· · potential errors, and I'd like to ask you about that.

22· · · · · · · · The first one you mentioned in

23· · paragraph 26 is the protocol requires LIC on hand to

24· · be monitored for expiration dates?

25· · A.· · · Yes.



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·1· · Q.· · · And that that procedure is not being

·2· · followed?

·3· · A.· · · Right.

·4· · Q.· · · Do you have information to believe currently

·5· · that TDOC has ever used any expired LIC?

·6· · A.· · · So in one of the testimonies I had a

·7· · question, because I did read one of the statements

·8· · and it did appear that the medication -- and, again,

·9· · I can only use the records that I have.· I was not

10· · there.

11· · Q.· · · Yeah.

12· · A.· · · And so I can only look and see what you had

13· · at the time and what was legible as well, and what's

14· · also not redacted.· So those are some of the issues

15· · that I ran into.

16· · · · · · · · It's sometimes difficult to trace which

17· · medication are we talking about.· But to the best of

18· · my abilities, I was trying to follow to see if there

19· · were any medications that could potentially have been

20· · used that were expired, so --

21· · Q.· · · Do you have any -- and maybe we are getting

22· · to that, but in paragraph 27 you talk about midazolam

23· · for Donnie Johnson.

24· · A.· · · Yes.

25· · Q.· · · And I want to talk about that one in a



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·1· · minute.

·2· · · · · · · · Other than that, do you have any other

·3· · information that the TDOC has ever used an expired

·4· · LIC?

·5· · A.· · · Do I have any information?

·6· · Q.· · · Yes.· Do you have any information in front of

·7· · you, other than what we are going to talk about in

·8· · paragraph 27, that the TDOC has ever used any expired

·9· · lethal injection chemical?

10· · A.· · · Well, the ones that were used two hours after

11· · preparation instead of one hour, those would be

12· · considered expired, so --

13· · Q.· · · Let's set that aside.· Anything else?

14· · A.· · · I can go back and look at the records.

15· · Q.· · · As you sit here right now, do you have any

16· · other information?

17· · A.· · · No, I don't think so.

18· · Q.· · · Okay.· So let's look at paragraph 27.

19· · Because you don't mention anything in your report

20· · other than this in paragraph 27, and what we talked

21· · about earlier about the immediate use.

22· · · · · · · · So have you -- you say that:· The drug

23· · procurer testified based on a log prepared by the

24· · pharmacy there was no unexpired midazolam in TDOC's

25· · possession between May 1, 2019 and July 16, 2019.



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·1· · However, Donnie Johnson was executed on May 16th of

·2· · 2019.

·3· · · · · · · · Have you seen records that show you that

·4· · Tennessee Department of Corrections did, in fact,

·5· · have unexpired midazolam in its possession when

·6· · Donnie Johnson was executed since you wrote this

·7· · report?

·8· · A.· · · I don't remember.· I believe I had logs of

·9· · all of or a majority -- I'm not sure if I had all of

10· · the logs, because I don't know what all records you

11· · had.· But I had some logs of the medications and when

12· · they were received and when they were -- what their

13· · beyond use date was or what their expiration was.                  I

14· · would have to go back and look at the logs that were

15· · provided.

16· · · · · · · · MR. SUTHERLAND:· Rob, can you pull up, I

17· · guess, what is actually identified as -- it should be

18· · Exhibit 8, but it's going to be Exhibit 6 on what I

19· · gave you.· It's records of midazolam for Donnie

20· · Johnson.

21· · · · · · · · THE WITNESS:· Actually, that statement,

22· · now that I'm reading it, this is something that the

23· · drug procurer had stated.· That was in the drug

24· · procurer's testimony or deposition, I should say,

25· · where that statement came from.



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·1· · BY MR. SUTHERLAND:

·2· · Q.· · · I understand.· I just want to make sure that

·3· · you have reviewed -- all right.

·4· · · · · · · · Do you see on page 29 where it says,

·5· · "Donnie Edward Johnson, midazolam 50 milligrams

·6· · injection solution"?

·7· · · · · · · · MS. LEONARD:· I'm sorry.· Are you

·8· · planning to send this our way, Rob?

·9· · · · · · · · MR. SUTHERLAND:· Yeah, you have

10· · already --

11· · · · · · · · MR. MITCHELL:· I'm sorry, I forgot to

12· · send it.· Let me unshare and send it.· Give me

13· · 20 seconds.

14· · · · · · · · MS. LEONARD:· Thanks.· It's fine if you

15· · want to keep going, I just want to make sure that

16· · that's on its way.

17· · · · · · · · MR. SUTHERLAND:· No, I'll wait until she

18· · has it in front of her.

19· · · · · · · · (WHEREUPON, a document was marked as

20· · Exhibit Number 8.)

21· · BY MR. SUTHERLAND:

22· · Q.· · · Dr. Almgren, it's page 29 of that.· This is

23· · the group of documents you were provided that

24· · resulted, as I understand it, in your supplemental

25· · report.



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·1· · A.· · · Got it.

·2· · Q.· · · On page 9 there's a -- 29, I'm sorry.

·3· · A.· · · Is this being sent to me as well?

·4· · · · · · · · MS. LEONARD:· Not yet.· I don't have it

·5· · yet either, unfortunately, but as soon as I have it,

·6· · I'll forward it.

·7· · · · · · · · I just got it.· I sent it, so hopefully

·8· · another couple of seconds.

·9· · · · · · · · MR. SUTHERLAND:· Let me know when you

10· · have got it, Dr. Almgren.

11· · · · · · · · THE WITNESS:· So far, nothing.· Okay, it

12· · just came through.

13· · BY MR. SUTHERLAND:

14· · Q.· · · When you open that up, if you would scroll

15· · through those documents and tell me if those are the

16· · 38 pages that were provided to you that resulted in

17· · your supplemental report?· That's my first question.

18· · A.· · · I believe, but I'm not 100 percent sure,

19· · because a couple of these look -- there's a couple of

20· · them upside-down, but I'm not sure they looked like

21· · this in my file.

22· · Q.· · · Well, your report says you were provided with

23· · Defendant's Supplemental Response 1118, pages 000001

24· · through 38.· Do you think these are the documents

25· · that you got?



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·1· · A.· · · They do look familiar.· I'm assuming they are

·2· · the same.

·3· · Q.· · · So I want to take you to page 29.

·4· · A.· · · Okay.

·5· · Q.· · · Do you see where it says Donnie Edward

·6· · Johnson?

·7· · A.· · · Yes.

·8· · Q.· · · And this prescription is dated 4-16-2019, do

·9· · you see that?

10· · A.· · · Yes.

11· · Q.· · · Okay.· If that midazolam was frozen

12· · midazolam, how many days is that frozen midazolam

13· · good if it stays frozen?

14· · A.· · · Forty-five days.

15· · Q.· · · What's roughly 45 days from April 16th?

16· · A.· · · So, yes, so 45 days is the general beyond use

17· · date; that's how we establish it by USP.

18· · Q.· · · I'm asking you, how many days is 45 days from

19· · April 16th, roughly?

20· · A.· · · I guess the end of May, early June.

21· · Q.· · · So if this midazolam for Donnie Edward

22· · Johnson was frozen and it was maintained properly at

23· · a frozen temperature, it would have been good until

24· · the end of May, early June; right?

25· · A.· · · Well, let me bring this up again.



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·1· · Q.· · · Can you answer that as yes or no?

·2· · A.· · · No, I cannot, because I have to explain my

·3· · answer.· I'm sorry.

·4· · Q.· · · Okay.

·5· · A.· · · My answer is following.· So typically we

·6· · establish beyond use date based on USP 797, 45 days.

·7· · Yes.

·8· · · · · · · · However, let's say when I compound and I

·9· · have multiple ingredients that I add -- so it's one

10· · thing if I only have midazolam.· If the only thing

11· · I'm adding is midazolam into sterile syringe for

12· · injection, and both of them have expiration set by

13· · the manufacturer as a year from now, six months from

14· · now, then I can safely assume that the beyond use

15· · date according to USP 797 would be 45 days.

16· · · · · · · · However, if I'm adding multiple

17· · additives, so maybe I adjust the Ph, maybe I'm adding

18· · a stabilizer, so I'm doing a formulation that goes

19· · beyond just these two ingredients, if I add other

20· · ingredients, now I have to look at the expiration of

21· · each ingredient separately.

22· · · · · · · · And if any of the ingredients expire

23· · before the 45 days, then my BUD will be that date.

24· · So I cannot -- so following up on that -- I'm sorry.

25· · · · · · · · Following up on that, if, let's say, I



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·1· · get a compound from a pharmacy, I cannot -- and it

·2· · does not have a BUD written on it, I cannot safely

·3· · assume that it is good for the next 45 days, as long

·4· · as it's frozen, from the date it was compounded.

·5· · · · · · · · I have to contact the pharmacy and say:

·6· · What is your beyond use date?· What did you do?

·7· · · · · · · · Because a lot of times these excipients

·8· · may have a shorter expiration, and so you may not

·9· · have 45 days expiration on the product just because

10· · that's normally what's given.

11· · Q.· · · Dr. Almgren, what does the prescription say

12· · discard after?

13· · A.· · · Where does it say that?

14· · Q.· · · Under midazolam.

15· · A.· · · 5-31-2019?

16· · Q.· · · Yes.

17· · A.· · · So that's the prescription.· What are you

18· · asking me?

19· · Q.· · · It says, discard after 5-31-2019; does it

20· · not?

21· · A.· · · All right.· But that's written -- that

22· · prescription is not written by the pharmacist; is it?

23· · Q.· · · I'm asking you if this record is a -- is part

24· · of a prescription of midazolam that was issued on

25· · 4-16-2019 that says discard after 5-31-2019 for



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·1· · Donnie Johnson?

·2· · A.· · · Who said to discard after?· That is my

·3· · question.· Because that should not be -- I assume the

·4· · prescription came from the physician, right?

·5· · Q.· · · I'm talking about, what does this look like?

·6· · Doesn't this look like what comes with prescribed

·7· · medication from the pharmacy?

·8· · A.· · · I do not know.· Okay.· So my question is,

·9· · what is it?· I do not know.· I am assuming that this

10· · is a prescription.

11· · · · · · · · I do not know what it is, because

12· · everything on here, except the name of the person,

13· · the address, and the actual prescription, is

14· · redacted.

15· · · · · · · · So for me this was an assumption that

16· · this is a prescription, some type of a medical order

17· · that came across.· Is that not what this is?

18· · Q.· · · When you pick up a prescription at the

19· · pharmacy, you get a piece of paper that has your name

20· · and the type of medication, and it has the date that

21· · it's -- the 4-16-2019 date, the date that it's given

22· · to the patient --

23· · A.· · · Written.

24· · Q.· · · -- or written, and then it has a discard date

25· · on it, doesn't that look like what this piece of



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·1· · paper is that comes with the prescription?

·2· · A.· · · The doctor does not set beyond use date of

·3· · the prescription.

·4· · Q.· · · No, I'm saying --

·5· · A.· · · It's the pharmacist who does that.· So the

·6· · discard after 5-31, that may be written by the

·7· · physician.

·8· · Q.· · · Yeah.· If the beyond use date on this

·9· · prescription for midazolam was 5-31, then the TDOC

10· · had unexpired midazolam; didn't it?

11· · A.· · · No.· Because, is this a prescription?· This

12· · is my -- or is this a label from the vial?· I do not

13· · know.· What is this record?· Please clarify.· What is

14· · it?

15· · Q.· · · I'm asking you if this prescription was

16· · filled on April 16th, frozen, and it had a 45-day

17· · beyond use date, which would be around the end of May

18· · or first of June, there was no -- there was no

19· · expired midazolam in the possession of TDOC; was

20· · there?

21· · · · · · · · MS. LEONARD:· Objection to form.

22· · · · · · · · THE WITNESS:· Can you repeat the

23· · question?· I'm sorry, I lost you halfway through.

24· · BY MR. SUTHERLAND:

25· · Q.· · · I'm going to move on.



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·1· · A.· · · My question for you is -- I can't answer

·2· · when -- if this is a prescription, the prescription

·3· · is not dated.

·4· · · · · · · · The doctor is not the one that specifies

·5· · beyond use dating.· This what you are showing me, is

·6· · this a prescription, or is this a label from the vial

·7· · or some kind of a transfer record?· That is what I

·8· · am --

·9· · Q.· · · This record came from the pharmacy.

10· · A.· · · It's confusing.

11· · Q.· · · Does that help you?

12· · A.· · · Yes.

13· · Q.· · · And what does that tell you then?

14· · A.· · · Well, that tells you what the -- when it was

15· · prepared and who -- and who it was for, and when it

16· · was to be discarded by, but that is not what the

17· · records said.· That's not what the procurer had in

18· · the records.

19· · Q.· · · In Section 7, starting on page 10 of your

20· · report, you talk about questionable lethal injection

21· · chemical shipping and storage conditions.· I'll talk

22· · to you a little bit about that.

23· · · · · · · · In paragraphs 28 and 29 and 32, you talk

24· · about the LICs storage not being properly monitored.

25· · According to what?



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·1· · A.· · · According to the records that were provided

·2· · for my review and the procurer's statements.

·3· · Q.· · · Yeah.· You talk about how USP 797 requires --

·4· · it is important to monitor temperature regularly to

·5· · assure that LICs are stored in acceptable temperature

·6· · ranges.

·7· · · · · · · · How do you monitor temperature ranges

·8· · when you give compounded medications to a patient?

·9· · A.· · · I'm talking about storage conditions.

10· · Q.· · · I'm saying, how does the compounding

11· · pharmacist monitor temperatures once they are given

12· · to a patient?

13· · A.· · · Well, once they are given to the patient,

14· · they are gone.· They have been given to the patient.

15· · Q.· · · You don't have any way -- you don't have any

16· · way of monitoring temperatures, do you?

17· · A.· · · I don't understand the question.· Do you

18· · mean --

19· · Q.· · · Well, you --

20· · A.· · · No, no.· I mean, are you talking about -- the

21· · compounded --

22· · Q.· · · Listen to me.· Let me ask the question.· You

23· · answer the question.

24· · · · · · · · Compounding pharmacists compound

25· · preparations.



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·1· · A.· · · Yes.

·2· · Q.· · · They give them to patients, the patients take

·3· · them home.· Those compounded preparations aren't

·4· · monitored for temperature after they leave the

·5· · pharmacy.

·6· · · · · · · · You are talking about -- the types of

·7· · continuous monitoring process you are talking about

·8· · is in a hospital setting or at the pharmacy.

·9· · A.· · · So this is -- keep in mind that these

10· · medications -- we would not dispense a medication

11· · that is to be stored in a deep freeze to a patient to

12· · take home, because nobody at home will have this type

13· · of a freezer setup.

14· · · · · · · · So these types of medications would

15· · definitely be stored in a healthcare setting, whether

16· · an oncology practice, home infusion in a hospital; we

17· · have freezers in which we store the medications.

18· · · · · · · · I mean, you would not dispense -- I

19· · cannot imagine dispensing like a deep frozen compound

20· · to a patient to take home, unless they are going to

21· · use it within -- you know, they are taking it home to

22· · use right away.· But you would not -- this is

23· · something -- you know, this is not a normal, common

24· · practice.

25· · · · · · · · And, you know, even according to USP 797,



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·1· · a compounding facility is responsible to ensure that

·2· · the compounded sterile products, you know, maintain

·3· · their quality until they are administered.

·4· · · · · · · · So, you know, we will, you know, advise

·5· · the patients, you know.· Like, for example, if we

·6· · dispense a TPN, total parenteral nutrition product,

·7· · those need to be refrigerated.

·8· · · · · · · · So instructions to the patient would be:

·9· · Take this home, use it within this long, and keep it

10· · in the refrigerator and, you know, maintain the

11· · temperature.

12· · Q.· · · How long?

13· · A.· · · A day, two.· I mean, it depends on -- you

14· · know, maybe 24 hours.· You know, it depends on --

15· · Q.· · · Could it be longer?

16· · A.· · · I mean, we ask the patient to monitor to make

17· · sure that the temperatures do not get outside of the

18· · range, because that's very, very concerning if you

19· · have a total parenteral nutrition product that's not

20· · stored properly; it's very, very dangerous.

21· · Q.· · · Do you think that patients monitor the

22· · temperature of their refrigerators?

23· · A.· · · I mean, they need to.· And we have -- a lot

24· · of times what we do -- let me finish.

25· · · · · · · · A lot of times what we'll do is we'll



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·1· · include a monitoring little strip.· It's a part of

·2· · the packaging of the product, and basically that

·3· · strip will alert you when the product is not to be

·4· · used because the temperature has gone outside of the

·5· · range.

·6· · Q.· · · Those are commonly used in a compounding

·7· · practice when you are shipping --

·8· · A.· · · Right.

·9· · Q.· · · -- compounds, right?

10· · A.· · · Yes, exactly.· Those are used when you are --

11· · yes, when you are transporting it and you want to

12· · make sure that it stays within the range.

13· · Q.· · · In Section 7 of your report you talk about:

14· · Analytical reports for compounded medications are not

15· · in compliance with USP requirements.

16· · A.· · · Are we moving on to the second supplemental

17· · report?

18· · Q.· · · No.· If you look at page 11.

19· · A.· · · Page 11, got it.· Okay.

20· · Q.· · · The majority of analytical reports for

21· · compounded medications are not in compliance with USP

22· · requirements.

23· · A.· · · Yes.

24· · Q.· · · As per current USP compendium, there does not

25· · appear to be adequate action taken by the pharmacist,



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·1· · drug procurer, or any other TDOC member to address

·2· · this issue.

·3· · · · · · · · You discuss the testing on midazolam and

·4· · potassium chloride.

·5· · · · · · · · When you talk about assay, are you

·6· · talking about potency?

·7· · A.· · · So it can be, yes.· Potency and assay can

·8· · sometimes be -- you are basically looking to see the

·9· · strength or -- you know, sometimes assay can refer,

10· · you are looking at the purity, sometimes it's just

11· · the strength of the solution.

12· · Q.· · · So I guess my question to you is, you list

13· · all of the testing for midazolam and potassium

14· · chloride on pages 13 and 14.· So what is -- what is

15· · it that you -- tell me your concerns about the

16· · testing that was performed.

17· · · · · · · · MS. LEONARD:· Objection to form.

18· · · · · · · · THE WITNESS:· So the testing itself, you

19· · know, there are USP requirements in terms of what you

20· · should test for.· And actually your lethal injection

21· · protocol states that the product should be tested as

22· · per USP.

23· · · · · · · · So, you know, so you obviously request

24· · this testing to be done, which makes perfect sense,

25· · because for such an important purpose you want to



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·1· · make sure that the medications are potent, that they

·2· · have the potency and they are made appropriately.

·3· · · · · · · · So, unfortunately, the testing shows that

·4· · these medications are not always within the specs

·5· · that they should be.· And then some of the testing

·6· · was simply not done.

·7· · · · · · · · You know, at times -- this is important

·8· · testing that really should be done.· Like the Ph, why

·9· · was Ph not done?· I mean, that's an important test

10· · that, you know, basically tells you if the medication

11· · can be applied safely.

12· · BY MR. SUTHERLAND:

13· · Q.· · · So let me ask you this.· As I understand it,

14· · you are saying in paragraph 34 that laboratory

15· · testing for midazolam following the USP monograph for

16· · midazolam injection, it lists these A through F,

17· · right?

18· · A.· · · Yes.

19· · Q.· · · And so on page 13 you go through the

20· · midazolam, these tests for midazolam, and you say:

21· · None of the compounded preparations of midazolam meet

22· · all USP quality standards because not all of the

23· · tests required have been performed.

24· · A.· · · Right.

25· · Q.· · · Is that what you are saying the problem is,



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·1· · is that the tests in A through F in paragraph 34

·2· · haven't been performed for each?

·3· · A.· · · Some of them have not been performed.· And

·4· · there are a couple of instances where the tests

·5· · actually were failures.· I think there was one where

·6· · the assay failed.

·7· · Q.· · · Which one was that?

·8· · A.· · · When you look at the next page.

·9· · Q.· · · The second one?

10· · A.· · · Yes.

11· · Q.· · · Okay.· And do you know what happened to that

12· · midazolam?

13· · A.· · · I don't remember.· I do not know.· Was it

14· · used?

15· · Q.· · · I'm just asking you if you know.

16· · · · · · · · Do you know what happened to that

17· · midazolam in that entry?

18· · A.· · · No.

19· · Q.· · · You are not assuming it was used, are you?

20· · A.· · · Am I assuming it was used?

21· · Q.· · · I said, you aren't assuming that it was used,

22· · are you?

23· · A.· · · I hope it was not, considering it didn't pass

24· · the quality control.

25· · Q.· · · You don't know what was done with it?



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·1· · A.· · · I'd have to go back and look at the records.

·2· · Q.· · · So other than that one, your concerns deal

·3· · with the lack of completing the A through F tests for

·4· · midazolam, right?

·5· · A.· · · Correct.

·6· · Q.· · · Okay.· And that would be the same on page 14

·7· · for the testing of potassium chloride A through E.

·8· · · · · · · · The one concern you would have would be

·9· · that all of the tests in A through E weren't

10· · performed, right, or based on the records that you

11· · saw; right?

12· · A.· · · Right.· I'm looking and I see that.· Yes,

13· · there are a number of failures.· The potassium

14· · chloride appears to have a number of failures.· There

15· · were two failed products --

16· · Q.· · · Right.

17· · A.· · · -- with the potency outside of the range.

18· · Q.· · · Right.· But I'm asking you, one concern you

19· · have is that there are five tests, 37 A through E,

20· · that you would say you don't have a record were

21· · performed?· That's one concern, right?

22· · A.· · · Well, in my statement I say all of the

23· · samples tested for potency failed, so --

24· · Q.· · · If you will just answer my -- if you will

25· · just listen to my question.



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·1· · · · · · · · MS. LEONARD:· Scott, can you please let

·2· · her finish?

·3· · · · · · · · MR. SUTHERLAND:· Well, I'm trying to

·4· · finish my question, Lynne.

·5· · · · · · · · MS. LEONARD:· I know.· I think that you

·6· · asked a question and she started answering, and then

·7· · she was cut off about halfway.

·8· · · · · · · · MR. SUTHERLAND:· Okay.

·9· · BY MR. SUTHERLAND:

10· · Q.· · · My first question to you, Dr. Almgren, is

11· · this:· One of the concerns that you have, is it not,

12· · is that in paragraph 37, A through E tests that you

13· · talk about as required and specified by USP for

14· · potassium chloride, one concern you have is not all

15· · of those tests were performed, based on the records

16· · you reviewed; is that correct?

17· · A.· · · Correct.

18· · Q.· · · All right.· And another concern you have, of

19· · course, is that in paragraph 38 there are two tests

20· · for potency that failed; is that correct?

21· · A.· · · Yes.

22· · Q.· · · You don't know what was done with the

23· · potassium chloride that failed, do you?

24· · A.· · · I do not know.· What concerns me is the fact

25· · that this pharmacy is having issues with preparing



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·1· · the drugs when the potency fails.· That's a very

·2· · serious concern that shouldn't have happened.

·3· · Q.· · · If they prepare potassium chloride that's

·4· · sent off for testing and it does satisfy the potency

·5· · requirement, that wouldn't concern you; would it?

·6· · · · · · · · MS. LEONARD:· Objection to form.

·7· · · · · · · · THE WITNESS:· Is it the same pharmacy

·8· · that prepared all of the previous lots that had

·9· · failed?

10· · BY MR. SUTHERLAND:

11· · Q.· · · Yes.

12· · A.· · · I would like to see some more steady record

13· · that they are able to prepare drugs properly, this is

14· · not just the lucky one.

15· · Q.· · · So you are saying that if the pharmacy had a

16· · test that said that it passed for potency of

17· · potassium chloride, you would have a problem with

18· · that?

19· · · · · · · · MS. LEONARD:· Objection to form.

20· · · · · · · · THE WITNESS:· I wouldn't have a problem,

21· · but I would be concerned.· Just as I would be

22· · concerned if I know a pharmacy has problems with

23· · their records, with their quality compounding.

24· · · · · · · · I mean, I can ask you the same question.

25· · Would you be comfortable with having medication



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·1· · compounded for your two-year-old in a pharmacy that

·2· · has issues with quality?· Would you be okay with

·3· · that, when you know the pharmacy is having lots of

·4· · issues with their compounds that are made

·5· · inaccurately?

·6· · · · · · · · I would not be comfortable with that.

·7· · BY MR. SUTHERLAND:

·8· · Q.· · · In Section 10, starting at the bottom of

·9· · page 15, you talk about:· Compounding logs and

10· · facility records are necessary to ascertain whether

11· · the pharmacy is meeting quality requirements.· Do you

12· · see that on page 16?

13· · A.· · · Yes.

14· · Q.· · · Did you receive some records, compounding

15· · records?

16· · A.· · · Yes.· I have received some limited number of

17· · pages, some of the compounding records, and I have

18· · supplied an additional supplemental report addressing

19· · those.

20· · Q.· · · Let's talk about that.· So as I read your

21· · supplemental report, you raised three primary issues.

22· · You can correct me if I'm wrong.

23· · · · · · · · One has to do with your review of the

24· · records, indicating that API was obtained from

25· · sources where the API was manufactured under the



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·1· · European Pharmacopeia or the British Pharmacopeia,

·2· · and that those APIs haven't been tested against a USP

·3· · monograph; is that fair?

·4· · A.· · · Yes.

·5· · · · · · · · MS. LEONARD:· Objection to form.

·6· · BY MR. SUTHERLAND:

·7· · Q.· · · What was your answer, Dr. Almgren?

·8· · A.· · · Yes.

·9· · Q.· · · Okay.· And tell me a little bit more about

10· · that.

11· · · · · · · · MS. LEONARD:· Objection to form.

12· · · · · · · · THE WITNESS:· What exactly would you like

13· · to know?

14· · BY MR. SUTHERLAND:

15· · Q.· · · Well, the general -- your general objection

16· · to that.

17· · A.· · · Well --

18· · Q.· · · It says the API that were manufactured under

19· · EP and BP.· Once obtained, tell me what the problem

20· · with that is.

21· · A.· · · Well, in general, in order to compound and

22· · prepare a USP-grade medications, you have to start

23· · off with a USP grade API, so pharmaceutical grade

24· · according to USP regulations.

25· · · · · · · · So when you receive a drug, typically



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·1· · from foreign sources, because that would be the main

·2· · reason why they would not have necessarily the USP

·3· · quality records -- when you receive these medications

·4· · from foreign sources, you definitely need to test

·5· · them according to USP, because the USP may have, and

·6· · a lot of times it does have, a different set of

·7· · standards than the EP or BP.

·8· · · · · · · · And those different quality standards are

·9· · not harmonized, so you can't just assume that because

10· · it passes EP, that it passes USP as well.· So you

11· · need to basically take the product or the API and

12· · test it according to USP prior to use to assure that

13· · it meets the USP standards.

14· · Q.· · · And how do you do that?

15· · A.· · · You send it -- if you don't have a lab, you

16· · send it to a contract lab that has USP testing that's

17· · familiar with the methodology.

18· · Q.· · · On page 6 and 7 and 8 and 9 of your

19· · supplemental report, this encompasses Section II of

20· · the supplemental report, it says:· Poor recordkeeping

21· · practices.

22· · A.· · · Yes.

23· · Q.· · · Did you identify any recordkeeping practices,

24· · others that you did not put in here?

25· · A.· · · Well, there's a lot of lack of records, yes.



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·1· · So that's the biggest concern.· So, I mean, I know

·2· · that's a number of concerns that I had.

·3· · Q.· · · The concerns that you have are in your

·4· · supplemental report?

·5· · A.· · · Yes.· And really there are more that would

·6· · just expand further on these.· It's such a lack of

·7· · records, that I really wonder if they are there and

·8· · they just have not been disclosed.· And my hope and

·9· · assumption is that there are, but I don't know.

10· · · · · · · · For example, calibration logs for your

11· · balances, those types of things, that's lacking too.

12· · You know, I didn't even go into great detail about

13· · that.· My assumption is that, of course, they would

14· · have it, but I don't know.

15· · · · · · · · You know, another concern I have is the

16· · quality of the glassware that they use, what class

17· · glass did they use.· Again, not mentioned.· My

18· · assumption is they use appropriate, but I don't know.

19· · · · · · · · MR. SUTHERLAND:· Rob, can you pull up, I

20· · guess, what will be Exhibit 9.· It will be a

21· · 4-21-2017 Nephron Pharmaceuticals Corporation 483.

22· · · · · · · · (WHEREUPON, a document was marked as

23· · Exhibit Number 9.)

24· · · · · · · · MS. LEONARD:· Rob, if you could send that

25· · my way too, I'll send that along to Dr. Almgren.



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·1· · · · · · · · MR. MITCHELL:· It is on its way.

·2· · · · · · · · MS. LEONARD:· Great, thanks.

·3· · · · · · · · MR. SUTHERLAND:· Let me know when you

·4· · have it, Dr. Almgren.

·5· · · · · · · · THE WITNESS:· Yes.

·6· · BY MR. SUTHERLAND:

·7· · Q.· · · While you are waiting on that, so if you can,

·8· · again, remind me what a Form 483 is as it relates to

·9· · a 503B compounding pharmacy.

10· · A.· · · Basically when you have an inspection, you

11· · may be issued a Form 483 if there have been any

12· · issues discovered with the quality of the products.

13· · · · · · · · I mean, mostly CGMP-related type of

14· · issues, if you are violating any kind of procedures,

15· · so that may translate to impacting the quality of

16· · your product, obviously.· That's what I mean.

17· · Q.· · · Are you familiar with Nephron Pharmaceuticals

18· · having been issued Form 483s before?

19· · A.· · · We have in the past, yes.

20· · Q.· · · And this one in particular which is dated

21· · April 21st of 2017, which would predate your working

22· · there, it contains two observations; is that right?

23· · A.· · · Are you asking me?

24· · Q.· · · I am asking you, yes.

25· · A.· · · I don't have the document.· It's really small



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·1· · on my screen.· I'm waiting for it to come across, so

·2· · I'm sorry.

·3· · Q.· · · Can you see the screen that's being shared?

·4· · A.· · · It's very small, I have to really come close

·5· · to see it.· I have a small laptop.· Okay, that's

·6· · better.

·7· · · · · · · · MS. LEONARD:· And I just sent it by email

·8· · to you, so hopefully it will be there in another

·9· · minute or two.

10· · · · · · · · THE WITNESS:· Thank you.

11· · BY MR. SUTHERLAND:

12· · Q.· · · So do you see this Exhibit 9, which is -- is

13· · it a Form 483 that was issued to Nephron

14· · Pharmaceuticals Corporation?

15· · A.· · · Yes, that's what it appears to be.

16· · Q.· · · The outsourcing facility.· Is that the

17· · outsourcing facility that you work with?

18· · A.· · · Yes.

19· · Q.· · · Again, just to be clear, this is dated

20· · April 21st, 2017, which is before you started working

21· · with them.

22· · A.· · · Correct.

23· · Q.· · · But what is Observation 1 in that 483?

24· · A.· · · So the observations, Observation 1 says, the

25· · procedure is designed to prevent microbiological



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·1· · contamination of the drug product.

·2· · · · · · · · I guess we were not -- did not perform

·3· · aseptic process simulation.· Oh, we have not

·4· · performed aseptic process simulation to validate.                  I

·5· · am not familiar with this one in particular, but I'm

·6· · just reading to see what it means.

·7· · · · · · · · So, obviously, we have not performed the

·8· · aseptic process simulations to validate phenylephrine

·9· · hydrochloride aseptic sterilization process to

10· · provide evidence and assurance that sterility is

11· · maintained throughout the activities of the process,

12· · okay?

13· · Q.· · · Okay.

14· · A.· · · Yes.

15· · Q.· · · So what does that mean?

16· · A.· · · So we have not performed the media fill test

17· · for that particular equipment for that particular

18· · product.

19· · Q.· · · And what would happen if you didn't do that,

20· · potentially?

21· · A.· · · So you see, I do not know the background, so

22· · I can only guess.· But let me just give you a little

23· · bit of a -- little bit of a background with this

24· · particular procedure.

25· · · · · · · · So the way that we typically validate the



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·1· · process to demonstrate sterility is we perform media

·2· · fill test.· So media fill test is basically performed

·3· · by using sterile media, and you mimic the procedure

·4· · that you are doing.

·5· · · · · · · · And so basically you run the media fill

·6· · through the system that you normally would run a

·7· · sterile preparation through.· Then you incubate the

·8· · media, and if there is any bacterial contamination,

·9· · it will flag and show you that that's a quality

10· · issue.

11· · · · · · · · So I don't know the details and I would

12· · have to go back and ask what happened, but what my

13· · guess is, that we did not perform media fill for that

14· · specific product.

15· · Q.· · · So if you don't do that, what can potentially

16· · happen?

17· · A.· · · Well, this is the catch here.· A lot of times

18· · we perform the simulation for the equipment, and I

19· · think that's what may have happened.· This could

20· · really be a matter of paperwork, because --

21· · Q.· · · Wait.· Stop for a second.· You are not

22· · answering my question.

23· · · · · · · · My question is:· If you don't do what

24· · they cited in this observation, what can happen?

25· · · · · · · · MS. LEONARD:· Scott, do you think you



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·1· · could be a little more specific or rephrase the

·2· · question?· I think that --

·3· · · · · · · · MR. SUTHERLAND:· She wasn't -- sure.

·4· · · · · · · · THE WITNESS:· I'm just confused.

·5· · · · · · · · MR. SUTHERLAND:· Yeah.

·6· · BY MR. SUTHERLAND:

·7· · Q.· · · Well, you weren't having any trouble earlier

·8· · talking about all of the potential problems with

·9· · doing things with the protocol.

10· · · · · · · · What I'm trying to ask you is, does this

11· · inspection reveal a deficiency dealing with aseptic

12· · technique?

13· · · · · · · · And I'm asking you what is the potential

14· · problem that could arise if you don't do this?

15· · A.· · · Okay.· So there is a two-prong answer.

16· · Q.· · · Okay.

17· · A.· · · So one prong is generally you will need to

18· · perform media fill test to validate your procedure to

19· · be able to demonstrate that you can prepare the

20· · products in a sterile way.· So that's the one prong.

21· · · · · · · · So, yes, if you do not perform the

22· · procedure, that means that you potentially could be

23· · producing products that may be contaminated.· So

24· · that's answer one.

25· · Q.· · · Okay.



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·1· · A.· · · In this case what could have happened, and I

·2· · would have to go back and verify --

·3· · Q.· · · Whoa, whoa, whoa.· Ma'am, wait a second.· I'm

·4· · not asking you what could have happened.· That's not

·5· · my question.· I don't care about what could have

·6· · happened.

·7· · · · · · · · I'm asking you, under this observation,

·8· · just like with these other questions I had about the

·9· · protocol and what's done, what can happen?· And I

10· · think --

11· · A.· · · Well --

12· · Q.· · · And you are telling me that contamination can

13· · occur; is that right?

14· · A.· · · Right.· But I need to explain the second part

15· · of this, because again, it will be taken out of

16· · context.

17· · · · · · · · What sometimes happens with the

18· · manufacturers is you perform the aseptic process

19· · simulation for a filling line, for manufacturing

20· · line, for one product.· And that product you say:

21· · Hey, we performed validation for -- I don't know --

22· · epinephrine.

23· · · · · · · · And so then that same line may have been

24· · used for phenylephrine following it, so technically

25· · you did not perform the validation for that process



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·1· · for the phenylephrine, but it has been validated for

·2· · other products ran on that same system.

·3· · · · · · · · And so because of that -- what we do now

·4· · is we perform validation that's system related.· Back

·5· · then, we performed validation that was product

·6· · related.

·7· · · · · · · · So you may have used the production line

·8· · for other products and it was validated, producing

·9· · perfectly safe products, but if you fail to document

10· · that, then you might have issues like this.

11· · Q.· · · You don't know what happened in this regard,

12· · do you?

13· · A.· · · Unfortunately, this was before I was there,

14· · so I do not know.

15· · Q.· · · What is observation -- what is Observation 2?

16· · A.· · · Okay.· So lab controls do not include the

17· · establishment of scientifically sound and appropriate

18· · test procedures designed to assure that components

19· · and drug products conform to appropriate standards of

20· · identity, strength, quality and purity.

21· · · · · · · · So we have obviously an SOP.· Which, by

22· · the way, I have to take pride in this.· This SOP has

23· · been updated after I started.· I actually had gone to

24· · special training for visual inspection, and I have

25· · revamped our visual inspection training completely.



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·1· · So this is not an issue anymore, I'm sure, but let me

·2· · read on.

·3· · · · · · · · So the current procedure, well, it says,

·4· · performing 100 percent visual inspection.· Do not

·5· · include a representative library.· Yes, yes, yes.

·6· · Okay.· So I understand.

·7· · · · · · · · So in order to develop properly your

·8· · visual inspection quality program, you have to

·9· · develop a library of potential defects.· And so this

10· · is where we were cited, because we have a very -- at

11· · the time, we had a very small library.

12· · · · · · · · So our library was relatively limited

13· · because we were just ramping up our 503B production.

14· · And so at the time I think our library of defects was

15· · much smaller than it is today.

16· · · · · · · · So this is something that we were cited

17· · for, and we have corrected, pretty much.

18· · Q.· · · What happens if you don't correct it?

19· · A.· · · So if you didn't correct it, you know -- and

20· · again keep in mind, so the way that the visual

21· · inspection library is used, so still -- as you see,

22· · we were performing 100 percent visual inspection.

23· · · · · · · · That was performed.· It's just that there

24· · are reference materials that we used for

25· · identification and for training were not up to date.



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·1· · Q.· · · What happens?· What happens?

·2· · A.· · · What happens what?

·3· · Q.· · · What happens if you don't fix it?

·4· · A.· · · Oh, no, we fixed it.

·5· · Q.· · · I said, what happens -- my question to you

·6· · is -- at the time it wasn't fixed.· And so my

·7· · question to you is:· What happened -- what would

·8· · happen if you didn't fix it?

·9· · A.· · · So what would happen is we would still detect

10· · the visual defect; so that part is done.· But we

11· · would not be able to identify what was the failure of

12· · the visual inspection defect.

13· · · · · · · · Does that make sense?· Because your

14· · library does not contain the potential contaminants

15· · that you may have discovered.

16· · Q.· · · You didn't have -- Nephron didn't have

17· · controls in place to assure that the components and

18· · its drug product conformed to appropriate standards;

19· · that's what it says, right?

20· · · · · · · · MS. LEONARD:· Objection to form.

21· · · · · · · · THE WITNESS:· That's a very general

22· · statement.· I would not say that.

23· · BY MR. SUTHERLAND:

24· · Q.· · · That's what the observation says:· Laboratory

25· · controls do not include the establishment of



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·1· · scientifically sound and appropriate test procedures

·2· · designed to assure that components and drug products

·3· · conform to appropriate standards of identity,

·4· · strength, quality and purity.

·5· · A.· · · Right.· So that's a general statement when

·6· · the inspector completes the form.· I'm pretty sure

·7· · that's an autopopulated statement when they perform

·8· · inspections of facilities, because do you see how

·9· · vague it is?· Do you see how kind of general it is?

10· · That is the reason.

11· · · · · · · · Yes.· I mean, it's generally true, but

12· · it's a very vague statement that's used to kind of

13· · encompass any kind of a quality control issues that

14· · stem in that particular department.

15· · Q.· · · What is Observation 3?

16· · A.· · · I don't see Observation 3.

17· · Q.· · · Do you see it now?

18· · A.· · · Yes.· The responsibilities and procedures

19· · applicable to the quality control unit are not fully

20· · followed.· Pretty straightforward.

21· · Q.· · · Tell me about that.

22· · A.· · · So that, again, I can only make assumptions

23· · based on what I read, because this was before I was

24· · there.

25· · Q.· · · Sure.



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·1· · A.· · · It says:· SOP 1501 supplier vendor quality

·2· · program is not fully followed in that you have not

·3· · established -- whatever it is -- as required by our

·4· · SOP with, blank, reviewed.

·5· · · · · · · · I'm assuming that probably is -- there is

·6· · an FDA list of suppliers.· There is a list of raw

·7· · materials suppliers that you are supposed to have.

·8· · And this is Nephron, when we just started being a

·9· · 503B outsourcing facility.

10· · · · · · · · And I am assuming -- again, I wasn't

11· · there -- but I'm assuming at the time when we

12· · started, we just were not aware that that was -- we

13· · were supposed to create a list.

14· · · · · · · · At least, that is my assumption.· But

15· · that's what it sounds like, that it is a list of

16· · suppliers that we were supposed to be able to

17· · provide.

18· · · · · · · · We do have it now.· We've had it years.

19· · Since I've been there, we've had it.· I'm assuming

20· · perhaps it was the correction for this citation, I

21· · don't know.

22· · Q.· · · What would happen if you don't have a list?

23· · A.· · · I mean, it may just be more of an

24· · administrative type of problem, because as long as

25· · you are receiving raw materials that are USP grade --



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·1· · and keep in mind, at Nephron we actually have labs

·2· · and most of our incoming raw materials we test

·3· · according to USP.

·4· · · · · · · · So we don't even necessarily even rely on

·5· · the USP certificates from the manufacturers.· We

·6· · actually do our own in-house testing to verify that

·7· · those procedures are -- you know, those quality

·8· · standards are met.· So we --

·9· · Q.· · · The FDA doesn't know that, though, do they?

10· · A.· · · Well, when they come -- no, no, they come to

11· · see our facility.· They saw our labs.

12· · · · · · · · But, you know, if you don't have the list

13· · for their review, then obviously that can become a

14· · citation because, you know, you are to have the list.

15· · · · · · · · Like I said, we do have it now.· But it

16· · does not necessarily mean -- and I'm pretty sure that

17· · our lab, you know, was testing all of the products,

18· · but I would have to go back to verify.

19· · · · · · · · But knowing Nephron, knowing our awesome

20· · management and how well they run the ship and

21· · having -- you know, keep in mind that we have a

22· · manufacturing background.· So the owners of Nephron

23· · have been doing this -- they have been in business

24· · for a long time, and so they are very familiar with

25· · the general CGMP.



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·1· · · · · · · · So I'm surprised that they did not have

·2· · this, but it might be something specific, because we

·3· · have -- now we have a lot more products that we work

·4· · with.

·5· · · · · · · · (An off-the-record discussion was held.)

·6· · BY MR. SUTHERLAND:

·7· · Q.· · · The reason you have to have a list is why,

·8· · Dr. Almgren?

·9· · A.· · · Well, one of the -- honestly, I don't know

10· · all of the regulations, so I guess I shouldn't go

11· · into great detail.

12· · · · · · · · But, in general, traceability, you know,

13· · make sure that you can verify your sources of APIs.

14· · Q.· · · Okay.· At the time these observations were

15· · made, you weren't able to do that?

16· · A.· · · I don't know what happened.

17· · Q.· · · Observation 4:· The container labels of your

18· · outsourcing facility's drug products are deficient.

19· · Specifically, the following products did not have

20· · your firm address and or phone number listed on the

21· · syringe label.

22· · · · · · · · Is that just a labeling issue?

23· · A.· · · It certainly sounds like it.

24· · Q.· · · What is glycopyrrolate?

25· · A.· · · It's a medication that we use for a variety



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·1· · of uses.

·2· · Q.· · · Like what?

·3· · A.· · · I see it commonly in geriatric patients where

·4· · they have drooling.· Excessive drooling can be one of

·5· · them.· There are a lot of different uses.· It's an

·6· · older drug.

·7· · Q.· · · I think there are five drugs listed.

·8· · Neostigmine, what is that?

·9· · A.· · · Neostigmine, yeah.

10· · Q.· · · Neostigmine, what is that?

11· · A.· · · If I'm not mistaken, that's used to reverse

12· · anesthesia.

13· · Q.· · · And atropine, what's atropine?

14· · A.· · · Again, many different uses; older drug.· It's

15· · anticholinergic.

16· · Q.· · · I'm sorry?

17· · A.· · · It's anticholinergic.

18· · Q.· · · Give an example.

19· · A.· · · It depends on, you know, the atropine can be

20· · used during anesthesia; it can be used for management

21· · of certain types of poisoning.

22· · · · · · · · They use it for your eyedrops when they

23· · do your vision test and they put those drops in your

24· · eyes to open your eye, pupils, so they can see the

25· · back of your eye.· So --



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·1· · Q.· · · What type of drug is it?

·2· · A.· · · What do you mean?

·3· · Q.· · · I'm sorry.· What did you say?

·4· · A.· · · Anticholinergic.

·5· · Q.· · · Phenylephrine?

·6· · A.· · · Phenylephrine.

·7· · Q.· · · What is that?

·8· · A.· · · Medication used for managing your blood

·9· · pressure; people are in shock.

10· · Q.· · · And then what's that last one?

11· · A.· · · Succinylcholine.

12· · Q.· · · Yeah.· And what's that for?

13· · A.· · · Succinylcholine, let me think.· I think that

14· · one is used -- you see, I don't practice in this

15· · area.

16· · · · · · · · My area of expertise is really sterile

17· · compounding, and, you know, handling of the drugs,

18· · the regulations that come with that.· So, you know,

19· · keep that in mind.· I feel like I'm here on a

20· · pharmacy drug quiz.

21· · Q.· · · So these container labels -- I mean, what are

22· · these that weren't properly labeled?· What are these

23· · drugs being used for?· What are they -- why are they

24· · at Nephron?· Does that make sense?

25· · A.· · · They are shortage drugs, and so that's why we



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·1· · made them at the time.· I'm not sure we make any of

·2· · them at this point.

·3· · · · · · · · I know we make -- I think we make

·4· · phenylephrine, but I think the neostigmine we maybe

·5· · off or on.· The atropine I don't think we make right

·6· · now.· Succinylcholine I'm not sure we make right now.

·7· · · · · · · · You know, being a 503B outsourcing

·8· · pharmacy, you can only make medications that are on

·9· · the FDA shortage list, and so we make those.

10· · Q.· · · So these were compounded drugs?

11· · A.· · · Yes.· 503B compounded drugs, yes.

12· · Q.· · · And so you get this Form 483, and then what

13· · happens?

14· · · · · · · · MS. LEONARD:· Objection to form.

15· · · · · · · · THE WITNESS:· So it depends on your

16· · management.· I mean, obviously, you address all of

17· · the issues that you can as soon as possible.

18· · · · · · · · MR. SUTHERLAND:· Rob, can you put up what

19· · will be Exhibit 10.· It should be a Form 483 from

20· · April 20, 2018.

21· · · · · · · · MR. MITCHELL:· And as always, it's

22· · en route.

23· · · · · · · · MS. LEONARD:· Okay.

24· · · · · · · · (WHEREUPON, a document was marked as

25· · Exhibit Number 10.)



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·1· · BY MR. SUTHERLAND:

·2· · Q.· · · So just for the record, Dr. Almgren, this

·3· · appears to be a Form 483 issued on April 20th of 2018

·4· · to Nephron Sterile Compounding Center.

·5· · · · · · · · Again, is that the compounding facility

·6· · that you work for?

·7· · A.· · · Yes.

·8· · Q.· · · What's the observation listed in this 483?

·9· · A.· · · This was the -- I am fully aware of this one,

10· · because even though this happened before I have

11· · really joined Nephron, I believe, but I have heard of

12· · this one.

13· · · · · · · · And basically it is a citation that one

14· · of our sterile pharmacy technicians did not have

15· · exactly complete gowning.· What happened is, per CGMP

16· · requirements, the gowning for the sterile environment

17· · in a CGMP environment is more stringent.

18· · · · · · · · So in a cleanroom in a hospital for 503A,

19· · you actually can have skin exposed.· You have to wear

20· · a mask, hair net.· I mean, there's a whole special

21· · gowning.

22· · · · · · · · But for 503B compounding for outsourcing,

23· · because we have extended beyond use date and because

24· · we have higher sterility dates and requirements, we

25· · basically require -- or, it's required by CGMP that



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·1· · all of the folks that work in a clean environment in

·2· · the cleanroom are fully gowned.

·3· · · · · · · · So in this violation what happened is

·4· · there was a young woman, I believe, who worked in the

·5· · cleanroom, and she had one of these really big

·6· · hairstyles where she had kind of like her hair pulled

·7· · up on top of her head.

·8· · · · · · · · And so she had the gowning on.· The

·9· · gowning was appropriate, but because of the amount of

10· · hair on her head, when she moved in a certain way, a

11· · portion of her neck was exposed briefly.

12· · Q.· · · So what's the concern with the exposure of

13· · her skin in the cleanroom?

14· · A.· · · There is potential for contamination.· What

15· · we typically do at Nephron -- and I have seen this at

16· · Nephron multiple times -- we actually have air

17· · quality monitoring system in each of our hoods.

18· · · · · · · · So when we perform any kind of a sterile

19· · compounding, we still require people to be fully

20· · gowned, but we have a continuous air quality

21· · monitoring system that basically monitors for

22· · presence of any contamination.

23· · · · · · · · And so should this small exposure be an

24· · issue, the alarm will go off, and everything that has

25· · been compounded during that time will not be used for



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·1· · patient care.

·2· · Q.· · · What kind of contamination could occur?

·3· · A.· · · So it could be particulates.· It could be,

·4· · you know, bacterial.

·5· · Q.· · · And what could result from that type of

·6· · contamination to the compounds that are being

·7· · prepared, the same as what we were talking about

·8· · earlier?

·9· · A.· · · Yes, just what we talked about before.· So

10· · like I said, we monitor the environment and, you

11· · know, if alarms go off -- like I said, we require

12· · full gowning.

13· · · · · · · · So, of course, that was a violation

14· · because there was a brief period, a very short

15· · exposure where a person's neck was exposed, as it

16· · states in the statement.

17· · · · · · · · Anyway, the air monitoring will alert you

18· · if the particulate matter had entered the sterile

19· · area, and in that case we will stop any production

20· · and everything is discarded.

21· · · · · · · · MR. SUTHERLAND:· Rob, can you put up what

22· · will be Exhibit 11, and send that to Ms. Leonard and

23· · Dr. Almgren.

24· · ///

25· · ///



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·1· · · · · · · · (WHEREUPON, a document was marked as

·2· · Exhibit Number 11.)

·3· · · · · · · · (An off-the-record discussion was held.)

·4· · BY MR. SUTHERLAND:

·5· · Q.· · · Dr. Almgren, for the record, this appears to

·6· · be a Form 483 issued to the Nephron Sterile

·7· · Compounding Center on November 15th of 2019.

·8· · A.· · · Uh-huh.

·9· · Q.· · · Are you familiar with this inspection?

10· · A.· · · I do remember an inspection vaguely, but I do

11· · remember it.

12· · Q.· · · Okay.· Can you tell me what -- I'll wait

13· · until you have it so you can read it.

14· · A.· · · Yes.

15· · Q.· · · Yeah.· Dr. Almgren, who gets presented with

16· · these Form 483 by the investigators when they --

17· · A.· · · It is our CEO, Lou Kennedy.

18· · Q.· · · Okay.· And are you part of the review process

19· · in your capacity when you-all receive one of these

20· · when you are there?

21· · A.· · · Not necessarily, because some of these are

22· · outside of the scope of my practice, so not

23· · necessarily.

24· · Q.· · · What do you mean by outside the scope of your

25· · practice?



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·1· · A.· · · So, you know, if it has something to do with

·2· · things that I really -- you know, like engineering

·3· · controls, for example.· That will be more of an

·4· · engineering type of response.· That would not be

·5· · something that I would be able to address.

·6· · · · · · · · Okay.· I received the document, I'll look

·7· · at it.

·8· · Q.· · · Observation 1:· Test procedures relative to

·9· · appropriate lab testing for sterility are not written

10· · and followed.

11· · · · · · · · And then it gives:· Specifically the

12· · firm's written procedures for conducting rapid

13· · sterility testing are deficient in that -- and it

14· · gives three -- it actually gives five examples.

15· · · · · · · · If you can look at those, and if you are

16· · able to comment on them, I'd like what your --

17· · A.· · · Fortunately, I'm looking at the microbiology

18· · report, the rapid sterility.· I really don't know

19· · what the "background too high," what that refers to,

20· · so that makes it difficult to make any educated

21· · statements.· I would have to go back and ask what

22· · that was specifically --

23· · Q.· · · I understand.· Number 4:· Firm does not have

24· · procedures requiring eye exams for individuals that

25· · conduct review of rapid sterility test sample



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·1· · results.

·2· · A.· · · Again, this is more of an HR issue.· I'm

·3· · assuming that they did not screen -- I don't know.

·4· · The rapid sterility testing, this refers to

·5· · microbiology testing for the sterile preparations.

·6· · Q.· · · Procedure --

·7· · A.· · · It's just a part of it.· I'm sorry, that's

·8· · all.

·9· · Q.· · · All right.· Procedures did not require

10· · observance of actual positive microbial events by an

11· · analyst prior to performance of sterility testing

12· · conducted for commercial products.· It was observed

13· · that an individual was allowed to conduct an

14· · inspection of rapid sterility samples, including

15· · prior to completion of activities, and demonstrate

16· · they have seen and can identify what a positive

17· · microbial event looks like.· For example, during the

18· · period from October 3, '19 to October 29, '19, a lab

19· · associate was allowed to conduct finished product

20· · rapid sterility testing prior to the associate

21· · participating in a method validation on October 29,

22· · 2019.· Where, according to firm management, they

23· · would have been -- they would have seen and

24· · identified a positive microbial event example for the

25· · first time at the first.· During this time the



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·1· · associate conducted tests from multiple lots of

·2· · product, including but not limited to rapid sterility

·3· · sample sets.

·4· · · · · · · · Are you familiar with this particular

·5· · observation in this --

·6· · A.· · · No, I am not.· You know, microbiology lab is

·7· · in management.· You know, keep in mind, the company

·8· · has 2,500 employees, if not more by now, and so I

·9· · don't keep up with all of these.· I honestly am not

10· · familiar with what happened there either.

11· · Q.· · · Observation 2:· Procedures designed to

12· · prevent microbiological contamination of drug

13· · products purporting to be sterile are not followed.

14· · · · · · · · Is this something that you are familiar

15· · with?

16· · A.· · · I don't know.· Let me read it all.· I'm not

17· · familiar with the second observation.· Let me look at

18· · this.

19· · · · · · · · See, this is a great example.· I love

20· · that you have pulled up this, because this really

21· · shows how the aseptic technique matters, and how such

22· · a small issue, what may seem to you as a layperson,

23· · how serious of a violation it is.

24· · · · · · · · So I'm really glad that you are bringing

25· · this up.· Thank you for bringing this up, because,



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·1· · again, it illustrates the importance of the aseptic

·2· · technique and how -- I mean, here we are talking

·3· · about the way that the operator was handling, you

·4· · know, how the caps were handled and how the door was

·5· · open.

·6· · · · · · · · So I hope that this, if anything else,

·7· · also illustrates the importance of aseptic technique

·8· · and how much of a concern it is to make sure that the

·9· · products are -- you know, it maintains sterility.

10· · · · · · · · So, again, I'm reading this with you.                  I

11· · do not remember this incident in great detail, but I

12· · deal with sterile techniques.· I think we did

13· · training afterwards.· Like I said, I don't remember.

14· · · · · · · · I probably, at the time I was there -- so

15· · at the time I'm pretty sure, you know, I dealt with

16· · this as in I have heard about it.· But it's been a

17· · while, so I don't remember all of the details.

18· · · · · · · · But as I'm reading it, I'm thinking,

19· · well, it kind of rings a bell.· And I think we did

20· · some additional training to address this.

21· · Q.· · · Observation 3:· Aseptic processing areas are

22· · deficient regarding the system for monitoring

23· · environmental conditions.

24· · · · · · · · Will you look at that and tell me if you

25· · are familiar with this one?



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·1· · A.· · · Yes, this is an interesting one.· I do

·2· · remember this one.· They are quickly tapping their

·3· · fingertips on each media plate.

·4· · · · · · · · Yes, so this refers to how the -- how the

·5· · personnel monitoring is done.· And this is very

·6· · person specific.· So, you know, when FDA comes -- and

·7· · this is something you have to keep in mind as well.

·8· · · · · · · · You know, the FDA comes and does

·9· · inspection, it's a point in time.· So they come in,

10· · and whatever they observe at a time is what you learn

11· · from these inspection forms, you know.· So you have

12· · to look beyond just those and look at the quality

13· · reports and standards that they follow in the big

14· · scale of things.

15· · · · · · · · But in this one it's obviously the

16· · technique, the proper technique for the personnel

17· · monitoring was not exactly as it should be.

18· · Q.· · · Go back up to Observation 2, what on the

19· · aseptic technique issue that you are talking about --

20· · if the person that was observed doing this that

21· · resulted in the observation, how do you -- I guess

22· · what I'm trying to figure out is, they were preparing

23· · a product, right?

24· · A.· · · Yes.

25· · Q.· · · So was that product discarded?



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·1· · A.· · · So we perform extensive quality control

·2· · after -- you know, after every batch is made, every

·3· · product that's made, we perform sterility studies.

·4· · We perform assay, endotoxin, all that's required per

·5· · USP.

·6· · · · · · · · So I cannot honestly tell you whether

·7· · these observations had resulted in those particular

·8· · products to be discarded, because I honestly do not

·9· · know.· I --

10· · Q.· · · They might not have been -- they might not

11· · have needed to be discarded, right?

12· · A.· · · Well, it depends.· The quality assurance or

13· · quality control testing is performed when these

14· · products are finished.

15· · Q.· · · Right.

16· · A.· · · If they meet the quality standards, they

17· · potentially could be used, but, again, it depends.

18· · But, you know, this is a prime example where you see

19· · the operator in this Observation part 2, when you

20· · read on the top of the page -- what is this, page 3,

21· · I guess, where it talks about the -- yes, yes, right

22· · up there.

23· · · · · · · · So it says, you know, the violation was

24· · that the person just moved their arm over the cap

25· · scoops containing caps.· And so they blocked the



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·1· · first air and there's a potential for, you know, just

·2· · a minor, you know, contamination just from movement

·3· · of the air.

·4· · · · · · · · So it just tells you how important

·5· · aseptic technique is and how important it is to not

·6· · contaminate, for example, caps.· Which a cap is,

·7· · obviously, concerned critical site.

·8· · Q.· · · Do you know whether this resulted in having

·9· · to not use product?

10· · A.· · · I do not know.

11· · Q.· · · Is it possible that it didn't?

12· · · · · · · · MS. LEONARD:· Objection.

13· · · · · · · · THE WITNESS:· I don't know.· I would have

14· · to see the quality.· I could see what was done.

15· · BY MR. SUTHERLAND:

16· · Q.· · · Observation 4:· Written procedures for

17· · sampling and testing plans are not followed for each

18· · drug product.

19· · · · · · · · Are you familiar with this?

20· · A.· · · Let me look.· Yes.· I do remember this

21· · because we had a training afterwards.· And,

22· · basically, this just shows you, again, the importance

23· · of visual inspection and how you have to have the

24· · proper technique.

25· · · · · · · · So what's happening here was the



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·1· · technician instead of slowly inverting, or, you know,

·2· · in a normal controlled motion observing the syringe,

·3· · you know, to flip it over to make sure that you see

·4· · any contaminants moving within the syringe, they

·5· · inverted it quickly and, you know, did kind of a --

·6· · they didn't do proper technique, and so we were cited

·7· · on that.

·8· · · · · · · · So we were cited in that our visual

·9· · inspectors did not -- it was one inspector, and I

10· · actually talked with this person afterwards.· And

11· · they said they just got a little nervous when FDA was

12· · standing and watching them.

13· · · · · · · · But, you know, FDA doesn't care, you need

14· · to show your proper technique.· So it is what it is,

15· · we did the proper training afterwards.· And it is --

16· · the SOP 4301 does talk about how you are supposed to

17· · perform that motion.

18· · Q.· · · Observation 5:· Aseptic processing areas are

19· · deficient in the floors and walls are not smooth

20· · and/or hard surfaces that are easily cleanable.

21· · · · · · · · Are you familiar with that?

22· · A.· · · So that's more of an engineering department

23· · than my department, but our floors and our walls are

24· · sealed.· So there's a proper seal that we have on all

25· · of them to, you know, have the nonshedding surface to



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·1· · maintain the room, you know, to prevent any pieces

·2· · come in the walls and contaminating.

·3· · · · · · · · But in terms of the smoothness, again,

·4· · outside of my expertise in terms of how that was

·5· · addressed or anything like that.

·6· · Q.· · · Observation 6:· Aseptic processing areas are

·7· · deficient regarding the system for cleaning and

·8· · disinfecting the room and equipment to produce

·9· · aseptic conditions.

10· · · · · · · · Are you familiar with this observation?

11· · A.· · · I'm sorry.· I'm reading, just so you know --

12· · Q.· · · Sure.

13· · A.· · · -- the entire paragraph.

14· · · · · · · · Yeah, this is more of an environmental

15· · control, obviously, issue.

16· · Q.· · · Relating to?

17· · A.· · · Cleaning procedure.

18· · Q.· · · So, basically, there was a cleaning procedure

19· · that wasn't being followed?

20· · A.· · · That's what it sounds like, yes.

21· · Q.· · · Observation 7:· Established test procedures

22· · are not documented at the time of performance.

23· · · · · · · · Are you familiar with this?

24· · A.· · · So that is really just, I think, again, a

25· · more specific issue.· It appears like it is relating



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·1· · to employees, really, more not when they -- you are

·2· · supposed to -- when the task is performed, you need

·3· · to record it right away.

·4· · · · · · · · And what sometimes happen is they finish

·5· · the task and then they go and record it.· And so if

·6· · you are recording it not at a time when it happened,

·7· · it is not appropriate.

·8· · Q.· · · Observation 8:· Appropriate controls are not

·9· · exercised over computers or related systems to assure

10· · that changes in master production and control records

11· · or other records are instituted only by authorized

12· · personnel.

13· · · · · · · · Are you familiar with this?

14· · A.· · · Outside of my expertise.· That's an IT and

15· · technology department.· I have no control over that.

16· · Q.· · · Does this relate to access, who has access to

17· · the information?

18· · A.· · · We have very limited access, so I do not know

19· · how that happened.· I'm not really sure what that was

20· · in regards to.· It sounds almost like -- let me read

21· · this again.

22· · · · · · · · It sounds like there's some backup data

23· · missing.· Again, I don't know.

24· · Q.· · · Okay.· Observation 9:· There's a failure to

25· · thoroughly review any unexplained discrepancy whether



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·1· · or not the batch has been already distributed.

·2· · Specifically, the firm does not conduct

·3· · investigations when finished product rapid sterility

·4· · samples are deemed background too high.· Samples were

·5· · deemed background too high approximately 23 times in

·6· · the last 90 days, with no investigations performed.

·7· · Source nor cause of the high event counts have been

·8· · identified.· The product is without identification of

·9· · the cause, nor examination to identify the events.

10· · · · · · · · Are you familiar with this?

11· · A.· · · I'm not familiar with this exact citation,

12· · it's exactly -- I think it was already kind of

13· · mentioned up earlier as one of the -- part of another

14· · citation up here about the background too high,

15· · and --

16· · Q.· · · What does that mean?

17· · A.· · · So that's what I'm trying to decipher, what

18· · exactly does that mean, because that does not refer

19· · to the product failure.

20· · · · · · · · The products, you know, we perform

21· · microbiological testing of all of our products, and,

22· · of course, if those were to fail, you are not going

23· · to release those.

24· · · · · · · · So I'm not sure what the "background too

25· · high" is.· I don't know whether that relates to



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·1· · technology or the rapid sterility testing; I'd have

·2· · to go back and ask.

·3· · · · · · · · Again, microbiology, this is a

·4· · microbiology lab that had undergone some major

·5· · changes after this inspection.

·6· · · · · · · · MR. SUTHERLAND:· Lynne, can we take about

·7· · a 10-minute break?

·8· · · · · · · · MS. LEONARD:· Yeah, that's fine.· Do you

·9· · think you have much more to go?

10· · · · · · · · MR. SUTHERLAND:· I'm getting pretty

11· · close.

12· · · · · · · · (An off-the-record discussion was held.)

13· · BY MR. SUTHERLAND:

14· · Q.· · · Dr. Almgren, I think I'm almost finished.

15· · Let me ask you this.

16· · · · · · · · Have you -- as part of your work in this

17· · case, were you asked to attempt to locate any source

18· · of pentobarbital or any other lethal injection

19· · chemicals on behalf of the plaintiff?

20· · A.· · · What?· No.· To locate pentobarbital?· No.

21· · Q.· · · You weren't asked to help locate a source for

22· · pentobarbital?

23· · A.· · · No.

24· · Q.· · · Or any other lethal injection chemical?

25· · A.· · · No.



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·1· · Q.· · · Or any other chemical?

·2· · A.· · · No.· Obtain, you mean like -- no.

·3· · Q.· · · Well, let me clarify.

·4· · · · · · · · Were you asked to attempt to locate

·5· · pentobarbital or any other chemical that Tennessee

·6· · might be able to use as an alternative to its current

·7· · protocol?

·8· · · · · · · · MS. LEONARD:· Objection.· This is getting

·9· · into privileged material.

10· · BY MR. SUTHERLAND:

11· · Q.· · · Okay.· Dr. Almgren, are you familiar with any

12· · source that would provide pentobarbital to the

13· · Tennessee Department of Corrections for lethal

14· · injection executions?

15· · A.· · · I am not.

16· · Q.· · · Okay.· Are you familiar with any source that

17· · would provide any other lethal injection chemicals or

18· · other chemicals to the Tennessee Department of

19· · Corrections for use in judicial executions?

20· · A.· · · I don't know of any.· I don't know what you

21· · mean by that.· No.· I did not -- I'm not sure what

22· · you are asking.

23· · Q.· · · Okay.· Have you searched for pentobarbital or

24· · sources of pentobarbital that the Tennessee

25· · Department of Corrections could use in lethal



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·1· · injection executions?

·2· · A.· · · No.

·3· · Q.· · · Okay.· Or any other chemicals?

·4· · A.· · · No.

·5· · Q.· · · You have not.· Okay.

·6· · · · · · · · How did you get involved in the -- it

·7· · looks to me that your first -- was your first

·8· · involvement in the lethal injection issue in the

·9· · cases we talked about earlier, like in '19, 2019,

10· · '18, '19?

11· · A.· · · Yes.

12· · Q.· · · How did you get involved in this area?

13· · A.· · · I was asked to provide expert testimony or

14· · expert, I guess, report.

15· · Q.· · · And how did you get identified as -- did

16· · somebody cold call you and say:· We are looking for

17· · an expert, just out of the blue?

18· · A.· · · Yes.

19· · Q.· · · And when was the first time that you received

20· · a call like that?

21· · A.· · · So I was an expert witness for the Swearingen

22· · case in Texas.

23· · Q.· · · So the lawyers for Swearingen just called you

24· · out of the blue?

25· · A.· · · It was not -- I believe there was some other



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·1· · office person or some -- I think it was -- I'm trying

·2· · to remember what was the -- I think it was

·3· · actually -- let me remember before I say anything.

·4· · Let me try to remember.

·5· · · · · · · · I think it was an organization called

·6· · Reprieve that had reached out to me.

·7· · Q.· · · And what is that organization?

·8· · A.· · · I believe that they are opposing death

·9· · penalty, and they basically, I think, support maybe

10· · whenever there are cases like this.

11· · Q.· · · And so you just got a call out of the blue

12· · from this organization or somebody from the

13· · organization?

14· · A.· · · Yes.

15· · Q.· · · Do you know how they got your contact

16· · information?

17· · A.· · · I can only assume -- I teach a lot of aseptic

18· · technique and sterile compounding.· And their

19· · interest was to get my expert opinion on aseptic

20· · technique, whether the aseptic technique that is used

21· · for preparation of lethal injections is appropriate.

22· · · · · · · · And so they provided me some, you know,

23· · materials for review and I provided my expert

24· · opinion, and they felt that it was sufficient.

25· · Q.· · · So the first contact you had was from



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·1· · somebody that was with this organization?

·2· · A.· · · Yes.

·3· · Q.· · · Okay.· And was that different than the

·4· · attorneys for Mr. Swearingen?

·5· · A.· · · I honestly am not sure whether they work

·6· · together or --

·7· · Q.· · · Was it an attorney that contacted you first?

·8· · A.· · · I'm not sure if that was an attorney.

·9· · Honestly, I just don't remember; it's been a while.

10· · Q.· · · But you think the organization was called

11· · Reprieve?

12· · A.· · · Yes.

13· · Q.· · · Do you have any personal views on capital

14· · punishment?

15· · A.· · · I do now, doing more research in this area.

16· · Q.· · · What are your personal views?

17· · A.· · · I mean, I honestly don't think it's morally

18· · right to kill a person.· I don't think you can ever

19· · justify.

20· · Q.· · · And tell me about that a little bit.· Why do

21· · you feel that way?

22· · A.· · · I just think that there is never a right

23· · reason to kill a person, and so I think it's just

24· · wrong.

25· · · · · · · · And seeing this, you know, how in this --



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·1· · a lot of people basically may end up on death row,

·2· · and there are even potentially some that may be

·3· · innocent, it really is not a good thing.

·4· · Q.· · · And how long have you felt this way?

·5· · A.· · · I mean, I never supported the death penalty,

·6· · but I never really thought about it in great length

·7· · until I really started looking more into it.

·8· · · · · · · · But I always felt that it is just

·9· · morally -- it's not -- I personally believe it is

10· · wrong to put a person to death.

11· · Q.· · · And you would say that whether it was lethal

12· · injection or any other method?

13· · A.· · · Yes.

14· · Q.· · · And is that something that you have arrived

15· · at working on these cases?

16· · A.· · · As I said, I always felt that it was not the

17· · right thing to do, but working on these cases, I

18· · really solidified my view.

19· · Q.· · · And what was it --

20· · A.· · · I feel that medications should not be used --

21· · if we are talking about lethal injection, the

22· · medications are meant for people to get well.· They

23· · are meant to heal people.· They are not meant to

24· · harm, and definitely not meant to kill a person.

25· · Q.· · · So you think lethal injection itself



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·1· · shouldn't be allowed because of that reason?

·2· · A.· · · Right.

·3· · Q.· · · Are those opinions you have about capital

·4· · punishment, are those opinions that you have shared

·5· · with other people?

·6· · A.· · · Perhaps at times, yes.

·7· · Q.· · · Like who have you shared those opinions with?

·8· · A.· · · I mean, my husband.

·9· · Q.· · · Colleagues within your profession?

10· · A.· · · Perhaps some of them, if the conversation

11· · came up, but I would not necessarily bring up the

12· · conversation by itself.· But if it did happen, I

13· · would not be ashamed of expressing my personal view.

14· · Q.· · · Have you talked about your views about lethal

15· · injection with colleagues in the pharmacy within your

16· · profession as a pharmacist?

17· · A.· · · In a pharmacy where I -- any pharmacy

18· · colleagues?

19· · Q.· · · My question is, colleagues at the

20· · university -- at the university that you work with,

21· · have you discussed your views with them in

22· · conversations?

23· · A.· · · I don't think we had these types of

24· · conversations, so I don't think so.· At least, I'll

25· · put it this way, I do not recall any specific



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·1· · conversations that we would have about this.

·2· · · · · · · · I don't remember.· If I did, it must have

·3· · been a while back, but I don't remember.

·4· · · · · · · · MR. SUTHERLAND:· Dr. Almgren, I think

·5· · that's all of the questions I have for you today.                  I

·6· · appreciate your time.

·7· · · · · · · · Lynne, thank you.

·8· · · · · · · · THE REPORTER:· Did you need this typed

·9· · up?

10· · · · · · · · MS. LEONARD:· Yes.· If we could have a

11· · copy of the transcript, that would be great.· Thank

12· · you.· Send it to the Federal Community Defender

13· · Office.

14· · · · · · · · THE REPORTER:· Scott, did you want this

15· · typed up?

16· · · · · · · · MR. SUTHERLAND:· Yes, the original.

17· · · · · · · · · ·FURTHER DEPONENT SAITH NOT

18· · · · · · · · (Proceedings concluded at 4:18 p.m.)

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·1· · · · · · · · · · REPORTER'S CERTIFICATE

·2

·3· · STATE OF TENNESSEE

·4· · COUNTY OF DAVIDSON

·5· · · · · · · · I, SANDRA ANDRYS, LCR, RPR, RMR, with

·6· · offices in Nashville, Tennessee, hereby certify that

·7· · I reported the foregoing videoconference deposition

·8· · of DR. MICHAELA ALMGREN by machine shorthand to the

·9· · best of my skills and abilities, and thereafter the

10· · same was reduced to typewritten form by me.

11· · · · · · · · I further certify that I am not related

12· · to any of the parties named herein, nor their

13· · counsel, and have no interest, financial or

14· · otherwise, in the outcome of the proceedings.

15·   ·   · · · I further certify that in order for this
· ·   ·   document to be considered a true and correct copy, it
16·   ·   must bear my original signature and that any
· ·   ·   unauthorized reproduction in whole or in part and/or
17·   ·   transfer of this document is not authorized, will not
· ·   ·   be considered authentic, and will be in violation of
18·   ·   Tennessee Code Annotated 39-14-104, Theft of
· ·   ·   Services.
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22·   ·   ·   ·   ·   ·   ·   SANDRA ANDRYS, LCR, RPR, RMR
· ·   ·   ·   ·   ·   ·   ·   Elite Reporting Services
23·   ·   ·   ·   ·   ·   ·   Licensed Court Reporter (TN)
· ·   ·   ·   ·   ·   ·   ·   Notary Public State of Tennessee
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· ·   · · · · · · My Notary Commission Expires:· 6/26/22
25·   · · · · · · LCR 583 - Expires:· 6/30/2022



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       EDVLQJ         EORFNHG       EXEEOHV       
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       GHDOV          GHJUDGHV              GHWHUPLQH 
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       GLVFRYHUHG                'URSER[ 
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       HPSKDVLV       HQWHUHG          HYLGHQFH       
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       H[SODLQ                             ILOLQJV 
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       IORDW           IRUPDO           IUR]HQ     JODQFHG 
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       KRSH            KXVEDQG          LQDSSURSULDWH        LQIXVLRQ 
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       LQQRFHQW       LQWHUQ    LVVXH          MXGJH 
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       .URJHU       ODVWHG                  /,& 
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       ORFDWHG         OXQFK        PDQXIDFWXULQJ
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                       PLFURELRORJLFDO      PLVVHG 
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       RIIHUV                3DOPHWWR       SDUWLFLSDWLQJ
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       SDXVH                3IL]HU    
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           SODVWLFV                 SUHFHSW 
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                        UHFHLYH         UHFRUGLQJ      UHJXODWHG 
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       UHPRWH                                   
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                                           UHYLVHG 
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                                                  UHYLVLRQ        6$ 
       UHTXLUH         UHVXOW 
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       VDIHO\                         VHOO     
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                          
                                                 VKLSSLQJ 
                             VHDUFK                        
       VFDUH           
                                    VHSDUDWH        VKRFN 
       VFHQDULR                            VKRRW 
       VFKHGXOH                              
                             VHDUFKHG                 VKRUW 
       
                                                                  
                                         VHSDUDWHO\ 
                             VHDUFKLQJ                             
       VFKHGXOHG                                              
                             VHFRQGV        6HSWHPEHU 
       VFKHGXOLQJ                                             VKRUWWHUP 
                                                   
       6FKLOOHU         VHFWLRQ              VKRUWDJH 
                                                        
       VFKRRO                           VHUYLFHV 
                                     VKRUWDJHV 
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       VFKRROV 
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       VFLHQFH                                VHWWLQJ 
                             VHOI                        VKRZLQJ 
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                             DGPLQLVWUDWLRQ            
       VFLHQWLILF                     




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       VKRZQ           VLWXDWLRQ       VRXQG           
                                                    
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                                                  VRXUFH 
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       VLGHE\VLGH         VNLPPHG         VRXUFHV        
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                            VNLQ                            VSHFLILFDWLRQV
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       VLJQDWXUH                                           
                                                  6RXWK 
       VLJQHG        VOLP                                   VSHFLILFV 
                                                  
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       VLJQLILFDQW          VORZHU         
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                            VORZO\          
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       VLJQLILFDQWO\                                  VSHOO 
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       VLPLODU                           VSDQ            
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       VLPLODUO\                            VSHDNLQJ        VSOLW 
                            VPRRWK         VSHFLDO 
       VLPSOH                                                    VSOLWWLQJ 
               VPRRWKQHVV            
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                                                                        VSRUHV 
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       VLPSO\ 
                                                  VSHFLDOLVW       VSUHDG 
               VROG 
                                                  VSHFLDOLVWV     VSULQJ 
       6LPV            VROLGLILHG 
                                                                        
       VLPXODWLRQ    VROXWLRQ       VSHFLDOL]HG
                                                  
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       VLPXODWLRQV
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       VLQJOH                       VWDJHV 
                     
                                                  VSHFLILF        VWDQG 
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       VLW                              
                            VROXWLRQV            VWDQGLQ 
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                                                          VWDQGDUG 
       VLWH    623              
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       VLWHV    VRUW               
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       VLWWLQJ                                   
              VRUWV                     
                                                                 




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                VWDWXV          VWLFN\           
       
                             VWD\HG          VWRS        VWXGLHV 
       VWDQGLQJ                                    
                             VWD\V 
                                                   
       VWDQGSRLQW                                            VWXII 
                                                   
       VWDUW      VWHDG\                         VXEMHFW 
       
                             VWHDUDWH        VWRSSHG          VXEPLW 
       
                                                                   
            VWHP 
                                      VWRUDJH          VXEVFULSWLRQ
       
                             6WHPPLQJ                        
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                                                   
       VWDUWHG                                                  VXEVWDQFH 
                             VWHS     
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                                  VWRUH           VXEVWDQFHV
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                                   
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                                                   VWRULQJ         VXEVXPHG 
       VWDUWLQJ        
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                                          
                                                   VWUDLJKWIRUZDUG
                             
       VWDUWV                                            VXGGHQ 
                             
       VWDWH           VWUHQJWK         VXIIHULQJ 
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                                                   VWULFWHU 
                                                            VXIILFLHQW 
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                                     VWULNH 
                                                           VXPPDUL]HG
       VWDWHPHQW               VWULQJHQW        
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                                             
                                                   VWURQJ 
                                          VXPPHU 
                                     VWURQJO\ 
                                                                          
       VWDWHPHQWV      VWHULOLW\      VWXGHQW       
                   
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                                                                          VXPPHUV 
                      
                                                    VXSHUYLVHG 
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                                                            VXSHUYLVRU
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       VWDWLQJ                                      
                             VWHULOL]DWLRQ
       VWDWLVWLFDO                         VXSHUYLVRUV
                                                          
       VWDWLVWLFV      VWLFNLQJ       




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       VXSSOHPHQWDO                                        WDVNV 
                          7              
                                           
                 WDEOH             WDXJKW 
            
                                                  WDNLQJ           
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                                            7'2& 
       VXSSOLHG                             
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       VXSSOLHU                   
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       VXSSOLHUV      
                                                                         7'2& V 
                                             
                                            WHDFK 
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       YDFFLQHV       YLHZ          :HGQHVGD\            ZRUGV 
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       YHFXURQLXP                      :          ZHLJK         
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